Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 1 of 99 Page ID
                                 #:112618




 1                UNITED STATES DISTRICT COURT

 2            CENTRAL DISTRICT OF CALIFORNIA

 3                  EASTERN DIVISION

 4                      ---

 5         HONORABLE STEPHEN G. LARSON, JUDGE PRESIDING

 6                      ---

 7    MATTEL, INC.,                ) PAGES 578-676

                           )

 8                 PLAINTIFF, )

                           )

 9          VS.                ) NO. CV 04-09049

                           )

 10   MGA ENTERTAINMENT, INC., ET. AL., )

                           )

 11                DEFENDANTS. )

      ___________________________________) MORNING SESSION

 12   AND CONSOLIDATED ACTIONS,               )

                           )

 13

 14

 15       REPORTER'S TRANSCRIPT OF JURY TRIAL PROCEEDINGS

 16                RIVERSIDE, CALIFORNIA

 17                THURSDAY, MAY 29TH, 2008

 18                    8:50 A.M.

 19

 20

 21

 22

 23               THERESA A. LANZA, RPR, CSR

              FEDERAL OFFICIAL COURT REPORTER

 24               3470 12TH STREET, RM. 134

                  RIVERSIDE, CALIFORNIA 92501

 25                   951-274-0844



                                                                       Page 578
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 2 of 99 Page ID
                                 #:112619




 1    APPEARANCES:

 2

      ON BEHALF OF MATTEL, INC.:

 3

               QUINN EMANUEL

 4             BY: JOHN QUINN

                 JON COREY

 5               MICHAEL T. ZELLER

                 HARRY OLIVAR

 6               TIMOTHY ALGER

               865 S. FIGUEROA STREET,

 7             10TH FLOOR

               LOS ANGELES, CALIFORNIA 90017

 8             213-624-7707

 9

 10   ON BEHALF OF MGA ENTERTAINMENT:

 11            SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

               BY: THOMAS J. NOLAN

 12              JASON RUSSELL

                 RAOUL KENNEDY

 13              LAUREN AGUIAR

               300 SOUTH GRAND AVENUE

 14            LOS ANGELES, CALIFORNIA 90071-3144

               213-687-5000

 15

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                                                                       Page 579
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 3 of 99 Page ID
                                 #:112620




 1                      INDEX

 2                                    PAGE

 3    PLAINTIFF CASE (CONT'D).......................   589

 4

 5

 6

 7    PLAINTIFF

      WITNESS          DIRECT        CROSS        REDIRECT   RECROSS

 8    PAULA DIANTHE GARCIA (CONTINUED)

 9    BY MR. PRICE        589

 10

 11

 12

          EXHIBITS         RECEIVED

 13

          1765             627

 14        30             631

           323             641

 15       1136             647

          1135             647

 16       1105             648

           321             654

 17        324             657

           325             657

 18        924             658

           606             661

 19        923             667

          1103             671

 20

 21

 22

 23

 24

 25



                                                                       Page 580
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 4 of 99 Page ID
                                 #:112621




 1     RIVERSIDE, CALIFORNIA; THURSDAY, MAY 29TH, 2008; 8:50 A.M.


 2                 -OOO-


 3        (WHEREUPON, THE CASE HAVING BEEN PREVIOUSLY


 4        CALLED AND APPEARANCES GIVEN, THE FOLLOWING


 5        PROCEEDINGS WERE HELD:)


 6         THE COURT: I'VE BEEN REVIEWING BINDERS DELIVERED TO


 7    THE COURT, AND I RECEIVED WORD THAT MR. NOLAN WANTS TO TAKE


 8    THIS UP. THE COURT WANTS TO TAKE THIS UP AS WELL. I WANT TO


 9    GET A BETTER SENSE OF THE PARTIES' RESPECTIVE POSITIONS


 10   CONCERNING STATUS OF THESE MOTIONS.


 11        MR. NOLAN: YOUR HONOR, LAST NIGHT, AT YOUR REQUEST,


 12   I WENT BACK AND LOOKED AT WHATEVER WAS AVAILABLE. THE RECORD


 13   IS NOT PERFECTLY CLEAR, BUT WHAT IS CLEAR IS THAT THERE IS NO


 14   SPECIFIC STATEMENT FROM JUDGE INFANTE THAT IF YOU DON'T


 15   PRIORITIZE SOMETHING, SOMETHING IS WAIVED; SO MGA CANNOT TAKE


 16   THE POSITION -- I APOLOGIZE IF I INFERRED THAT FROM WHAT JUDGE


 17   INFANTE WAS SAYING. WE CLEARLY HAD NUMEROUS TIMES WHEN


 18   JUDGE INFANTE WAS ASKING THE PARTIES TO PRIORITIZE THE RULINGS,


 19   BUT WHEN HE DID ISSUE THE ORDER, IN EFFECT, HIS ORDER WAS


 20   STATED, 'THAT'S IT; NO MORE.'


 21        THERE WERE MOTIONS THAT HAD BEEN BRIEFED THAT HE HAD


 22   NOT RULED ON, AND WE DO NOT HAVE ANY INDICATION THAT INDICATED


 23   A WAIVER BY MATTEL OR BY US.


 24        I THINK WHAT HAPPENED WAS WE SIMPLY RAN OUT OF TIME,


 25   AND AS A CREDIT TO THE SHORTNESS OF LIFE AND OTHER COMMITMENTS,



                                                                        Page 581
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 5 of 99 Page ID
                                 #:112622




 1    THAT'S HOW IT WAS LEFT. SO I CANNOT REPRESENT TO THE COURT


 2    THAT WE ARE TAKING THE POSITION THAT THERE WAS AN ABSOLUTE


 3    CLEAR WAIVER. I WISH WE COULD. I APOLOGIZE.


 4         THE COURT: I APPRECIATE THAT, COUNSEL.


 5         ANYTHING FURTHER FROM MATTEL ON THIS POINT?


 6         MR. QUINN: NO, YOUR HONOR.


 7         MR. COREY: NO, YOUR HONOR.


 8         THE COURT: I THINK IT'S INCUMBENT UPON THE COURT TO


 9    MAKE SURE THAT THESE MOTIONS ARE RULED UPON BEFORE WE GO ANY


 10   FURTHER -- NOT BEFORE WE GO ANY FURTHER, BUT AS WE GO FURTHER.


 11        MR. PRICE: SEE YA.


 12        (LAUGHTER.)


 13        THE COURT: BOTH PARTIES INDICATED ON THE RECORD,


 14   PRIOR TO OPENING STATEMENT, THAT THERE WAS NO PREJUDICE IN THE


 15   COURT CONSIDERING THESE IN THE COURSE OF THE TRIAL, AND THAT'S


 16   WHAT THE COURT IS GOING TO DO. I'LL DO IT THIS WEEKEND, AND WE


 17   PROBABLY SHOULD HAVE A HEARING ON MONDAY.


 18        AS SOON AS I TAKE A LOOK AT MONDAY'S CALENDAR, I'LL


 19   SET A HEARING TIME ON THIS TO GO THROUGH THEM ALL, AND I'LL


 20   ISSUE ORDERS ON MONDAY.


 21        MR. COREY?


 22        MR. COREY: IF I MAY TAKE A MINUTE AND TRY TO


 23   MINIMIZE SOME OF THE BURDEN ON THE COURT.


 24        THE COURT: YOU CAN TAKE AS MANY MINUTES AS YOU WANT;


 25   I'LL EAT INTO THE JURY'S TIME FOR THAT.



                                                                       Page 582
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 6 of 99 Page ID
                                 #:112623




 1        MR. COREY: THERE'S A LOT OF PAPER THAT WE PROVIDED


 2    TO THE COURT, AND WE ELECTED TO DO THAT RATHER THAN EXPURGATE


 3    THINGS FROM THE ACTUAL BRIEFS THAT WE THOUGHT WERE NO LONGER AT


 4    ISSUE OR HAD BEEN RESOLVED THROUGH THE PASSAGE OF TIME.


 5        THE COURT: OKAY.


 6        MR. COREY: AND THE COURT, I THINK, HAS SEEN IN ITS


 7    BINDERS THAT THERE'S A TABLE OF CONTENTS. AND WHAT I'LL DO IS,


 8    I'LL REFER TO THESE MOTIONS --


 9        THE COURT: I HAVE THAT RIGHT HERE IN FRONT OF ME.


 10       MR. COREY: WITH RESPECT TO MOTION NUMBER THREE,


 11   WHICH IS THE WACHOVIA -- IT'S A MOTION THAT RELATES TO A NUMBER


 12   OF DEPOSITION SUBPOENAS. AND MATTEL PUT THIS IN ITS


 13   SUPPLEMENTAL SUBMISSION THAT THE COURT REQUESTED. IT WAS OUR


 14   UNDERSTANDING THAT THE RULING ON THE WACHOVIA DOCUMENT SUBPOENA


 15   WOULD ALSO GOVERN THE SCOPE OF THE WACHOVIA DEPOSITION


 16   SUBPOENA. AND THAT'S REFLECTED IN WHAT WE PROVIDED THE COURT


 17   THIS MORNING.


 18       I REPRESENTED THAT TO JUDGE INFANTE, AND I BELIEVE


 19   JUDGE INFANTE JUST DIDN'T GET TO THAT WITH RESPECT TO THE


 20   RULING THAT HE MADE ON THE WACHOVIA SUBPOENA. SO WHAT WE'RE


 21   DOING IS -- I DON'T THINK THE COURT NEEDS TO ADDRESS ANY OF THE


 22   OTHER DEPOSITION SUBPOENAS IN MOTION NUMBER THREE, WITH THE


 23   EXCEPTION OF THE WACHOVIA SUBPOENA.


 24       THE COURT: DO YOU AGREE, MR. NOLAN?


 25       MR. NOLAN: YES.



                                                                        Page 583
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 7 of 99 Page ID
                                 #:112624




 1         THE COURT: OKAY.


 2         MR. COREY: THEN WITH RESPECT TO NUMBER EIGHT --


 3         THE COURT: I WAS HOPING YOU WERE ABLE TO CUT SOME OF


 4    THIS OUT FROM NUMBER FOUR. BUT NO? YOU'RE SKIPPING RIGHT OVER


 5    FOUR?


 6         MR. COREY: LET ME CONFER WITH MY COLLEAGUES ON THAT,


 7    AND I'LL PROVIDE AN ANSWER.


 8         THE COURT: FOUR IS THREE DIFFERENT MOTIONS RELATED


 9    TO PRIVILEGE LOGS.


 10        THESE ARE STILL IN DISPUTE ON ALL COUNTS?


 11        MR. COREY: I'M NOT AS FAMILIAR WITH THAT AS I SHOULD


 12   BE. I CAN PROVIDE AN ANSWER TO THE COURT AT THE BREAK.


 13        THE COURT: OKAY.


 14        MR. COREY: IT IS THE LARGEST AMOUNT OF PAPER; I


 15   RECOGNIZE THAT.


 16        WITH RESPECT TO NUMBER EIGHT, THAT RELATES TO SOME


 17   DISCREET REQUESTS FOR ADMISSIONS. THERE'S A PORTION OF THAT


 18   THAT RELATES TO CARTER BRYANT'S RESPONSES, WHICH I BELIEVE IS


 19   NOW MOOT.


 20        AND THE REQUESTS FOR ADMISSION 60, 63, 66, AND 69 ARE


 21   ALL PHASE 1-B.


 22        THE COURT: OKAY.


 23        MR. COREY: WITH RESPECT TO NUMBER TEN, I BELIEVE


 24   MR. ZELLER ALLUDED TO THIS EARLIER; IT'S CAPTIONED "MATTEL,


 25   INC.'S EX-PARTE APPLICATION TO COMPEL DEPOSITIONS OF ANNA RHEE,



                                                                        Page 584
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 8 of 99 Page ID
                                 #:112625




 1    BEATRIZ MORALES, AND MARIE SALAZAR, FOR GUIDANCE AS TO EVIDENCE


 2    RECEIVED FROM ANA CABRERA AND AN END FOR SANCTIONS."


 3        NUMBER TWO ON THAT LIST, I BELIEVE, IS THE ONLY THING


 4    THAT REMAINS A DISPUTE THAT THE COURT NEEDS TO RESOLVE IN


 5    CONNECTION WITH THAT MOTION.


 6        THE COURT: FOR GUIDANCE AS TO EVIDENCE RECEIVED FROM


 7    ANA CABRERA?


 8        MR. COREY: CORRECT.


 9        THE COURT: I'LL BE ASKING MGA IF THERE'S ANY


 10   OBJECTION IN A SECOND.


 11       LET'S GET THROUGH THIS LIST.


 12       SO THE DEPOSITIONS ARE MOOTED?


 13       MR. COREY: CORRECT, YOUR HONOR.


 14       THE COURT: ALL RIGHT.


 15       MR. COREY: AND THAT'S WHAT I HAVE.


 16       THE COURT: ALL RIGHT.


 17       IF YOU COULD CHECK ON THOSE SERIES OF PRIVILEGE LOG


 18   MOTIONS; BECAUSE THAT ACTUALLY EXPANDS THE LIST, ESSENTIALLY,


 19   FROM 11 TO 14.


 20       MR. COREY: I WILL DO THAT, YOUR HONOR.


 21       THE COURT: MR. NOLAN, ANY OBJECTIONS TO ANYTHING


 22   THAT MR. COREY JUST STATED?


 23       MR. NOLAN: NO, YOUR HONOR.


 24       THE COURT: VERY WELL.


 25       MR. COREY: THEN ONE MORE HOUSEKEEPING MATTER.



                                                                        Page 585
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 9 of 99 Page ID
                                 #:112626




 1        WE PROVIDED THE COURTROOM DEPUTY WITH COPIES OF THE


 2    DEPOSITION TRANSCRIPTS OF THE VIDEO WE ANTICIPATE PLAYING OF


 3    STEVE LINKER AND RAMONA PRINCE. I THINK THAT WILL BE ON TAP


 4    FOR TOMORROW, POTENTIALLY ON TUESDAY.


 5        THE COURT: VERY WELL.


 6        AND DO I HAVE THE PROPOSED ORDER FROM -- I HAD ASKED


 7    FOR A PROPOSED ORDER THIS MORNING.


 8        MR. COREY: IT WAS E-FILED. I HAVE A COPY. I CAN


 9    PASS IT TO THE COURTROOM DEPUTY.


 10       THE COURT: PLEASE.


 11       MR. QUINN: IF I MAY, YOUR HONOR.


 12       WE HAD THAT ISSUE YESTERDAY. THE COURT WAS GOING TO


 13   LOOK AT, I THINK, THE ASHONG DEPOSITION DESIGNATIONS, AND


 14   WHETHER THEY'D BE PLAYED ALL AT ONCE OR PLAYED EACH SIDE.


 15       THE COURT: THE COURT DID LOOK AT THEM. I WILL GIVE


 16   THE INSTRUCTION TO THE JURY THAT THEY ARE TO BE PLAYED ALL


 17   TOGETHER IN CHRONOLOGY. GOING THROUGH THEM, I JUST THINK IT


 18   WOULD BE VERY DIFFICULT AND -- I DON'T WANT TO SAY


 19   "MISLEADING," BECAUSE I CERTAINLY DON'T SUGGEST THAT THERE WAS


 20   ANY INTENTION.


 21       I UNDERSTAND WHY YOU WANT TO DO IT THAT WAY. I JUST


 22   THINK, FOR THE JURY'S CONVENIENCE, TO HEAR IT ALL MAKES SENSE.


 23   BUT I CERTAINLY WILL INDICATE TO THE JURY THAT THEY SHOULD


 24   TREAT THIS AS THE JOINT PRESENTATION.


 25       MR. QUINN: THANK YOU, YOUR HONOR.



                                                                       Page 586
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 10 of 99 Page ID
                                 #:112627




  1        FOR CHESS CLOCK PURPOSES, I SUPPOSE WE OUGHT TO


  2   ACTUALLY FIGURE OUT THE RUNNING TIMES AND HOW MUCH TIME WAS


  3   DESIGNATED BY EACH SIDE AND REACH AN AGREEMENT ON THAT AND


  4   PROVIDE IT TO THE COURT.


  5        THE COURT: I'D APPRECIATE THAT. SO I WON'T RUN THE


  6   CLOCK; I'LL JUST ADVANCE THE CLOCK ONCE YOU TELL ME WHAT THOSE


  7   TIMES ARE. RIGHT NOW, PLAINTIFF HAS USED FOUR HOURS AND 27


  8   MINUTES, AND DEFENSE HAS USED THREE HOURS, FOR WHAT IT'S WORTH.


  9        HERE'S THE PROPOSED ORDER.


 10        DOES THE COURT HAVE COURTESY COPIES ON THE


 11   SUPPLEMENTAL BRIEFINGS ON THE STATUTE OF LIMITATIONS THAT I


 12   ASKED FOR?


 13        MR. NOLAN: WE SUBMITTED OURS IN THE COURTESY BOX


 14   THIS MORNING.


 15        THE COURT: EXCELLENT.


 16        I THINK THAT WAS ALL WE NEEDED TO TAKE UP. I SEE


 17   WE'RE AT 9:00.


 18        MR. QUINN: WOULD IT BE ALL RIGHT IF AT THE END OF


 19   THE DAY, WE GOT FROM THE COURT WHAT THE TOTALS ARE ON TIME?


 20        THE COURT: SURE. REMIND ME IF I FORGET. I


 21   APPRECIATE THAT.


 22        MR. QUINN: THANK YOU, YOUR HONOR.


 23        MR. NOLAN: WE CAN RAISE THIS LATER.


 24        THERE IS A WITNESS THAT WILL BE COMING UP THAT


 25   MR. ZELLER WILL BE QUESTIONING, ANDREAS KOCH. I HAD A



                                                                        Page 587
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 11 of 99 Page ID
                                 #:112628




  1   CONFERENCE THIS MORNING WITH MR. ZELLER. HE DOESN'T KNOW IF


  2   HE'S GOING TO GO INTO A PARTICULAR AREA. HE'LL LET ME KNOW.


  3   BUT IF HE IS GOING TO GO INTO THAT AREA -- IT HAS TO DO WITH


  4   WORK ENVIRONMENT, CHARACTER ISSUES WITH RESPECT TO MR. LARIAN


  5   THAT WE THINK ARE OBJECTIONABLE. I DON'T WANT TO DO THAT IN


  6   FRONT OF THE JURY. IT'S, 'DO YOU THINK MR. LARIAN IS


  7   UNETHICAL?' WE HAVE AN OBJECTION, BUT I DON'T WANT TO DO THAT


  8   IN FRONT OF THE JURY.


  9        THE COURT: ABSOLUTELY. DEPENDING ON WHAT WE HAVE --


 10   YOU'LL ALWAYS HAVE THE OPPORTUNITY IN THE MORNING BEFORE WE


 11   START, THE MORNING BREAK, LUNCH -- I'LL ALWAYS BRING YOU BACK


 12   ABOUT 15, 20 MINUTES BEFORE THE JURY COMES BACK -- AFTERNOON


 13   BREAK, OR THE END OF THE DAY. THOSE ARE THE TIMES TO DO THAT.


 14        MR. NOLAN: THANK YOU.


 15        MR. ZELLER: SO IF I UNDERSTAND, THEN, WE'LL TAKE IT


 16   UP AT SOME POINT LATER IN THE DAY, DURING A BREAK?


 17        THE COURT: YES.


 18        MR. ZELLER: BECAUSE THERE IS AT LEAST ONE ISSUE THAT


 19   I DO INTEND TO RAISE THAT MAY BE CAUSING MR. NOLAN CONCERN.


 20   SOME, I'M NOT SO SURE ABOUT AT THE MOMENT. PART OF IT DEPENDS


 21   ON HOW THE REST OF THE DAY GOES AND WHAT DOORS ARE OPENED. BUT


 22   THERE IS ONE FOR CERTAIN THAT I INTEND TO ASK MR. KOCH.


 23        THE COURT: VERY WELL.


 24        AT SOME POINT IN TIME TODAY OR TOMORROW, I'LL WANT TO


 25   SPEAK TO COUNSEL FROM BOTH SIDES ABOUT THE DISCOVERY MASTER AND



                                                                        Page 588
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 12 of 99 Page ID
                                 #:112629




  1   THIS PROCESS GOING FORWARD. I WANT TO DO THAT OFF THE RECORD


  2   IN CHAMBERS. THIS IS NOT WHAT I WAS EXPECTING IN TERMS OF


  3   WHERE WE'D BE ONCE WE WERE IN TRIAL IN TERMS OF THESE MOTIONS.


  4        I'D LIKE TO DISCUSS THAT OFF THE RECORD, SO I'LL CALL


  5   YOU BACK AT SOME POINT IN TIME ON THAT.


  6        ANYTHING FURTHER?


  7        MR. ZELLER: NO, YOUR HONOR.


  8        MR. NOLAN: NO, YOUR HONOR. THANK YOU.


  9        THE COURT: LET'S SEE IF THE JURY IS READY.


 10        LET'S HAVE THE WITNESS BACK UP ON THE WITNESS STAND.


 11   I THINK IT'S MS. GARCIA.


 12        COURT IS IN RECESS.


 13        (WHEREUPON, A BRIEF RECESS WAS HELD.)


 14        (WHEREUPON, JURORS ENTER COURTROOM.)


 15        THE COURT: GOOD MORNING, COUNSEL.


 16        THIS IS NO REFLECTION ON ANY COUNSEL, BUT THE JURY


 17   HAS REQUESTED, AND I'VE GIVEN PERMISSION, FOR THEM TO BRING


 18   THEIR COFFEE INTO THE COURTROOM. THEY ASSURED ME THAT IT'S NO


 19   REFLECTION ON ANYBODY.


 20        MR. PRICE?


 21        MR. PRICE: THANK YOU, YOUR HONOR.


 22            DIRECT EXAMINATION(CONTINUED)


 23   BY MR. PRICE:


 24   Q   SINCE WE WERE HERE YESTERDAY, SINCE COURT ADJOURNED, HAVE


 25   YOU HAD THE OPPORTUNITY TO TALK TO ANYONE ABOUT YOUR TESTIMONY?



                                                                        Page 589
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 13 of 99 Page ID
                                 #:112630




  1   A   I HAD A CONVERSATION WITH MY COUNSEL LAST NIGHT REGARDING


  2   THE WAY I FELT YESTERDAY.


  3   Q   DID YOU HAVE ANY OTHER CONVERSATION ABOUT YOUR TESTIMONY


  4   OR ABOUT THE FACTS OF THIS CASE SINCE WE'VE ADJOURNED FROM


  5   YESTERDAY?


  6   A   I TOLD HIM YESTERDAY JUST IN GENERAL THAT I --


  7   Q   I DON'T WANT TO KNOW THE SUBSTANCE OF WHAT YOU TOLD YOUR


  8   ATTORNEY. I JUST WANT TO KNOW IF YOU TALKED WITH -- WELL, LET


  9   ME ASK IT THIS WAY: HOW LONG DID YOU HAVE DISCUSSIONS WITH


 10   YOUR ATTORNEY ABOUT YOUR TESTIMONY? WHAT WAS THE TIME FRAME?


 11   A   MAYBE HALF AN HOUR.


 12   Q   AND BEFORE YOU TOOK THE STAND YESTERDAY, DID YOU HAVE ANY


 13   DISCUSSION WITH ANYONE ABOUT THE TESTIMONY YOU WERE GOING TO


 14   GIVE?


 15   A   I'M NOT SURE I UNDERSTAND. CAN YOU PLEASE BE MORE


 16   SPECIFIC.


 17   Q   YESTERDAY I CALLED YOU TO THE STAND; CORRECT?


 18   A   YES.


 19   Q   AND SO CERTAINLY, YOU KNEW YOU WERE GOING TO BE A WITNESS


 20   IN THIS CASE.


 21   A   YES.


 22   Q   SO LET'S SAY IN THE LAST MONTH, HAVE YOU HAD ANY


 23   DISCUSSIONS WITH ANYONE CONCERNING, LET'S SAY, THE FACTS OF


 24   THIS CASE?


 25   A   AGAIN, I'M -- I CAN TELL YOU THAT I PREPARED FOR MY



                                                                        Page 590
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 14 of 99 Page ID
                                 #:112631




  1   DEPOSITION TODAY, IF THAT'S WHAT YOU MEAN.


  2   Q   NOT YOUR DEPOSITION. THAT WAS --


  3   A   I'M SORRY. MY TESTIMONY TODAY.


  4   Q   OKAY.


  5        AND WHO DID YOU MEET WITH IN PREPARING FOR YOUR


  6   TESTIMONY TODAY?


  7   A   I'VE MET WITH MARCUS MUMFORD.


  8   Q   THAT'S ONE OF THE ATTORNEYS.


  9   A   YES.


 10   Q   AND YOU WERE LOOKING THIS DIRECTION, SO HE'S SITTING HERE;


 11   RIGHT?


 12   A   YES.


 13   Q   AND HOW LONG DID YOU MEET WITH MR. MUMFORD IN PREPARING


 14   FOR YOUR TESTIMONY?


 15   A   COLLECTIVELY, OR --


 16   Q   YES. ALL TOGETHER.


 17   A   MAYBE ABOUT TWO DAYS.


 18   Q   AND DID YOU MEET WITH ANYONE ELSE?


 19   A   WITH LAUREN.


 20   Q   WARREN?


 21        MS. AGUIAR: LAUREN.


 22        MR. PRICE: I'M SORRY.


 23   BY MR. PRICE:


 24   Q   ABOUT HOW LONG DID YOU MEET WITH LAUREN?


 25   A   ABOUT THE SAME TIME.



                                                                        Page 591
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 15 of 99 Page ID
                                 #:112632




  1   Q   SO THIS WAS ON MORE THAN ONE OCCASION?


  2   A   YES.


  3   Q   ON HOW MANY OCCASIONS DID YOU MEET WITH THESE ATTORNEYS


  4   FOR A COUPLE OF DAYS?


  5   A   TWICE.


  6   Q   AND THEY WERE AT THE SAME TIME; THEY WERE BOTH TOGETHER?


  7   A   YES.


  8   Q   ANYONE ELSE THAT YOU TALKED TO TO PREPARE FOR YOUR


  9   TESTIMONY?


 10   A   NO.


 11   Q   HOW ABOUT LAST NIGHT? DID YOU LOOK AT ANY DOCUMENTS TO


 12   KIND OF GROUND YOUR TESTIMONY, TO HELP REFRESH YOUR MEMORY?


 13   A   NO.


 14   Q   WERE YOU SHOWN ANY DOCUMENTS?


 15   A   NO.


 16   Q   NOW, I WANT TO FOCUS ON THIS SEPTEMBER 1ST MEETING THAT


 17   YOU CLAIM IS THE FIRST MEETING YOU HAD WITH MR. BRYANT.


 18        I BELIEVE YOUR TESTIMONY IS THAT AT THAT TIME, YOU


 19   DIDN'T KNOW HE WAS STILL A MATTEL EMPLOYEE; CORRECT?


 20   A   CORRECT.


 21   Q   AND, IN FACT, YOUR TESTIMONY IS THAT YOU DIDN'T KNOW THAT


 22   MR. BRYANT WAS A MATTEL EMPLOYEE ON SEPTEMBER 1ST UNTIL 2004;


 23   CORRECT?


 24   A   YES. AND I'D LIKE TO EXPLAIN WHY THAT WAS THE CASE.


 25   Q   FIRST LET ME ASK YOU MY QUESTION.



                                                                        Page 592
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 16 of 99 Page ID
                                 #:112633




  1        YOU DIDN'T KNOW HE WAS A MATTEL EMPLOYEE AS OF


  2   SEPTEMBER 1ST; YOU DIDN'T KNOW THAT UNTIL SOMETIME IN 2004; IS


  3   THAT RIGHT?


  4   A   CORRECT.


  5        MR. PRICE: AND, YOUR HONOR, IF I MAY, I'D LIKE TO


  6   PLAY FROM MS. GARCIA'S DEPOSITION ON THIS TOPIC. IT'S


  7   VOLUME I, PAGE 268, LINES 21 TO 25, AND THEN ACTUALLY GOING ON


  8   TO 269, LINE 23. AND THEN 271, LINE 19, TO 272, LINE 12.


  9        THE COURT: ANY OBJECTION?


 10        MS. AGUIAR: I NEED TO LOOK AT WHAT THAT IS. AND I


 11   DON'T THINK THERE'S BEEN A PROFFER OF WHY HE WOULD NEED TO PLAY


 12   THE DEPOSITION FOR MS. GARCIA AT THIS POINT.


 13        THE COURT: LET'S TAKE A LOOK AT IT, AND THEN MAKE


 14   YOUR LEGAL OBJECTION, COUNSEL.


 15        MR. PRICE: I BELIEVE YOU HAVE A COPY, YOUR HONOR.


 16        THE COURT: I DO.


 17        MR. PRICE: IT'S MAY 24, 2007, VOLUME I. IT'S IN


 18   THIS CASE; PAGE 268, LINE 21, THROUGH 269, LINE 23, AND THEN


 19   271, LINE 19, TO 272, LINE 12.


 20        MS. AGUIAR: I'VE LOOKED AT THE EXCERPTS THAT


 21   MR. PRICE HAS IDENTIFIED, AND I THINK --


 22        THE COURT: YOUR LEGAL OBJECTION, IF YOU HAVE ONE.


 23        MS. AGUIAR: NOT PROPER IMPEACHMENT. NO BASIS TO


 24   PLAY THIS SECTION OF HER DEPOSITION.


 25        MR. PRICE: MY RESPONSE, YOUR HONOR, IS, THE FIRST



                                                                        Page 593
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 17 of 99 Page ID
                                 #:112634




  1   PART IS INCONSISTENT.


  2        THE COURT: LET ME SEE YOU AT SIDE-BAR, COUNSEL.


  3        (WHEREUPON, THE FOLLOWING PROCEEDINGS


  4        WERE HELD AT SIDE-BAR:)


  5        MR. PRICE: THERE ARE TWO GROUNDS. FIRST I BELIEVE


  6   THE ANSWERS ARE INCONSISTENT. BUT SECOND, UNDER 312(A), SHE'S


  7   A PARTY WITNESS. IN FACT SHE WAS A 30(B)(6) WITNESS, SO I'M


  8   ENTITLED TO PLAY HER TESTIMONY, HER DEPOSITION TESTIMONY, FOR


  9   ANY PURPOSE.


 10        THE COURT: I UNDERSTAND THAT.


 11        COUNSEL, I DON'T UNDERSTAND WHY THERE IS AN


 12   OBJECTION. HE CAN PLAY THE TESTIMONY AS MUCH AS HE WANTS.


 13        MS. AGUIAR: I FEEL AS THOUGH, WHEN YOU READ THE


 14   ENTIRETY OF THAT SECTION, THAT IT IS NOT INCONSISTENT WITH THE


 15   TESTIMONY SHE JUST GAVE THIS MORNING. AND HE'S TRYING TO


 16   SUGGEST THAT SHE HAS GIVEN INCONSISTENT TESTIMONY DURING HER


 17   DEPOSITION. AND I THINK IT'S CLEAR, IF YOU READ ALL OF THE


 18   QUESTIONS, THAT IT'S ENTIRELY CONSISTENT WITH WHAT SHE JUST


 19   TESTIFIED TO THIS MORNING, WHICH IS THAT THE FIRST TIME SHE


 20   BECAME AWARE THAT HE WAS EMPLOYED BY MATTEL AS OF SEPTEMBER 1ST


 21   WAS NOT UNTIL 2004.


 22        THE COURT: FAIR ENOUGH.


 23        IF YOU BELIEVE THERE'S ADDITIONAL DEPOSITION


 24   TESTIMONY THAT SHOULD BE PLAYED TO PUT IT IN CONTEXT, THE COURT


 25   WOULD ENTERTAIN THAT. I THINK THAT'S THE WAY TO SOLVE THIS.



                                                                        Page 594
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 18 of 99 Page ID
                                 #:112635




  1        MR. PRICE HAS A RIGHT TO PLAY THE DEPOSITION. IF YOU


  2   THINK THAT YOUR OBJECTION IS NOT COMPLETE, JUST INDICATE THE


  3   ADDITIONAL LINES THAT NEED TO BE PLAYED AND THE COURT WILL RULE


  4   ON THAT.


  5        MS. AGUIAR: OKAY.


  6        MR. PRICE: ONE THING I WANT TO ASK THE WITNESS IF


  7   THIS WITNESS IS PERTAINING TO SEPTEMBER 1ST MEETING; SO RATHER


  8   THAN PLAYING ALL THIS, I'M GOING TO SAY --


  9        THE COURT: I WANT TO HEAR FROM COUNSEL AS TO WHAT


 10   SHE WANTS TO SUPPLEMENT IT WITH.


 11        MS. AGUIAR: I THINK SHE NEEDS TO BE GIVEN THE


 12   OPPORTUNITY -- AND I DON'T KNOW IF WE WANT TO BE DOING THIS,


 13   BURNING TIME WITH THE JURY HERE -- BUT SHE WOULD NEED TO BE


 14   GIVEN AN OPPORTUNITY TO READ THE PAGES BEFORE SHE CAN SAY THAT


 15   SHE WILL MAKE A REPRESENTATION ABOUT WHAT THAT QUESTION IS.


 16        MR. PRICE: LOOK, SO AND SO, YOU SEE THESE QUESTIONS?


 17   ARE THEY ABOUT SEPTEMBER 1ST? LOOK AT THIS QUESTION. ALL OF


 18   THE QUESTIONS BEFORE THAT ARE ABOUT THE SEPTEMBER 1ST MEETING.


 19   I'D LIKE TO PLAY THIS. IF SHE WANTS TO PLAY SOMETHING ELSE --


 20        THE COURT: IF THERE'S SOMETHING ELSE YOU WANT PLAYED


 21   RIGHT NOW, I WILL LET YOU DO THAT. OTHERWISE, YOU CAN DO AS


 22   MUCH AS YOU WANT ON CROSS-EXAMINATION.


 23        MS. AGUIAR: I UNDERSTAND THAT.


 24        IF HE'S GOING TO ASK HER WHETHER A QUESTION SHE WAS


 25   ASKED OVER A YEAR AGO PERTAINING TO A PARTICULAR MEETING, THEN



                                                                        Page 595
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 19 of 99 Page ID
                                 #:112636




  1   AT LEAST SHE OUGHT TO BE GIVEN --


  2          THE COURT: IF THAT'S THE QUESTION, RIGHT.


  3          I BELIEVE, COUNSEL, YOU JUST WANT TO PLAY THE


  4   DEPOSITION.


  5          MR. PRICE: I'M GOING TO DIRECT HER TO AN EARLIER


  6   PAGE AND SAY 'DOES THIS QUESTION PERTAIN TO SEPTEMBER 1ST?'


  7          THE COURT: LAY A FOUNDATION FOR IT.


  8          MS. AGUIAR: BUT IF YOU DO THAT AND YOU ASK HER WHAT


  9   THAT QUESTION PERTAINS TO, THEN SHE NEEDS TO BE GIVEN THE


 10   OPPORTUNITY TO THEN --


 11          THE COURT: THE COURT AGREES WITH THAT.


 12          MS. AGUIAR: THANK YOU.


 13          (WHEREUPON, SIDE-BAR PROCEEDINGS WERE CONCLUDED.)


 14          THE COURT: COUNSEL, YOU MAY PROCEED.


 15   BY MR. PRICE:


 16   Q   MS. GARCIA, I THINK I PUT VOLUME I IN FRONT OF YOU.


 17          DO YOU HAVE THAT? IT SHOULD BE RIGHT IN FRONT OF


 18   YOU.


 19          MAY 24, 2007.


 20          AND I'D LIKE TO CALL YOUR ATTENTION FIRST TO


 21   PAGE 268, LINE 21, AND I WANT YOU TO CONFIRM, IF YOU COULD --


 22   IF YOU LOOK AT THE PAGES BEFORE THAT, AND TO GIVE YOU SOME


 23   ASSISTANCE, I'LL CALL YOUR ATTENTION TO 263, LINE 8 -- THE


 24   QUESTIONS BEFORE THAT ARE PERTAINING TO THE SEPTEMBER 1ST


 25   MEETING.



                                                                        Page 596
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 20 of 99 Page ID
                                 #:112637




  1        DO YOU AGREE WITH THAT?


  2   A   CAN YOU HELP ME TO IDENTIFY THIS REFERENCE TO


  3   SEPTEMBER 1ST.


  4   Q   YES. THAT THE QUESTIONS PRIOR TO THE ONES STARTING AT


  5   268, LINE 21, THAT THE TOPIC THAT'S BEING DISCUSSED IS WHAT


  6   HAPPENED AT THE SEPTEMBER 1ST MEETING THAT YOU TESTIFIED ABOUT.


  7   A   I APOLOGIZE. I JUST DON'T HAVE A REFERENCE TO THE YEAR


  8   2001 ANYWHERE.


  9   Q   SEPTEMBER 1, 2000. I APOLOGIZE.


 10   A   BUT EVEN IN 2000, I DON'T HAVE A REFERENCE TO THAT


 11   PARTICULAR YEAR. COULD YOU HELP ME.


 12   Q   SURE.


 13        IF YOU LOOK AT THE BEGINNING OF THIS QUESTIONING --


 14   AND WE GO TO 263, LINE 2, LINES 2 THROUGH 6, AND THEN LINES 8


 15   THROUGH 11 -- DO YOU SEE THAT THE QUESTIONING FOR THOSE FEW


 16   PAGES ARE ABOUT WHAT HAPPENED AT THE SEPTEMBER 1, 2000 MEETING?


 17   A   OKAY.


 18   Q   IS THAT CORRECT?


 19   A   YES.


 20   Q   SO 268, LINE 21, THE QUESTION, WHICH I'M GOING TO PLAY,


 21   WAS, "MR. BRYANT, AT THAT TIME, AS YOU UNDERSTOOD IT, WAS A


 22   DESIGNER AT MATTEL; ISN'T THAT TRUE?"


 23        THE PHRASE "AT THAT TIME" IS REFERRING TO


 24   SEPTEMBER 1, 2000; CORRECT?


 25        MS. AGUIAR: AGAIN, I'LL STATE MY OBJECTION THAT IF



                                                                        Page 597
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 21 of 99 Page ID
                                 #:112638




  1   HE'S GOING TO ASK THE WITNESS, SHE NEEDS TO BE GIVEN THE


  2   OPPORTUNITY TO READ IT.


  3        THE COURT: SUSTAINED, COUNSEL.


  4        LET HER TAKE A LOOK.


  5        MR. PRICE: I THINK SHE JUST DID.


  6   BY MR. PRICE:


  7   Q   LOOKING AT WHAT YOU JUST LOOKED AT, WHERE YOU'RE TALKING


  8   ABOUT THE SEPTEMBER 1, 2000 MEETING, THE QUESTION AT 268,


  9   LINE 21, WHICH SAYS, "MR. BRYANT, AT THAT TIME, AS YOU


 10   UNDERSTOOD IT, WAS A DESIGNER AT MATTEL; ISN'T THAT TRUE?"


 11        THE "AT THAT TIME," YOUR UNDERSTANDING WHEN YOU WERE


 12   AT THE DEPOSITION, THAT WAS REFERRING TO SEPTEMBER 1, 2000,


 13   WHICH WAS THE TIME YOU WERE TESTIFYING TO; CORRECT?


 14        THE COURT: LET ME STOP YOU THERE, COUNSEL.


 15        WHERE DO YOU SUGGEST THE WITNESS BEGIN READING?


 16        MS. AGUIAR: I WANT HER TO BE GIVEN THE OPPORTUNITY


 17   TO READ FROM WHERE HE POINTS HER TO, WHICH IS 262, I BELIEVE.


 18        MR. PRICE: 263, LINE 3.


 19        MS. AGUIAR: 263 THROUGH TO THE POINT WHERE HE IS


 20   POINTING HER TO, WHICH IS 268, WHICH IS SEVERAL PAGES LATER.


 21        THE COURT: THANK YOU.


 22        MS. GARCIA, YOU MAY DO THAT.


 23        THE WITNESS: MAY I READ FROM 263?


 24   BY MR. PRICE:


 25   Q   IF YOU COULD, TO YOURSELF, NOT OUT LOUD, READ 263, FROM



                                                                        Page 598
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 22 of 99 Page ID
                                 #:112639




  1   LINE 2 FORWARD, SO THAT YOU GET THE CONTEXT OF YOUR TESTIMONY


  2   SO THAT YOU CAN TELL US WHETHER OR NOT THE PHRASE "AT THAT


  3   TIME" REFERS TO THE SEPTEMBER 1, 2000 CONVERSATIONS.


  4        (WITNESS READS DOCUMENT.)


  5        THE COURT: COUNSEL, HOW FAR DO YOU WANT HER TO READ?


  6        MR. PRICE: TO 268, LINE 21, SO SHE CAN CONFIRM THAT


  7   "AT THAT TIME" REFERS TO THE SAME MEETING.


  8        MS. AGUIAR: I WOULD SUGGEST SHE READ TO 271. THAT


  9   IS THE CONCLUSION OF THIS LINE OF QUESTIONING. SO I SUGGEST


 10   THAT THE WITNESS GO TO 271 FOR PURPOSES OF ANSWERING HIS


 11   QUESTION.


 12        MR. PRICE: THAT'S COMPLETELY UNNECESSARY.


 13        THE COURT: THE COURT AGREES.


 14        YOU CAN FOLLOW UP WITH THAT ON CROSS-EXAMINATION,


 15   COUNSEL.


 16        THE WITNESS: I'M ON PAGE 268, AND I'VE GONE TO


 17   LINE 21.


 18        MR. PRICE: SO THE QUESTION, "MR. BRYANT, AT THAT


 19   TIME..." YOU UNDERSTOOD THE TIME REFERRED TO WAS SEPTEMBER 1ST


 20   OF 2000; CORRECT?


 21        THE WITNESS: YES.


 22        MR. PRICE: SO WITH THAT, YOUR HONOR, I WOULD THEN


 23   PLAY 268, LINE 21, THROUGH 269, LINE 23, AND THEN 271, LINE 19,


 24   TO 272, LINE 12.


 25        THE COURT: YOU MAY DO SO.



                                                                        Page 599
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 23 of 99 Page ID
                                 #:112640




  1        (DEPOSITION TESTIMONY IS PLAYED.)


  2   BY MR. PRICE:


  3   Q   NOW, MS. GARCIA, I WANT TO ASK YOU ABOUT THAT TESTIMONY.


  4        OBVIOUSLY, WHEN YOU WERE THERE AT THE DEPOSITION --


  5        THE COURT: COUNSEL, JUST FOR THE RECORD, THE COURT


  6   OVERRULES THE OBJECTIONS THAT WERE SET FORTH ON THE RECORD.


  7        AND ALSO, JUST FOR THE RECORD, THE COURT REPORTER IS


  8   NOT TRANSCRIBING THAT WHICH IS PLAYED; SO YOU'LL NEED TO LODGE


  9   THAT WITH THE COURT FOR THE RECORD.


 10        MR. PRICE: THANK YOU, YOUR HONOR.


 11        THE COURT: THANK YOU, COUNSEL.


 12   BY MR. PRICE:


 13   Q   MS. GARCIA, WHEN YOU WERE SITTING THERE AT THE DEPOSITION,


 14   YOU WERE REPRESENTED BY AN ATTORNEY; CORRECT?


 15   A   YES.


 16   Q   AND YOU COULD HEAR EVERYTHING THAT WAS GOING ON; YOU COULD


 17   HEAR THE QUESTIONS AND WHAT YOUR ATTORNEY WAS SAYING; CORRECT?


 18   A   YES.


 19   Q   NOW, INITIALLY, WHEN YOU WERE ASKED, "MR. BRYANT, AT THAT


 20   TIME," WHICH IS SEPTEMBER 1, 2000, "AS YOU UNDERSTOOD IT, WAS A


 21   DESIGNER AT MATTEL; ISN'T THAT TRUE?"


 22        YOUR ANSWER WAS "YES"; IS THAT CORRECT?


 23   A   YES. BUT I DON'T BELIEVE THAT ANSWER WAS CORRECT.


 24   Q   WELL, IN FACT, YOU HEARD MS. TORRES SAY AT THE TIME THAT


 25   MISSTATED YOUR TESTIMONY? YOU HEARD HER SAY THAT; CORRECT?



                                                                        Page 600
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 24 of 99 Page ID
                                 #:112641




  1   A   YES.


  2   Q   AS YOU'RE SITTING THERE?


  3   A   YES.


  4   Q   AND WHEN YOU HEARD THAT -- FIRST OF ALL, YOU DON'T RECALL


  5   BEING ASKED THAT QUESTION BEFORE IN YOUR DEPOSITION; CORRECT?


  6   THAT'S THE FIRST TIME YOU WERE ASKED THAT QUESTION?


  7   A   I DON'T KNOW WHAT YOU MEAN.


  8   Q   WELL, THIS WAS THE FIRST TIME, ON MAY 24, 2007, THAT YOU


  9   HAD BEEN ASKED WHETHER OR NOT, AS OF SEPTEMBER 1, 2000, YOU


 10   UNDERSTOOD THAT MR. BRYANT WAS A DESIGNER AT MATTEL? IT'S THE


 11   FIRST TIME YOU'D BEEN ASKED THAT; CORRECT?


 12   A   YOU KNOW, I DON'T --


 13        MS. AGUIAR: OBJECTION, YOUR HONOR. HE'S ASKING THE


 14   WITNESS ABOUT A DEPOSITION THAT OCCURRED OVER A YEAR AGO AND


 15   WHETHER OR NOT THIS WAS THE FIRST TIME SHE WAS ASKED A


 16   PARTICULAR QUESTION. UNLESS HE WANTS TO LET HER REVIEW THE


 17   TRANSCRIPT, HOW CAN SHE POSSIBLY ANSWER THAT QUESTION?


 18        THE COURT: SO YOUR OBJECTION IS WHAT?


 19        MS. AGUIAR: THAT FOR COMPLETENESS, HE NEEDS TO LET


 20   HER LOOK AT THE TRANSCRIPT.


 21        THE COURT: OVERRULED.


 22        YOU'LL HAVE AN OPPORTUNITY TO FOLLOW UP ON


 23   CROSS-EXAMINATION.


 24   BY MR. PRICE:


 25   Q   IT WAS AWHILE AGO, AND PERHAPS YOU DON'T REMEMBER, SO I'M



                                                                        Page 601
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 25 of 99 Page ID
                                 #:112642




  1   JUST GOING TO ASK ABOUT YOUR MEMORY; AND, OF COURSE, YOUR


  2   COUNSEL CAN POINT OUT ANYWHERE IN THE TRANSCRIPT IN HER


  3   EXAMINATION.


  4        PRIOR TO THIS TIME IN THE DEPOSITION, HAD YOU BEEN


  5   ASKED WHETHER OR NOT, AS OF SEPTEMBER 1, 2000, YOU UNDERSTOOD


  6   MR. BRYANT WAS AN EMPLOYEE OF MATTEL? DO YOU RECALL?


  7   A   I DON'T RECALL. I'M NOT SURE.


  8   Q   BUT YOU DID UNDERSTAND, WHEN YOU ANSWERED "YES," THAT YOUR


  9   ATTORNEY WAS SAYING THAT THIS MISSTATED YOUR TESTIMONY;


 10   CORRECT? YOU HEARD HER SAY THAT?


 11   A   I HEARD HER SAY THAT. I, TO THIS DAY, DON'T KNOW FOR SURE


 12   WHAT THOSE LEGAL WORDS MEAN.


 13   Q   NOW, WHEN YOU WERE THEN ASKED, 'WHEN IS IT THAT YOU BECAME


 14   FIRST AWARE THAT MR. BRYANT WAS WORKING AT MATTEL,' YOU AGAIN


 15   HEARD YOUR ATTORNEY SAY IT MISSTATES THE TESTIMONY; CORRECT?


 16   A   YES.


 17   Q   NOW, AT THAT POINT, WERE YOU THINKING, 'YOU KNOW, I MIGHT


 18   HAVE MADE A MISTAKE BY SAYING I KNEW THAT MR. BRYANT WORKED AT


 19   MATTEL WHEN I HAD THAT MEETING WITH HIM ON SEPTEMBER 1ST.'


 20        AT THAT TIME, WAS THAT PLAYING IN YOUR MIND, THAT,


 21   'YOU KNOW, THAT'S NOT SOMETHING I'M SUPPOSED TO SAY'?


 22   A   NO. ABSOLUTELY NOT.


 23        I'M VERY CLEAR FOR --


 24   Q   LET ME ASK YOU -- I THINK YOU ANSWERED THAT QUESTION.


 25        MS. AGUIAR: ACTUALLY --



                                                                        Page 602
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 26 of 99 Page ID
                                 #:112643




  1        THE COURT: YOU MAY ANSWER IT.


  2        ARE YOU FINISHED WITH THE ANSWER?


  3        THE WITNESS: THANK YOU.


  4        I'M VERY, VERY CLEAR THAT ON THE SEPTEMBER 1, 2000


  5   MEETING, I DO NOT REMEMBER HEARING ABOUT CARTER BRYANT BEING


  6   EMPLOYED AT MATTEL AT THAT TIME.


  7   BY MR. PRICE:


  8   Q   SO THE FIRST QUESTION AND ANSWER, THEN, I THINK YOU SAID


  9   THAT YOU NOW BELIEVE THAT WAS MISTAKEN.


 10   A   I BELIEVE THAT MY ANSWER "YES" WAS A MISTAKE, NOW READING


 11   IT TODAY.


 12   Q   WELL, ACTUALLY, THIS ISN'T THE FIRST TIME YOU'VE READ


 13   THIS; YOU HAD THE OPPORTUNITY TO READ YOUR TRANSCRIPT AND


 14   CONSULT WITH YOUR ATTORNEY AND MAKE ANY CHANGES TO YOUR


 15   TRANSCRIPT; CORRECT?


 16   A   I DON'T KNOW. THIS WAS PART OF THE O'MELVENY TEAM. I


 17   DON'T KNOW IF I WAS PROVIDED THE OPPORTUNITY TO ACTUALLY REVIEW


 18   THIS DOCUMENT. I DON'T REMEMBER REVIEWING IT.


 19   Q   DO YOU REMEMBER BEING TOLD YOU HAD THAT RIGHT?


 20   A   NO, I DON'T REMEMBER THAT.


 21   Q   THEN, WHEN YOU WERE ASKED, "ISN'T IT TRUE THAT WHEN YOU


 22   HAD THIS MEETING THAT WE'VE BEEN DISCUSSING, WHICH YOU


 23   REFERENCED AS BEING THE SEPTEMBER 1, 2000 MEETING, THAT BY THAT


 24   TIME, BY THE TIME THAT MEETING WAS OVER, YOU YOURSELF WAS AWARE


 25   THAT MR. BRYANT WAS EMPLOYED AS A DESIGNER AT MATTEL?" AND THEN



                                                                        Page 603
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 27 of 99 Page ID
                                 #:112644




  1   MS. TORRES SAID, "SAME OBJECTIONS."


  2        WAS THERE SOMETHING ABOUT THAT QUESTION YOU DID NOT


  3   UNDERSTAND?


  4   A   I JUST REMEMBER THAT DAY BEING VERY, VERY CONFUSED WITH


  5   THE QUESTIONS AND TRYING TO MAKE SURE I WAS ANSWERING THEM


  6   CORRECTLY.


  7        IF I HAD THE CHANCE, MAY I READ IT AGAIN TO MYSELF?


  8   Q   SURE.


  9        I'M WONDERING, WERE YOU REALLY CONFUSED BY THIS


 10   QUESTION, OR WERE YOU JUST TRYING TO GIVE YOURSELF SOME TIME TO


 11   THINK OF AN ANSWER?


 12   A   NO. I WAS HONESTLY CONFUSED WITH THE QUESTION.


 13   Q   WELL, WHAT WAS CONFUSING ABOUT THE QUESTION: "ISN'T IT


 14   TRUE THAT WHEN YOU HAD THIS MEETING THAT YOU'VE BEEN


 15   DISCUSSING, WHICH YOU REFERENCED AS BEING THE SEPTEMBER 1, 2000


 16   MEETING, THAT BY THAT TIME, BY THE TIME THAT MEETING WAS OVER,


 17   YOU YOURSELF WAS AWARE THAT MR. BRYANT WAS EMPLOYED AS A


 18   DESIGNER AT MATTEL?"


 19        WHAT WAS CONFUSING ABOUT THAT QUESTION?


 20   A   YOU KNOW, I WAS NERVOUS IN DEPOSITION, VERY MUCH, AND


 21   THERE WAS A LOT OF REFERENCES TO -- AND EVEN READING THIS


 22   TODAY, 'ISN'T IT TRUE THAT WHEN YOU HAD THIS MEETING WHICH


 23   YOU'VE BEEN DISCUSSING, SEPTEMBER 1ST, BY THAT TIME' -- I --


 24   YOU KNOW, I WAS TRYING VERY HARD TO LISTEN TO THE QUESTION, BUT


 25   I WAS CONFUSED. I BELIEVE THAT I WAS CONFUSED.



                                                                        Page 604
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 28 of 99 Page ID
                                 #:112645




  1   Q   BY THIS TIME, AFTER MS. TORRES HAD SAID THREE TIMES THAT


  2   YOU HAD MISSTATED TESTIMONY, BY THAT TIME, WERE YOU UNDER THE


  3   IMPRESSION THAT YOU WERE NOT SUPPOSED TO SAY "YES" TO THAT


  4   QUESTION?


  5   A   NO. ABSOLUTELY NOT.


  6   Q   THEN WE GO TO THE NEXT SECTION.


  7        AND THEN YOU WERE ASKED, AFTER IT WAS REPHRASED, "AT


  8   SOME POINT, YOU BECOME AWARE THAT MR. BRYANT WAS, AS OF


  9   SEPTEMBER 1ST WHEN YOU HAD THIS MEETING, EMPLOYED BY MATTEL?"


 10   AND YOU SAID, "SOMETIME IN 2004," SOMETIME THREE TO FOUR YEARS


 11   AFTER THIS MEETING IS WHEN YOU FIRST BECAME AWARE.


 12   A   THAT'S CORRECT.


 13        IN 2004, I REMEMBER COLLECTING AT THE OFFICES OF


 14   O'MELVENY, WHERE THERE WAS CONVERSATION ABOUT THE CASE THAT I


 15   BELIEVE WAS POTENTIALLY TO COME TO SUIT, AND THERE WAS


 16   CONVERSATION ABOUT HIS BEING EMPLOYED AT MATTEL AT THAT TIME,


 17   AND I REMEMBER BEING INCREDIBLY SURPRISED. I WAS ACTUALLY


 18   SHOCKED BY THAT INFORMATION.


 19   Q   SO YOUR TESTIMONY IS THAT THE FIRST TIME YOU WERE AWARE


 20   THAT MR. BRYANT WORKED AT MATTEL WHEN HE WAS MEETING WITH YOU


 21   ON SEPTEMBER 1ST WAS AFTER THERE WERE LAWSUITS FILED?


 22   A   TO BE CLEAR, I'M NOT SURE, BECAUSE I'M NOT A LEGAL PERSON


 23   AND I DON'T KNOW ALL OF THE OFFICIAL DEALINGS. HOWEVER, I DO


 24   KNOW THAT THERE WAS CONVERSATION OF EITHER THE SUIT HAPPENING


 25   OR POTENTIALLY HAPPENING. I CAN'T BE CERTAIN.



                                                                        Page 605
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 29 of 99 Page ID
                                 #:112646




  1   Q   NOW, WHEN YOUR DEPOSITION HAD BEEN TAKEN, I TAKE IT YOU


  2   HAD NOT BEEN TOLD ABOUT ANYTHING THAT MS. O'CONNOR, WHO WAS AT


  3   THIS MEETING, HAD TESTIFIED TO OR MR. BRYANT, WHO WAS AT THAT


  4   MEETING, OR MR. LARIAN, WHO WAS AT THAT MEETING -- YOU HADN'T


  5   BEEN TOLD ABOUT ANYTHING THEY HAD TESTIFIED TO; CORRECT?


  6   A   THAT'S CORRECT.


  7   Q   YOU'RE AWARE, OF COURSE, THAT ALL OF THOSE WITNESSES HAVE


  8   TESTIFIED THAT MR. BRYANT INFORMED EVERYONE AT THAT MEETING


  9   THAT HE THEN WORKED AT MATTEL.


 10   A   I'M NOT SURE WHAT EVERYBODY'S TESTIFIED TO. I ONLY KNOW


 11   WHAT I KNOW.


 12   Q   SINCE SEPTEMBER 1ST, CERTAINLY YOU'VE WORKED WITH


 13   MR. BRYANT FOR A NUMBER OF YEARS; CORRECT?


 14   A   YES.


 15   Q   AND YOU'VE WORKED WITH MR. LARIAN; CORRECT?


 16   A   YES.


 17   Q   AND MS. O'CONNOR; CORRECT?


 18   A   I HAVEN'T WORKED WITH VICTORIA O'CONNOR FOR A NUMBER OF


 19   YEARS.


 20   Q   HOW LONG DID YOU WORK FOR HER AFTER SEPTEMBER 1ST?


 21   A   I'M GOING TO GUESS A COUPLE OF MONTHS, MAYBE A YEAR.


 22   Q   AND AT THIS MEETING -- I THINK YOU SAID THIS WAS


 23   MR. LARIAN'S OFFICE?


 24   A   YES.


 25   Q   AND YOU WERE, I BELIEVE YOU SAID, AT A CONFERENCE TABLE?



                                                                        Page 606
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 30 of 99 Page ID
                                 #:112647




  1   A   YES.


  2   Q   AND YOU COULD HEAR WHAT EVERYONE ELSE SAID AT THAT


  3   MEETING; CORRECT?


  4   A   IF I MIGHT HAVE THE OPPORTUNITY TO SAY THAT, AT THAT


  5   MEETING -- IT WAS A VERY, VERY POWERFUL AND IMPORTANT MEETING


  6   TO ME. THAT WAS A DAY THAT I HAD THE CHANCE TO REVIEW SKETCHES


  7   BY CARTER BRYANT; AND I WAS INCREDIBLY IN LOVE. I WAS VERY


  8   IMPRESSED. I WAS VERY, VERY EXCITED ABOUT THE MATERIAL THAT I


  9   SAW IN THAT CONFERENCE ROOM IN HIS OFFICE THAT DAY.


 10        I WAS QUITE FOCUSED ON THE MATERIAL I SAW BEFORE


 11   MYSELF. IT'S POSSIBLE THAT CONVERSATION WAS EXCHANGED ACROSS


 12   THAT TABLE AS I WAS GAZING AND PRETTY IN LOVE WITH THOSE


 13   DRAWINGS. I SIMPLY DON'T REMEMBER THEM. I WASN'T REALLY


 14   FOCUSED ON THAT. I WAS VERY MUCH FOCUSED ON THE MATERIAL IN


 15   FRONT OF ME.


 16   Q   SO YOUR TESTIMONY IS THAT YOU MAY NOT HAVE HEARD


 17   DISCUSSIONS ABOUT WHERE MR. BRYANT WORKED AS OF SEPTEMBER 1ST


 18   BECAUSE IT WAS THE FIRST TIME YOU HAD SEEN THE DRAWINGS AND YOU


 19   WERE EXCITED ABOUT THEM.


 20   A   THAT'S RIGHT.


 21   Q   IN FACT, YOU HAD SEEN THOSE DRAWINGS AS EARLY AS MID


 22   AUGUST, WHEN YOU AND MS. O'CONNOR AND MR. BRYANT MET; CORRECT?


 23   A   CAN YOU PLEASE REPEAT THE QUESTION.


 24   Q   IN FACT, YOU HAD SEEN THOSE DRAWINGS AND WERE EXCITED


 25   ABOUT THEM AT LEAST AS OF AUGUST 18TH, WHEN YOU MET WITH



                                                                        Page 607
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 31 of 99 Page ID
                                 #:112648




  1   MS. O'CONNOR AND MR. BRYANT.


  2   A   AS I'VE TESTIFIED BEFORE, I DO NOT REMEMBER SEEING THE


  3   DRAWINGS PRIOR TO SEPTEMBER 1ST OF 2000. IT'S POSSIBLE THAT


  4   THERE WAS A MEETING THAT TRANSPIRED. I PERSONALLY DO NOT


  5   REMEMBER THEM. I REMEMBER VERY, VERY VIVIDLY A MEETING ON


  6   SEPTEMBER 1ST.


  7   Q   SO AS YOU WERE ANSWERING THESE QUESTIONS AT YOUR


  8   DEPOSITION ABOUT WHEN YOU LEARNED MR. MATTEL -- I KEEP SAYING


  9   "MR. CARTER" FOR MR. BRYANT. I APOLOGIZE.


 10   A   WE ALL MAKE MISTAKES.


 11   Q   IF I SAY "MR. CARTER," I DON'T MEAN JIMMY. I MEAN


 12   CARTER BRYANT.


 13        SO WHEN YOU WERE TESTIFYING AND ASKED ABOUT WHEN YOU


 14   FIRST BECAME AWARE ABOUT MR. CARTER BRYANT BEING AT MATTEL,


 15   WHEN YOU FIRST WERE ASKED THAT AND YOU HEARD THESE OBJECTIONS,


 16   DID IT EVER OCCUR TO YOU THAT IT MIGHT REFLECT POORLY ON YOU IF


 17   YOU ADMITTED THAT YOU KNEW, DURING THIS TIME FRAME WHEN YOU


 18   WERE WORKING WITH MR. BRYANT, THAT HE WAS ALSO WORKING AT


 19   MATTEL? DID THAT THOUGHT OCCUR TO YOU?


 20   A   NO. HOWEVER, MIGHT I SAY THAT IF IT WERE THAT


 21   CARTER BRYANT WAS WORKING AT MATTEL AT THE TIME OF THE


 22   SEPTEMBER 1ST MEETING, I WOULDN'T THINK THAT WAS NECESSARILY A


 23   BAD THING AT THAT TIME ANYWAY, EVEN SPEAKING ON THAT TODAY.


 24   Q   BUT AS WE WENT OVER YESTERDAY, THE FACT THAT HE WORKED, AT


 25   LEAST SOME PERIODS OF TIME, ASSISTING MGA, FROM SEPTEMBER 1ST



                                                                        Page 608
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 32 of 99 Page ID
                                 #:112649




  1   TO OCTOBER 19TH, YOU RECOGNIZE THAT WOULD BE IMPROPER IF HE WAS


  2   STILL AT MATTEL. YOU'VE TOLD US THAT; CORRECT?


  3   A   I WANT TO BE CLEAR ABOUT THAT.


  4        THAT EXCHANGE THAT WE HAD IN EARLY SEPTEMBER -- AND I


  5   BELIEVE THAT I SAID THIS YESTERDAY -- THE TIME THAT CARTER


  6   BRYANT EXCHANGED WITH US IN TERMS OF WORK EARLY IN SEPTEMBER


  7   WAS NOT THAT HE WAS CREATING MATERIAL IN NO WAY FOR BRATZ AT


  8   ALL. CARTER SUPPORTED ME IN SOME EXPLORATIONS THAT I WAS


  9   INTERESTED IN PURSUING.


 10        AT THE MOMENT OF THIS EARLY SEPTEMBER, I WAS VERY


 11   MUCH IN LOVE WITH THE CONCEPT, AND I WAS ASKING, YOU KNOW --


 12   WORKING WITH ISAAC, IN HOPES THAT WE WERE GOING TO COMMIT TO A


 13   PROJECT THAT COULD HAVE COST MGA A LOT OF MONEY, AND I WANTED


 14   TO BE SURE THAT CERTAIN INSTINCTS OF MINE WERE PROVEN OUT


 15   BEFORE THIS CONTRACT WAS SIGNED.


 16        BECAUSE THOSE DOCUMENTS -- BECAUSE THAT PORTFOLIO


 17   WASN'T OFFICIALLY OWNED BY MGA DURING THIS TIME PERIOD, I FELT


 18   IT APPROPRIATE THAT SOME OF THESE EXPLORATIONS THAT I WAS DOING


 19   AGAINST HIS PORTFOLIO CONTENT -- I FELT IT APPROPRIATE FOR


 20   CARTER TO BE A PART OF THAT. THOSE WERE EXAMPLES, LIKE THE


 21   SCULPTING MEETING THAT HE WAS A PART OF IN EARLY SEPTEMBER WITH


 22   ME. THAT'S JUST A SINGLE EXAMPLE.


 23   Q   LET ME ASK YOU ABOUT SOME OF THOSE.


 24        YOU SAID THAT YOU FELT YOU NEEDED MR. BRYANT'S


 25   SUPPORT DURING THIS TIME. YOU WERE CHARACTERIZING IT AS



                                                                        Page 609
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 33 of 99 Page ID
                                 #:112650




  1   EXPLORATORY; CORRECT? THOSE WERE YOUR WORDS; RIGHT?


  2   A   YEAH. I MEAN, I FELT IT APPROPRIATE FOR HIM TO BE WITH ME


  3   AND EXPLORING HIS PORTFOLIO DRAWINGS THAT AT THAT TIME MGA DID


  4   NOT SUPPORT.


  5   Q   AT THE TIME, YOU WERE DOING THIS EXPLORATION AS AN MGA


  6   EMPLOYEE?


  7   A   THAT'S RIGHT.


  8   Q   WERE YOU GETTING PAID FOR IT?


  9   A   YEAH.


 10   Q   OKAY.


 11        IT WOULD HAVE BEEN INAPPROPRIATE, AS YOU TOLD US


 12   YESTERDAY, FOR MR. BRYANT TO BE SUPPORTING YOU AS AN EMPLOYEE


 13   OF MGA IN EXPLORING BRATZ AT THE SAME TIME HE'S WORKING FOR


 14   MATTEL; CORRECT?


 15        MS. AGUIAR: OBJECTION. MISSTATES THE WITNESS'S


 16   TESTIMONY FROM YESTERDAY.


 17        THE COURT: REPHRASE, COUNSEL.


 18   BY MR. PRICE:


 19   Q   ISN'T IT TRUE THAT IT WOULD HAVE BEEN INAPPROPRIATE FOR


 20   MR. CARTER BRYANT, AS AN EMPLOYEE OF MATTEL, TO BE SUPPORTING


 21   YOU, AN EMPLOYEE OF MGA, IN EXPLORING THIS COMPETITIVE,


 22   POTENTIALLY COMPETITIVE, PRODUCT? THAT WOULD HAVE BEEN


 23   INAPPROPRIATE IF HE WAS AN EMPLOYEE OF MATTEL AT THE TIME,


 24   WOULD YOU AGREE WITH THAT?


 25   A   NO, I DON'T AGREE WITH THAT.



                                                                        Page 610
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 34 of 99 Page ID
                                 #:112651




  1   Q   IS THIS SOMETHING THAT YOU DISCUSSED LAST NIGHT?


  2   A   NO, I DID NOT.


  3   Q   SO LET ME UNDERSTAND WHY YOU DON'T AGREE.


  4        OF COURSE, WHEN YOU TOLD MATTEL THAT YOU WERE GOING


  5   TO WORK FOR MGA TWO WEEKS HENCE, WHEN YOU GAVE YOUR NOTICE,


  6   THEY TOOK YOU OUT OF THE DESIGN CENTER, THEY WALKED YOU OUT,


  7   BECAUSE THEY DID NOT WANT YOU AT MATTEL WHEN YOU WERE GOING TO


  8   BE WORKING FOR MGA LATER; CORRECT?


  9   A   RIGHT.


 10   Q   SO IN SEPTEMBER, MR. CARTER BRYANT WORKED AT MATTEL.


 11        YOU NOW UNDERSTAND THAT; CORRECT?


 12   A   YES.


 13   Q   AND YOU'RE SAYING IT WAS APPROPRIATE FOR HIM, WHILE


 14   WORKING AT MATTEL, TO ACTUALLY VISIT WITH YOU AND SUPPORT YOU


 15   AS AN MGA EMPLOYEE IN EXPLORING A PRODUCT THAT WOULD BE


 16   COMPETITIVE WITH MATTEL? THAT'S NOW YOUR TESTIMONY?


 17   A   MR. PRICE, ALL I CAN TELL YOU IS THAT AT THE TIME OF THIS,


 18   EARLY SEPTEMBER, CARTER BRYANT WAS NOT WORKING WITH US; HE WAS


 19   PITCHING US HIS CONCEPT. HE WAS KIND OF WING-MANNING THE MGA


 20   GROUP IN HOPES THAT WE WOULD COMMIT AND SIGN UP CONTRACTUALLY


 21   TO HIS CONCEPT. HE WAS NOT WORKING ON BRATZ IN THIS EARLY


 22   SEPTEMBER TIME PERIOD.


 23        I JUST WANT TO MAKE SURE I'M INCREDIBLY CLEAR ON


 24   THAT.


 25   Q   SURE.



                                                                        Page 611
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 35 of 99 Page ID
                                 #:112652




  1        BUT YOU SAID THAT, FOR EXAMPLE IN SEPTEMBER, HE MET


  2   WITH A SCULPTOR AND YOU; IS THAT RIGHT?


  3   A   YES.


  4   Q   AND THAT SCULPTOR WOULD HAVE BEEN WHO?


  5   A   MARGARET LEAHY.


  6        AND THE REASON WE MET WITH MARGARET IS THAT IN


  7   REVIEWING CARTER BRYANT'S PORTFOLIO SKETCHES, MY INSTINCT IN


  8   REVIEWING SOME OF THOSE SKETCHES WAS THAT THEY WERE VERY


  9   PROFESSIONAL, VAVAVOOM; THEY WERE VERY SEXY. AND IT WAS, YOU


 10   KNOW -- IN REVIEWING THOSE SKETCHES, I WANTED TO BE SURE THAT


 11   ONCE AND IF THE CONTRACTS WERE SIGNED, THAT IF WE ACTUALLY


 12   STARTED TO SCULPT AGAINST HIS PORTFOLIO DRAWINGS -- I WANTED TO


 13   SEE HOW THAT WOULD BE MATERIALIZED INTO 3-D, LIKE, HOW


 14   APPROPRIATE IT WOULD BE AND HOW FAR IS THIS KIND OF VAVAVOOM OR


 15   THIS SEXY...


 16        SO BEING THAT THOSE DRAWINGS DON'T BELONG TO MGA, BUT


 17   INTERESTED IN PROVING OUT THIS 3-D VERSION OF HIS SKETCHES, I


 18   ASKED MARGARET LEAHY TO SCULPT A RENDITION OF HIS PORTFOLIO


 19   SKETCHES. AND, AGAIN, BEING THAT WE DIDN'T OWN THOSE PORTFOLIO


 20   DRAWINGS, CARTER ACCOMPANIED ME IN THAT EXPLORATION.


 21   Q   WHAT YOU JUST SAID IS THAT CARTER MET WITH YOU AND THE


 22   SCULPTOR WHILE HE WAS AN EMPLOYEE AT MATTEL TO TRY TO SEE


 23   WHETHER MGA WOULD DO THIS BRATZ DOLL? YOUR TESTIMONY IS THAT


 24   THERE'S NOTHING WRONG WITH THAT; RIGHT?


 25   A   THAT'S RIGHT.



                                                                        Page 612
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 36 of 99 Page ID
                                 #:112653




  1   Q   AND IF YOU LOOK AT EXHIBIT 305, WHICH IS ALREADY IN


  2   EVIDENCE.


  3        OCTOBER 10TH -- REMEMBER, THAT'S WHEN YOU SAID TO


  4   MS. O'CONNOR THAT MR. CARTER HAD BEEN WORKING AN AVERAGE OF


  5   ABOUT FOUR HOURS A DAY AND YOU BEGAN WORKING ON THIS LINE THE


  6   FIRST PART OF SEPTEMBER.


  7        YOU RECALL THIS E-MAIL; CORRECT?


  8   A   YES. AND I RECALL SAYING TO YOU YESTERDAY THAT IT WAS


  9   INCORRECT.


 10        THE COURT: COUNSEL, IS THIS THE EXACT COPY OF THIS


 11   OVER HERE?


 12        MR. PRICE: NO. THIS IS SEPARATE. I'M TRYING TO


 13   AVOID GOING UP AND DRAWING ON THAT SO THAT I STAY HERE AT


 14   COUNSEL'S TABLE.


 15        THE COURT: HAVE YOU REVIEWED THIS, COUNSEL?


 16        MS. AGUIAR: I HAVE NOT.


 17        THE COURT: BEFORE YOU PUBLISH ANYTHING TO THE JURY,


 18   MAKE SURE THE OTHER SIDE HAS A CHANCE TO SEE IT.


 19   BY MR. PRICE:


 20   Q   MA'AM, ON OCTOBER 10TH, YOU SENT THIS E-MAIL TO


 21   MS. O'CONNOR; CORRECT?


 22   A   MAY I SEE THE --


 23   Q   IT'S EXHIBIT 305.


 24   A   WAS THAT IN VOLUME I?


 25   Q   YES.



                                                                        Page 613
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 37 of 99 Page ID
                                 #:112654




  1         AND IT'S IN EVIDENCE ALREADY. I CAN QUICKLY PUT IT


  2   BACK UP HERE FOR YOU. YOU CAN LOOK AT THE SCREEN.


  3         MS. AGUIAR: COULD WE PUT THE WHOLE DOCUMENT ON THE


  4   SCREEN?


  5         THE COURT: IS IT IN EVIDENCE?


  6         MR. PRICE: YES.


  7         THE COURT: IT'S IN EVIDENCE, COUNSEL.


  8         IF IT'S IN EVIDENCE, IT MAY BE PUBLISHED.


  9   BY MR. PRICE:


 10   Q   SO THIS IS ON OCTOBER 10TH THAT YOU SENT THE E-MAIL;


 11   CORRECT?


 12   A   YES.


 13   Q   AND YOUR TESTIMONY WAS THAT THIS "4" WAS A TYPOGRAPHICAL


 14   ERROR?


 15   A   THE TERM "4 HOURS" WAS INCORRECT.


 16   Q   I THINK YOUR TESTIMONY WAS THAT IT WAS A TYPO; RIGHT?


 17   A   RIGHT.


 18   Q   NOW, I ASSUME YOUR COMPUTER KEYBOARD LOOKS LIKE -- YOU


 19   TYPED THIS ON A COMPUTER KEYBOARD; CORRECT?


 20   A   YES.


 21   Q   SO WHAT NUMBER DID YOU MEAN TO TYPE IN WHEN YOU TYPED


 22   IN "4"?


 23   A   YOU KNOW, I DON'T REMEMBER, BECAUSE THIS WAS A NUMBER OF


 24   YEARS AGO, ALMOST EIGHT YEARS AGO NOW. I DON'T REMEMBER


 25   EXACTLY WHAT I MEANT TO TYPE OR WHAT BUTTON I PUSHED



                                                                        Page 614
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 38 of 99 Page ID
                                 #:112655




  1   INCORRECTLY. I CAN ONLY TELL YOU TODAY THAT THE TERM "4 HOURS"


  2   WAS INCORRECT. THERE'S NO WAY THAT FOUR HOURS OF TIME


  3   EXCHANGED FROM CARTER ON BRATZ AT THIS TIME WOULD BE POSSIBLE.


  4        FURTHER, I SHOULD ALSO SAY THAT WHILE I KNOW THAT IT


  5   WAS INCORRECT, OBVIOUSLY ISAAC CAUGHT MY MISTAKE AS WELL.


  6        IF YOU LOOK ABOVE THE DOCUMENT, HE CORRECTED IT BY


  7   SAYING THAT CARTER BRYANT SHOULD BE PAID FROM THE DATE THAT HE


  8   SIGNED THE CONTRACT.


  9   Q   I'M ASKING YOU WHEN YOU SENT YOURS OUT. WE'LL GET TO


 10   MR. LARIAN.


 11        THE COURT: I'M SORRY. IS THERE AN OBJECTION,


 12   COUNSEL?


 13        MS. AGUIAR: I'D LIKE THE COMPLETE DOCUMENT ON THE


 14   SCREEN IF HE'S GOING TO BE TESTIFYING TO IT.


 15        THE COURT: FAIR ENOUGH.


 16        COUNSEL, LET'S HAVE THE FULL DOCUMENT ON THE SCREEN.


 17        MR. PRICE: THE WHOLE DOCUMENT CAN'T BE SEEN BY THE


 18   JURY, BUT I THINK THIS IS WHAT YOU WANT SHOWN.


 19        THE COURT: COUNSEL, IS THAT CORRECT?


 20        MS. AGUIAR: THAT'S FINE.


 21   BY MR. PRICE:


 22   Q   DID YOU KNOW OF THE CONTRACT THAT CARTER BRYANT SIGNED?


 23   A   NO.


 24   Q   YOU HADN'T SEEN IT?


 25   A   NO.



                                                                        Page 615
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 39 of 99 Page ID
                                 #:112656




  1   Q   YOU DON'T KNOW WHAT ITS EFFECTIVE DATE IS?


  2   A   NO.


  3   Q   WERE YOU EVER INFORMED THAT THE CONTRACT THAT


  4   CARTER BRYANT SIGNED WITH MGA WAS DATED AS OF SEPTEMBER 18,


  5   2000?


  6   A   I AM NOT FAMILIAR OF THE OFFICIAL CONTRACT SIGNING DATE.


  7   I'M NOT A LEGAL PERSON. I HAVE -- I'M NOT CERTAIN OF IT.


  8   Q   CERTAINLY, YOU'RE NOT AWARE THAT AS OF SEPTEMBER 18, 2008,


  9   MR. CARTER BRYANT WAS STILL AN EMPLOYEE AT MATTEL?


 10   A   I'M NOT CERTAIN OF THAT. IF YOU SAY THAT'S TRUE, THEN


 11   I'LL UNDERSTAND IT TO BE TRUE.


 12   Q   SO ANYWAY, MY QUESTION IS NOW, WHEN YOU TYPED THIS -- YOU


 13   TESTIFIED THERE IS A TYPOGRAPHICAL ERROR -- IS IT TRUE THAT,


 14   SITTING HERE TODAY, YOU CAN'T RECALL WHAT NUMBER YOU MEANT TO


 15   GO TO ON THAT COMPUTER KEYBOARD WHEN YOU ACCIDENTALLY HIT "4"?


 16   A   I SIT HERE TODAY AND I CAN TELL YOU THAT I DON'T BELIEVE


 17   THAT THE NUMBER "4" WAS MAYBE MY MISTAKE.


 18        THIS WAS, AGAIN, A NUMBER OF YEARS AGO. MAYBE I


 19   MEANT FOUR HOURS A WEEK OR WITHIN THE MONTH. I CAN'T TELL YOU.


 20   I CAN ONLY TELL YOU THAT DURING THIS PERIOD OF TIME, THERE


 21   WASN'T ANYTHING FOR CARTER BRYANT TO HAVE BEEN DOING TO HAVE


 22   WORKED FOUR HOURS A DAY ON BRATZ.


 23        AND I WILL ALSO SAY THAT CARTER'S EXCHANGE DURING


 24   THIS PERIOD OF TIME WOULD HAVE BEEN DURING THAT TIME WHEN HE


 25   WAS SITTING WITH ME IN MY EXPLORATION TO PROVE OUT HIS SKETCH



                                                                        Page 616
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 40 of 99 Page ID
                                 #:112657




  1   DRAWINGS. SO IT WASN'T NECESSARILY EVEN WORK; IT WAS HIS


  2   SUPPORT WITH ME THROUGH MY EXPLORATION ON HIS SKETCH DRAWINGS


  3   THAT MGA DID NOT OWN AT THE TIME.


  4   Q     WHEN YOU WERE WORKING AT MATTEL, WERE YOU SUPPORTING MGA


  5   WHILE YOU WERE AN EMPLOYEE AT MATTEL?


  6   A     NO. I DIDN'T HAVE -- NO, THERE WASN'T AN OPPORTUNITY. I


  7   MEAN, THERE WAS NO SITUATION SIMILAR TO THIS, IF YOU'RE MAKING


  8   A SIMILAR RELATIONSHIP.


  9   Q     AND THE SUPPORT WAS TO TRY TO, ACCORDING TO YOU, DETERMINE


 10   WHETHER MGA WOULD, IN FACT, MAKE THESE BRATZ DOLLS; CORRECT?


 11   A     YES.


 12   Q     WHICH WOULD OBVIOUSLY PRESUMABLY BE DONE BECAUSE OF THE


 13   THOUGHT THAT IT WOULD BE OF SOME FINANCIAL BENEFIT TO MGA TO DO


 14   SO.


 15   A     I'M NOT SURE WHAT YOU MEAN.


 16   Q     YOU WOULD GO FORWARD WITH THE BRATZ DOLLS IF YOU THOUGHT


 17   YOU WERE GOING TO MAKE MONEY ON THEM.


 18   A     YES.


 19   Q     AND SO WHAT YOU'RE SAYING MR. CARTER BRYANT WAS DOING IN


 20   SEPTEMBER WAS ASSISTING MGA IN DETERMINING WHETHER OR NOT MGA


 21   SHOULD PURSUE A COMPETITIVE DOLL PRODUCT LINE THAT WOULD MAKE


 22   MGA MONEY.


 23   A     NO. THAT IS NOT WHAT I'M SAYING.


 24          ALL I'M SAYING IS THAT I WAS INTERESTED IN PURSUING


 25   SOME EXPLORATION ON CARTER'S SKETCHES THAT WERE WITHIN HIS



                                                                         Page 617
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 41 of 99 Page ID
                                 #:112658




  1   PORTFOLIO, AND BECAUSE I DID NOT OWN THOSE DRAWINGS, CARTER SAT


  2   WITH ME IN SOME OF THAT EXPLORATION, BECAUSE FRANKLY, I DIDN'T


  3   OWN THEM; THEY BELONGED TO HIM. AND SO HE ACCOMPANIED ME. IT


  4   WAS THAT TIME THAT HE SPENT WITH ME DURING THAT EARLY


  5   SEPTEMBER.


  6   Q   TALKING ABOUT SEPTEMBER, LET'S GO THROUGH TO EXHIBIT 18,


  7   WHICH IS ALREADY INTO EVIDENCE, WHICH WE LOOKED AT. THAT IS IN


  8   VOLUME I.


  9        WE WERE TALKING ABOUT SEVERAL OF THE ENTRIES HERE, IF


 10   WE CAN SHOW EXHIBIT 18.


 11        THIS IS SEPTEMBER 27TH, YOUR E-MAIL TO HONG KONG;


 12   CORRECT?


 13   A   WHERE SHOULD I BE LOOKING?


 14   Q   THIS IS EXHIBIT 18. IT'S IN YOUR VOLUME I.


 15   A   OKAY.


 16   Q   AND WE'VE DISCUSSED THE BINDER THAT YOU SENT ON


 17   SEPTEMBER 27TH.


 18        IT INCLUDED THESE DRAWINGS; CORRECT?


 19   A   I BELIEVE SO. HIS PORTFOLIO DRAWINGS.


 20   Q   AND YOU DIDN'T TELL HONG KONG, 'THEY DON'T BELONG TO US.'


 21   A   NO.


 22   Q   AND THAT'S BECAUSE, AS OF SEPTEMBER 18TH, THEY DID, AT


 23   LEAST IF MR. BRYANT HAD THE RIGHT TO GIVE THEM TO YOU.


 24   A   I DON'T UNDERSTAND YOUR QUESTION.


 25   Q   AS OF SEPTEMBER 27TH, YOUR UNDERSTANDING WAS, YOU COULD



                                                                        Page 618
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 42 of 99 Page ID
                                 #:112659




  1   USE THOSE DRAWINGS; MGA COULD USE THEM.


  2   A   NO. THAT WAS NOT MY UNDERSTANDING AT ALL, WHATSOEVER.


  3   Q   WELL, IN ADDITION TO SENDING THEM THE DRAWINGS -- WE'VE


  4   GOT THIS DISCUSSION ABOUT CHANGE OF CLOTHES, ET CETERA --


  5   ACTUALLY, I'LL GO DOWN TO THE NEXT TWO PARAGRAPHS.


  6        REMEMBER YESTERDAY, WE WERE TALKING ABOUT -- TELLING


  7   THEM ABOUT THE PREFERRED HAIR VENDOR AND THE APPROXIMATE AMOUNT


  8   AND WEIGHT OF HAIR? DO YOU RECALL THAT?


  9   A   I REMEMBER, YES.


 10   Q   I'D LIKE YOU TO LOOK -- IT'S IN THE SAME BINDER -- AT


 11   EXHIBIT 30.


 12        HAVE YOU SEEN EXHIBIT 30 BEFORE?


 13   A   I DON'T REMEMBER. IT'S POSSIBLE THAT I HAVE. I'M NOT


 14   SURE.


 15   Q   YOU KNEW THAT AS OF SEPTEMBER 18, 2000, MR. BRYANT WAS


 16   SPEAKING WITH HAIR VENDORS AND REPRESENTING THAT HE WAS WORKING


 17   WITH MGA ENTERTAINMENT?


 18   A   I WANT TO BE CLEAR THAT I, AT THE TIME, DID NOT REALIZE


 19   THAT CARTER BRYANT WAS REACHING OUT TO THE SARAN HAIR MATERIAL


 20   OR THE SARAN MANUFACTURER. I WILL JUST EXCHANGE FROM MY PART


 21   THAT I REACHED OUT TO CARTER, AGAIN IN EXPLORING, YOU KNOW --


 22   IN THE SORT OF EXPLORATION PERIOD, I ASKED HIM WHAT HIS THOUGHT


 23   WOULD BE FOR HIS RECOMMENDATION ON A HAIR MATERIAL TYPE FOR


 24   THIS FASHION DOLL HEAD, AND HE HAD GIVEN ME HIS RECOMMENDATION


 25   ON SARAN HAIR.



                                                                        Page 619
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 43 of 99 Page ID
                                 #:112660




  1        CARTER, I THINK, AT THAT POINT, TOOK IT A LITTLE


  2   FURTHER AND COMMUNICATED WITH THE VENDOR, AND I THINK AT THIS


  3   TIME, HE WAS DOING WHAT HE COULD TO MAKE SURE THAT WE HAD


  4   INFORMATION WE NEEDED TO MAKE SURE TO COMMIT OR TO MAKE A


  5   DECISION ON WHETHER TO PROCEED WITH BRATZ OR NOT.


  6   Q   IN FACT, WHAT MR. BRYANT WAS SAYING WAS, HE INSISTED THAT


  7   A CERTAIN TYPE OF HAIR BE USED ON THE BRATZ DOLLS; RIGHT?


  8   A   I'M SORRY. HE INSISTED -- WHEN?


  9   Q   IN THIS TIME FRAME, HE WAS INSISTING THAT YOU USE -- IS IT


 10   HOLLOW SARAN HAIR?


 11   A   IT'S PRONOUNCED HOLLOW SARAN.


 12        AND I DON'T REMEMBER ANY TIME THAT CARTER WAS


 13   INSISTING ON USING THIS MATERIAL. FOR ME, I ASKED FOR HIS


 14   RECOMMENDATION, AND IT WAS MY UNDERSTANDING HE WAS RECOMMENDING


 15   SARAN.


 16   Q   WHEN DID YOU UNDERSTAND THAT MR. BRYANT HAD CONTACTED A


 17   SARAN HAIR VENDOR AND REPRESENTED HE WAS WORKING WITH MGA? YOU


 18   SAID YOU WEREN'T AWARE ON SEPTEMBER 18TH. WHEN DID YOU BECOME


 19   AWARE OF IT?


 20   A   I'M NOT SURE.


 21        I THINK IT'S POSSIBLE THAT LATER -- I REMEMBER HIM


 22   SHOWING US -- AND I BELIEVE THIS WAS POST CONTRACT -- YOU KNOW,


 23   BOOKS OF THEIR HAIR MATERIAL TYPES AND ALL OF THEIR COLOR


 24   SWATCHES. I CAN'T BE SURE.


 25   Q   WHEN YOU SAY "POST CONTRACT," WHAT DATE ARE YOU REFERRING



                                                                        Page 620
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 44 of 99 Page ID
                                 #:112661




  1   TO?


  2   A   WELL, I ONLY KNOW -- AND I DON'T REMEMBER THE EXACT DATE,


  3   BUT THE DATE IN WHICH MGA -- WHEN I WAS GIVEN THE GREEN LIGHT


  4   TO PROCEED, TO START WORKING ON BRATZ.


  5   Q   AND THAT'S BEFORE OCTOBER 19TH, WHEN CARTER BRYANT LEFT


  6   MATTEL.


  7   A   I UNDERSTOOD THEN AND NOW THAT THE CONTRACT WAS SIGNED


  8   SOMETIME IN EARLY OCTOBER.


  9   Q   ON EXHIBIT 18, LOOK AT THE FIRST PART OF THIS AGAIN.


 10         WHEN YOU CONTACTED HONG KONG, WHAT YOU TOLD THEM WAS


 11   THAT YOU WERE "SENDING TODAY A BINDER DESCRIBING THE NEW SMALL


 12   DOLL LINE CALLED BRATZ."


 13         ISN'T THAT WHAT YOU TOLD THEM?


 14   A   THAT'S WHAT IT SAYS IN THE E-MAIL, YEAH.


 15   Q   YOU DIDN'T SAY, 'WE'RE EXPLORING WHETHER WE'RE GOING TO DO


 16   A SMALL DOLL LINE." YOU TOLD THEM, 'I'M SENDING YOU MATERIAL


 17   DESCRIBING THE NEW SMALL DOLL LINE CALLED BRATZ'; RIGHT?


 18   A   YEAH. BUT, I MEAN, ON THIS PARTICULAR SENTENCE OF THIS


 19   PARTICULAR E-MAIL, YOU KNOW, I PROBABLY SHOULD NOT HAVE


 20   INCLUDED THE WORD "THE." I DON'T KNOW. I WASN'T IN ANY WAY IN


 21   THIS E-MAIL SUGGESTING TO HONG KONG THAT IT WAS A FINAL AND


 22   CONFIRMED AND COMMITTED LINE BY MGA. THIS WAS -- AND IF YOU


 23   READ DOWN ON THE BOTTOM, "I'M HOPING THAT THIS INFORMATION" --


 24   Q   LET'S GO BACK AND YOU CAN SHOW US THIS PART HERE.


 25   A   IT'S, LIKE, THE THIRD SENTENCE FROM THE BOTTOM.



                                                                        Page 621
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 45 of 99 Page ID
                                 #:112662




  1        "I'M HOPING THAT THIS INFORMATION WILL HELP YOU HELP


  2   ME GET AN IDEA OF HOW MUCH THESE COMPONENTS WILL COST."


  3        THIS WAS AN E-MAIL THAT I SIMPLY SENT OUT TO


  4   HONG KONG, ASKING THEM, IN PART OF THIS EXPLORATION -- IT WAS


  5   MY INTENTION THAT HONG KONG WOULD RETURN TO ME SOME BALLPARK


  6   COSTS ON A PROJECT LIKE THIS SO THAT I COULD CONFIRM WHETHER OR


  7   NOT IT WAS WITHIN MGA'S BEST INTEREST; THAT IT WOULD, IN FACT,


  8   RETURN MONEY FOR US; THAT WE WOULD BE PROFITABLE WITH A PRODUCT


  9   LIKE THIS.


 10   Q   SO YOU'RE TELLING HONG KONG THAT 'WE'VE GOT THIS NEW DOLL


 11   LINE CALLED BRATZ; WE NEED TO KNOW HOW MUCH IT'S GOING TO COST


 12   TO MAKE IT'?


 13   A   NO, THAT'S NOT MY INTENTION OF THIS E-MAIL.


 14   Q   HOW OFTEN IN YOUR CAREER AT MGA HAVE YOU TALKED TO


 15   DESIGNERS OF COMPETITIVE COMPANIES, OF COMPETITORS, TO HAVE


 16   THEM SUPPORT YOU IN EXPLORING WHETHER MGA WILL PURSUE A LINE OF


 17   DOLLS THAT ARE COMPETITIVE WITH THAT COMPETITOR?


 18   A   I'VE HAD A LOT OF INTERVIEWS WITH POTENTIAL CANDIDATES


 19   THAT MAY DESIGN WITH ME AT MGA. SOME OF THEM ACTUALLY HAVE


 20   JOBS AT COMPETING COMPANIES. AND IT WOULDN'T BE UNLIKELY FOR


 21   THAT PERSON, IN THOSE MEETINGS, TO SUGGEST, 'HEY, LET ME KNOW


 22   WHAT ELSE I CAN DO TO HELP YOU, YOU KNOW, BE CERTAIN OF ME OR


 23   OF MY SKILLS AND MY ABILITY.'


 24        I DON'T KNOW IF THAT ANSWERS YOUR QUESTION.


 25   Q   I'M NOT TALKING ABOUT SOMEONE FROM ANOTHER COMPANY COMING



                                                                        Page 622
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 46 of 99 Page ID
                                 #:112663




  1   IN AND DOING A PITCH AND SAYING, 'HEY, WILL YOU HIRE ME?


  2   HERE'S SOME OF MY WORK,' OR 'I'LL BE GLAD TO PROVE TO YOU THAT


  3   I'M A GOOD DESIGNER.' I'M SAYING, HOW OFTEN HAVE YOU WORKED


  4   WITH A DESIGNER OF A COMPETITIVE COMPANY TO HAVE THAT DESIGNER


  5   HELP YOU, MGA, EXPLORE HOW MUCH IT WILL COST TO BRING OUT A


  6   COMPETITIVE PRODUCT?


  7   A   I HAVEN'T, OTHER THAN THIS SITUATION, HAD OTHER EXCHANGES


  8   WHERE OTHER PEOPLE MIGHT HAVE BROUGHT ME A DOLL THAT I WOULD BE


  9   THIS MUCH INTERESTED IN, OR A CONCEPT AT ALL FOR THAT EXCHANGE.


 10   Q   AND HERE ON SEPTEMBER 27TH, YOU TELL HONG KONG, "I'M GOING


 11   TO SEND YOU A PDF BY THE END OF THIS WEEK."


 12        THOSE OF US FAMILIAR WITH COMPUTERS HAVE A DIFFERENT


 13   IDEA WHAT "PDF" IS. PERHAPS, YOU COULD TELL THE JURY WHAT YOU


 14   MEANT BY "PDF."


 15   A   "PDF" STANDS FOR PRODUCT DEVELOPMENT FORM. IT IS A FORM


 16   THAT MGA -- IT'S AN MGA FORM, AND IT WAS A FORM THAT


 17   ESTABLISHES A PRODUCT OFFICIALLY AT MGA. AND IN THIS


 18   REFERENCE, I SAID, "I'M SENDING YOU A PDF BY NEXT WEEK. PLEASE


 19   CALL ME IF YOU HAVE ANY QUESTIONS."


 20        I DID NOT SEND A PDF THE FOLLOWING WEEK, AFTER


 21   SEPTEMBER 27TH, BECAUSE I WAS WAITING TO GET ISAAC'S BUYOFF.


 22   AND I DIDN'T UNDERSTAND THE CONTRACT TO BE OFFICIAL UNTIL MUCH


 23   LATER, EARLY OCTOBER.


 24        I DID SEND, HOWEVER, MY PDF OCTOBER 16TH.


 25   Q   AND WE'LL GET TO THAT.



                                                                        Page 623
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 47 of 99 Page ID
                                 #:112664




  1        BUT AS OF SEPTEMBER 27TH, THEN, YOUR INTENTION AT


  2   THAT TIME WAS THAT BY THE END OF THAT WEEK, YOU WERE GOING TO


  3   HAVE A PDF, OFFICIAL PRODUCT DEVELOPMENT FORM, TO SEND TO


  4   HONG KONG FOR THIS BRATZ LINE? THAT WAS YOUR INTENTION AT THAT


  5   TIME?


  6   A   I DON'T REMEMBER EXACTLY WHAT WAS HAPPENING WITH THE


  7   CONTRACT AT THIS TIME. IT MAY HAVE BEEN THAT I BELIEVED THAT


  8   THE CONTRACT MAY HAVE BEEN SIGNED AROUND THAT TIME. I'M NOT


  9   SURE.


 10   Q   WELL, LET ME JUST ASK YOU WHETHER THE FOLLOWING STATEMENT


 11   IS TRUE -- AS OF SEPTEMBER 27TH, WAS THE FOLLOWING STATEMENT


 12   TRUE, AS FAR AS YOUR INTENT: "I'M GOING TO SEND YOU A PDF BY


 13   THE END OF NEXT WEEK"?


 14        WAS THAT STATEMENT A TRUE REFLECTION OF YOUR


 15   INTENTION AS OF SEPTEMBER 27TH?


 16   A   IT MAY HAVE BEEN. I DON'T KNOW THE CONTEXT AGAIN IN TERMS


 17   OF WHEN, AND I DON'T REMEMBER THE CONVERSATIONS OR THE CONTEXT


 18   IN WHICH MGA WAS CONFIRMING WHETHER OR NOT THE CONTRACT WOULD


 19   HAVE BEEN OFFICIALLY SIGNED BY THEN OR NOT. SO I CAN'T -- I


 20   WOULDN'T THINK I WAS LYING, BUT I DON'T THINK THAT I WAS TRYING


 21   TO SEND A PDF PREMATURELY OR INAPPROPRIATELY.


 22   Q   I'M NOT SUGGESTING YOU WERE; I'M JUST TRYING TO SEE IF I


 23   CAN GET YOU TO AT LEAST AGREE THAT ON SEPTEMBER 27TH, WHEN YOU


 24   SAID, "I'M GOING TO SEND YOU A PDF BY THE END OF NEXT WEEK,"


 25   THAT THAT WAS, IN FACT, YOUR INTENTION AS OF SEPTEMBER 27TH.



                                                                        Page 624
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 48 of 99 Page ID
                                 #:112665




  1   A   I DON'T REMEMBER WHAT WAS HAPPENING AROUND SEPTEMBER 27TH.


  2   Q   WELL, DOES THIS DOCUMENT, WHICH YOU SENT, REFRESH YOUR


  3   RECOLLECTION, THEN, THAT AS OF SEPTEMBER 27TH, YOU HAD DONE


  4   ENOUGH IN EXPLORING THE BRATZ LINE THAT IT WAS YOUR INTENTION,


  5   WITHIN A WEEK OF THIS, TO SEND A PDF FORM TO HONG KONG, WHICH


  6   WAS AN OFFICIAL FORM SAYING, 'WE'RE STARTING THE LINE'?


  7   A   NO. FOR TWO REASONS. FIRST, I DIDN'T ACTUALLY SEND MY


  8   PDF UNTIL OCTOBER 16TH. AND FINALLY, THIS VERY DOCUMENT -- I


  9   BELIEVE THE SENTENCE JUST ABOVE IT -- PROVES THAT I WAS STILL


 10   UNSURE AND I WAS STILL LOOKING TO HONG KONG TO HELP ME PROVIDE


 11   MORE INFORMATION ON WHETHER OR NOT THIS WAS A VIABLE PRODUCT


 12   FOR MGA TO PURSUE. SO, NO, I DID NOT HAVE ALL OF THE


 13   INFORMATION YET.


 14   Q   THEN LET ME ASK YOU THIS: IF IT WAS NOT YOUR INTENTION TO


 15   DO THAT, THEN WHY WOULD YOU TELL HONG KONG IT WAS? WHY WOULD


 16   YOU TELL THEM, "I'M GOING TO SEND YOU A PDF BY THE END OF NEXT


 17   WEEK" IF YOU HAD NO INTENTION OF DOING THAT?


 18   A   AS I MENTIONED, I DON'T KNOW WHAT WAS HAPPENING THE WEEK


 19   AFTER I SENT HONG KONG THIS E-MAIL. IT'S POSSIBLE BACK THEN


 20   THAT, IN FACT, I BELIEVED THAT THE CONTRACT MAY HAVE COME TO A


 21   CLOSE OR THAT I MIGHT HAVE HAD -- I DIDN'T SEND MY PDF UNTIL


 22   OCTOBER 16TH OF 2000.


 23   Q   AND I KNOW. I'M NOT ASKING WHEN YOU SENT IT. I'M ASKING


 24   YOUR INTENTION ON SEPTEMBER 27TH. BUT IF YOU SAY YOU CAN'T


 25   REMEMBER, THAT'S FINE. I'LL MOVE ON.



                                                                        Page 625
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 49 of 99 Page ID
                                 #:112666




  1          YOU CAN'T REMEMBER?


  2   A   I CAN'T REMEMBER THE CONTEXT AT THIS TIME.


  3   Q   GETTING BACK TO MR. BRYANT AND HIS SUPPORT WITH RESPECT TO


  4   A HAIR VENDOR AND THE TYPE OF HAIR THAT WAS TO BE USED ON


  5   BRATZ, THAT TOPIC, I'D LIKE YOU TO LOOK -- THIS IS IN THE


  6   SECOND VOLUME OF YOUR EXHIBITS -- I'D LIKE YOU TO LOOK AT


  7   EXHIBIT 1765.


  8          YOU SEE THAT'S A NUMBER OF E-MAILS AND EXCHANGES


  9   BETWEEN YOU AND OTHER FOLKS AT MGA WITH THE SUBJECT "RE:


 10   BRATZ"?


 11   A   YES.


 12          MR. PRICE: YOUR HONOR, I MOVE EXHIBIT 1765 INTO


 13   EVIDENCE.


 14          THE COURT: ANY OBJECTION?


 15          MS. AGUIAR: MY ONLY OBJECTION IS THAT IT INCLUDES AN


 16   E-MAIL THAT'S OUTSIDE THE TIME FRAME THAT'S BEEN SET FOR PHASE


 17   ONE.


 18          THE COURT: I'LL TAKE A LOOK.


 19          MR. PRICE: THE RESPONSE, YOUR HONOR, IS THAT -- I'VE


 20   BEEN TOLD IT'S VOLUME I. IT'S EXHIBIT 1765.


 21          THE COURT: HERE IT IS. IT'S VOLUME II.


 22          I UNDERSTAND YOUR OBJECTION, COUNSEL. I'M GOING TO


 23   OVERRULE IT, GIVEN THE CLOSE PROXIMITY TO THE TIME FRAME.


 24          YOU MAY PROCEED, COUNSEL.


 25          THERE'S NO OTHER OBJECTION?



                                                                        Page 626
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 50 of 99 Page ID
                                 #:112667




  1        MS. AGUIAR: NO.


  2        THE COURT: ADMITTED.


  3        YOU MAY PUBLISH.


  4   BY MR. PRICE:


  5   Q   SO IF WE CAN LOOK A FEW PAGES INTO THIS. IN FACT, I THINK


  6   IT'S PAGE 3 OF THE EXHIBIT.


  7        I'M JUST TRYING TO GET YOU A FRAME OF REFERENCE HERE.


  8        DO YOU RECALL THAT SOMETIME AROUND OCTOBER 18TH,


  9   THERE WAS AN E-MAIL EXCHANGE CONCERNING WHAT KIND OF HAIR WAS


 10   GOING TO BE USED ON BRATZ?


 11        I'M LOOKING HERE AT OCTOBER 18TH, 2:45 A.M. IT'S


 12   FROM SAMUEL WONG TO MS. WARD, AND OTHERS, INCLUDING YOURSELF.


 13        "FOR ALL OUR CURRENT DOLLS, WE'RE USING LOCAL


 14   PP HAIR; IT'S LOWER PRICED,' ET CETERA.


 15        DO YOU SEE THAT?


 16   A   YES.


 17   Q   AND THEN YOU SEE RIGHT ABOVE IT, YOU RESPOND. AND YOU'RE


 18   RESPONDING TO MR. WONG.


 19        IS MR. WONG IN HONG KONG, BY THE WAY?


 20   A   YES.


 21   Q   AND YOU'RE RESPONDING, "SAMUEL, CARTER, OUR DESIGNER, ON


 22   BRATZ ALREADY SOUGHT INFORMATION ON THIS HAIR. I HAVE SENT ALL


 23   OF THIS INFORMATION TO YOU BY FAX."


 24        DO YOU SEE THAT?


 25   A   YES.



                                                                        Page 627
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 51 of 99 Page ID
                                 #:112668




  1   Q   AND IS THAT REFERRING TO THE INFORMATION THAT MR. BRYANT,


  2   THE BRATZ DESIGNER, WENT OUT AND GOT IN SEPTEMBER OF 2000?


  3   A   I BELIEVE SO.


  4   Q   AND BY THIS TIME, OCTOBER 19TH, BRATZ WAS AN OFFICIAL MGA


  5   PROJECT; CORRECT?


  6   A   CAN YOU REPEAT THE QUESTION.


  7   Q   BY OCTOBER 19TH, YOU'LL AGREE, BRATZ WAS AN OFFICIAL MGA


  8   PROJECT?


  9   A   BY MY DEFINITION, GIVEN THAT I HAD DISTRIBUTED MY PDF ON


 10   THE 16TH, YES.


 11   Q   AND IT SAYS HERE THAT YOU SENT THE INFORMATION BY FAX.


 12        WAS IT IN SEPTEMBER, THEN, THAT MR. BRYANT GAVE YOU


 13   THIS INFORMATION THAT YOU WERE THEN IN OCTOBER SENDING TO


 14   HONG KONG BY FAX?


 15   A   I DON'T REMEMBER.


 16   Q   IS THAT YOUR BEST RECOLLECTION, WHERE HE PROVIDED THAT


 17   SUPPORT, WHERE HE GAVE YOU THE INFORMATION THAT YOU SENT TO


 18   HONG KONG ABOUT THE HAIR PROVIDER?


 19   A   SITTING HERE TODAY, I ONLY REMEMBER CARTER BRYANT GIVING


 20   ME HIS RECOMMENDATION ON HIS PREFERRED HAIR MATERIAL. I DON'T


 21   REMEMBER HIM GIVING ME ANY OTHER INFORMATION BEYOND THAT IN


 22   SEPTEMBER, IF THAT'S WHAT YOU'RE ASKING.


 23   Q   WHAT WERE YOU FAXING TO MR. WONG ON OCTOBER 19TH?


 24   A   IT'S POSSIBLE THAT AROUND THIS TIME, THEN, CARTER MAY


 25   HAVE, YOU KNOW, PROVIDED ME INFORMATION HE HAD GATHERED; AND AT



                                                                        Page 628
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 52 of 99 Page ID
                                 #:112669




  1   THAT TIME, I LIKELY FAXED IT ON TO SAMUEL.


  2   Q   SITTING HERE TODAY, YOU CAN'T RECALL WHEN HE GAVE YOU THAT


  3   INFORMATION.


  4   A   NO. BUT I DON'T BELIEVE THAT IT HAPPENED UNTIL WE GOT,


  5   YOU KNOW, INTO THINGS LIKE PDF'S AND STARTED GETTING SOME


  6   TRACTION ON THE PROJECT.


  7   Q   HAVE YOU SEEN THAT FAX RECENTLY, THE FAX THAT YOU SENT,


  8   WHICH HAD THE INFORMATION WHICH MR. BRYANT HAD COLLECTED FOR


  9   MGA?


 10   A   NO.


 11   Q   DID YOU AUTHORIZE MR. BRYANT IN SEPTEMBER, BY THE WAY, TO


 12   MAKE REPRESENTATIONS TO VENDORS THAT HE WAS WORKING FOR MGA?


 13   A   NO. NOT NECESSARILY.


 14   Q   YOU'LL AGREE THAT YOU WOULD HAVE THOUGHT, IF YOU HAD KNOWN


 15   THAT, THAT THAT WAS INAPPROPRIATE, FOR HIM TO REPRESENT IN


 16   SEPTEMBER THAT HE WAS WORKING FOR MGA WHEN, IN FACT, HE WAS


 17   WORKING FOR MATTEL?


 18   A   HE WAS WORKING WITH US TO GATHER SOME EXPLORATION MATERIAL


 19   OR SOME -- HELPING US TO GATHER SOME OF OUR INFORMATION TO


 20   DECIDE WHETHER THIS PROJECT WAS VIABLE OR NOT, IF THAT'S WHAT


 21   YOU MEAN. BUT HE WAS NOT WORKING ON THE BRATZ CONCEPT AT THAT


 22   TIME.


 23   Q   MY QUESTION WAS DIFFERENT.


 24           IF YOU HAD KNOWN IN SEPTEMBER THAT MR. CARTER BRYANT


 25   WAS REPRESENTING TO VENDORS THAT HE WAS WORKING FOR MGA, YOU



                                                                        Page 629
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 53 of 99 Page ID
                                 #:112670




  1   WOULD HAVE THOUGHT THAT WAS INAPPROPRIATE, RIGHT, BECAUSE HE


  2   WAS WORKING AT MATTEL AT THE TIME?


  3   A   I THINK I'D HAVE TO LOOK AT THE PARTICULAR LANGUAGE.


  4   Q   IN THAT CASE, IF YOU COULD LOOK AT THE LANGUAGE ON


  5   EXHIBIT 30, WHICH WE LOOKED AT EARLIER.


  6   A   IS THIS IN VOLUME I?


  7   Q   IT'S IN VOLUME I; ONE OF THE FIRST 30.


  8        I'M GOING TO GIVE YOU THE PRECISE LANGUAGE TO SEE IF


  9   YOU WOULD AGREE THAT THIS WOULD BE INAPPROPRIATE.


 10        IF MR. BRYANT HAD TOLD THE VENDOR THAT, QUOTE, 'THE


 11   COMPANY I'M WORKING WITH IS CALLED MGA ENTERTAINMENT, AND WE


 12   ARE LOCATED IN LOS ANGELES, CALIFORNIA' -- IF HE HAD BEEN


 13   MAKING THOSE REPRESENTATIONS IN SEPTEMBER, WHILE HE WAS AN


 14   EMPLOYEE AT MATTEL, YOU WOULD AGREE THAT THAT WOULD BE


 15   INAPPROPRIATE?


 16   A   IN READING THIS CONTEXT, I FIND THIS TO BE NOT


 17   INAPPROPRIATE. AND THE REASON WHY IS --


 18        MR. PRICE: YOUR HONOR, I'D MOVE EXHIBIT 30 INTO


 19   EVIDENCE.


 20        MS. AGUIAR: I'M SORRY. WAS THE WITNESS DONE GIVING


 21   HER ANSWER?


 22        THE COURT: I THOUGHT 30 WAS ALREADY IN.


 23        IS IT NOT?


 24        MR. PRICE: I DON'T BELIEVE IT IS. I JUST WANTED THE


 25   JURY TO SEE IT WHILE SHE WAS GIVING HER ANSWERS.



                                                                        Page 630
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 54 of 99 Page ID
                                 #:112671




  1        THE COURT: COUNSEL, WE SHOULDN'T HAVE GOTTEN INTO IT


  2   IF IT WASN'T IN EVIDENCE ALREADY.


  3        LAY A FOUNDATION FOR EXHIBIT 30, COUNSEL.


  4        MR. PRICE: THE REASON, IF YOU RECALL, SHE ASKED


  5   ABOUT SPECIFIC LANGUAGE, WHETHER SHE WOULD APPROVE OF THAT.


  6   THAT'S WHY I READ THAT.


  7        THE COURT: ASK ANOTHER QUESTION, COUNSEL.


  8   BY MR. PRICE:


  9   Q   SO YOUR TESTIMONY IS THAT YOU BELIEVED THE LANGUAGE IN


 10   EXHIBIT 30 IS APPROPRIATE?


 11   A   YES.


 12        MR. PRICE: AND IN THAT CASE, YOUR HONOR, I JUST


 13   REQUEST TO SHOW THE LANGUAGE TO THE JURY, SO WE CAN THEN ASK


 14   HER WHY SHE THINKS IT'S APPROPRIATE.


 15        SO I'D MOVE EXHIBIT 30 INTO EVIDENCE.


 16        THE COURT: ANY OBJECTION?


 17        MS. AGUIAR: I HAVE NO OBJECTION.


 18        THE COURT: IT'S ADMITTED.


 19        NOW YOU MAY PUBLISH.


 20   BY MR. PRICE:


 21   Q   THE LANGUAGE I READ TO YOU, MS. GARCIA, WAS THIS HERE,


 22   WHERE MR. BRYANT SAYS, "THE COMPANY I'M WORKING WITH IS CALLED


 23   MGA ENTERTAINMENT, AND WE'RE LOCATED IN LOS ANGELES,


 24   CALIFORNIA. YOU CAN E-MAIL ME WITH ANY QUESTIONS AT


 25   SOPHIESAYS@HOTMAIL.COM."



                                                                        Page 631
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 55 of 99 Page ID
                                 #:112672




  1           AND THEN YOU SEE ABOVE HERE, HE'S TALKING ABOUT USING


  2   HOLLOW SARAN HAIR FIBER.


  3           I BELIEVE YOU'RE GOING TO TELL US WHY -- IT'S YOUR


  4   BELIEF THAT THIS WOULD HAVE BEEN ENTIRELY APPROPRIATE FOR


  5   MR. BRYANT TO DO WHILE HE WAS STILL AN EMPLOYEE AT MATTEL?


  6   A   THAT'S RIGHT.


  7           I BELIEVE WHEN CARTER WROTE THIS -- THIS, JUST TO BE


  8   CLEAR, IS THE TIME PERIOD YET AGAIN, PRIOR TO THE CONTRACT


  9   BEING SIGNED AND DURING THE TIME THAT I WAS EXPLORING WHETHER


 10   OR NOT MGA SHOULD PROCEED WITH THE BRATZ CONCEPT. AND HE


 11   SIMPLY SAYS, 'I'M WORKING WITH MGA.'


 12           BUT THAT'S NOT TO SUGGEST NECESSARILY THAT HE IS


 13   EMPLOYED AT MGA. HE'S WORKING WITH ME ON SOME OF THESE


 14   EXPLORATION EXERCISES, TO CONFIRM, YOU KNOW, SOME OF


 15   MY QUESTIONS, SOME OF MY EXPLORATION.


 16           SO, YEAH.


 17   Q      SO IN THAT CONTEXT, YOU BELIEVE THAT GIVEN THE CONTRACT HE


 18   HAD AT MATTEL, AND THE CONTRACT YOU HAD, IT WAS APPROPRIATE,


 19   WHILE HE WAS A MATTEL EMPLOYEE, TO TELL A THIRD PARTY THAT HE


 20   IS WORKING WITH MGA AND WE -- YOU UNDERSTOOD THE "WE" TO REFER


 21   TO MGA; CORRECT?


 22   A   YES. BOTH HE WAS -- AND HE LISTED HIS ADDRESS DOWN HERE.


 23   HE'S LOCATED, HE LIVES IN, AND MGA WAS ALSO ESTABLISHED IN,


 24   L.A.


 25   Q      AND BY "WE," DID YOU THINK THAT REFERRED TO HIM AND MGA AS



                                                                          Page 632
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 56 of 99 Page ID
                                 #:112673




  1   SEPARATE ENTITIES?


  2   A   YES. THAT'S WHY HE LISTED HIS ADDRESS BELOW.


  3   Q   THEN IF WE LOOK AT HIS ADDRESS BELOW, IT SAYS, "MGA


  4   ENTERTAINMENT, ATTENTION: CARTER BRYANT, 1319 WEST 160TH


  5   STREET, GARDENA, CALIFORNIA, 90247, USA" -- BY READING THAT, IS


  6   IT YOUR READING OF THIS THAT HE'S GIVING THE IMPRESSION THAT


  7   THIS ADDRESS IS MGA ENTERTAINMENT'S ADDRESS AND IT'S TO GO TO


  8   HIS ATTENTION?


  9   A   I'M NOT SURE WHAT HIS INTENTION WAS IN WRITING THIS.


 10   Q   FAIR ENOUGH.


 11        THAT'S HOW YOU WOULD INTERPRET THAT, AS AN OBJECTIVE


 12   READER OF THAT, THAT THAT IS SAYING THAT 'YOUR RESPONSE WILL GO


 13   TO MGA ENTERTAINMENT, AND I AM WITH MGA ENTERTAINMENT AT THAT


 14   ADDRESS'?


 15        MS. AGUIAR: OBJECTION, YOUR HONOR. I THINK THE


 16   WITNESS ANSWERED THE QUESTION.


 17        THE COURT: ASK ANOTHER QUESTION, COUNSEL.


 18   BY MR. PRICE:


 19   Q   SO IF WE COULD GO BACK TO YOUR CONTRACT WITH MATTEL THAT


 20   WE TALKED ABOUT YESTERDAY. I BELIEVE THAT'S EXHIBIT 1116,


 21   WHICH IS GOING TO BE IN THAT SECOND VOLUME.


 22        THE COURT: COUNSEL, LET'S TAKE OUR MORNING RECESS


 23   NOW, BEFORE YOU GO INTO ANOTHER AREA.


 24        (WHEREUPON, JURORS DEPART COURTROOM.)


 25        (JURORS ENTER COURTROOM.)



                                                                        Page 633
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 57 of 99 Page ID
                                 #:112674




  1        THE COURT: GO AHEAD, COUNSEL.


  2        MR. PRICE: THANK YOU, YOUR HONOR.


  3   Q   MS. GARCIA RIGHT BEFORE WE BROKE, I MENTIONED


  4   EXHIBIT 1116; WE LOOKED AT IT YESTERDAY; IT'S ON THE SCREEN; GO


  5   TO THE SECOND PAGE OF THAT.


  6        THIS PARAGRAPH THAT WE TALKED ABOUT YESTERDAY, THIS


  7   IS YOUR MATTEL AGREEMENT; CORRECT?


  8   A   YES.


  9   Q   AND WHERE IT SAYS HERE, "I SHALL NOT, WITHOUT THE


 10   COMPANY'S EXPRESSED WRITTEN CONSENT, ENGAGE IN ANY EMPLOYMENT


 11   OR BUSINESS OTHER THAN FOR THE COMPANY OR INVEST IN OR ASSIST


 12   IN ANY MANNER, ANY BUSINESS COMPETITIVE WITH THE BUSINESS OR


 13   FUTURE BUSINESS PLANS OF THE COMPANY."


 14        FIRST OF ALL, YOU WILL AGREE THAT MGA WAS A


 15   COMPETITIVE BUSINESS WITH MATTEL.


 16   A   YES.


 17   Q   WHAT YOU HAVE BEEN TELLING US IS THAT MR. BRYANT WAS


 18   ASSISTING YOU IN EXPLORING MGA PURSUING THE BRATZ DOLL LINE;


 19   CORRECT?


 20   A   HE WAS ASSISTING IN EXPLORING HIS PORTFOLIO DRAWINGS,


 21   WHICH MGA ACTUALLY AND IN MANY WAYS DID NOT USE AT ALL.


 22   Q   THAT ISSUE IS FOR ANOTHER TIME.


 23        BUT YOU'LL AGREE WITH ME THAT HE WAS, IN SEPTEMBER


 24   AND OCTOBER, NO MATTER HOW YOU CHARACTERIZE IT, ASSISTING, IN


 25   SOME MANNER, MGA.



                                                                        Page 634
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 58 of 99 Page ID
                                 #:112675




  1   A   HE WAS NOT ASSISTING ON WORK THAT WE ACTUALLY MANUFACTURED


  2   WITH. HE WAS NOT ASSISTING IN DESIGN.


  3   Q   MY QUESTION IS DIFFERENT; THAT'S WHY I SAID "IN ANY


  4   MANNER."


  5        NO MATTER HOW YOU CHARACTERIZE IT, YOU'LL AGREE THAT


  6   MR. BRYANT, IN SEPTEMBER AND OCTOBER OF 2000, PRIOR TO


  7   OCTOBER 19TH WHEN HE LEFT MATTEL, WAS ASSISTING, IN SOME


  8   MANNER, MGA. YOU'LL AGREE WITH THAT; RIGHT?


  9   A   HE WAS ASSISTING US IN REVIEWING HIS -- IMPROVING HIS


 10   PORTFOLIO DRAWINGS TO CONFIRM WHETHER, IN FACT, WE WOULD PURSUE


 11   THEM IN OUR MANUFACTURED PRODUCT.


 12   Q   YOU JUST SAID HE WAS ASSISTING US. "US" MEANS MGA; RIGHT?


 13   THAT'S WHAT YOU MEANT BY US? MGA?


 14   A   YES.


 15   Q   AND I BELIEVE THEN YOUR TESTIMONY HERE TODAY IS THAT EVEN


 16   IF YOU HAD KNOWN THAT MR. BRYANT WAS AN EMPLOYEE OF MATTEL UP


 17   THROUGH OCTOBER 19TH, THAT IN YOUR VIEW, EVERYTHING HE DID IN


 18   ASSISTING YOU WAS APPROPRIATE.


 19   A   YES.


 20   Q   LET'S TALK ABOUT WHAT ELSE HE DID TO ASSIST YOU.


 21        WE'VE TALKED ABOUT THE HAIR. WE'VE TALKED A LITTLE


 22   ABOUT THE SCULPTING. I WANT TO GO BACK TO THIS EXHIBIT 18;


 23   THIS IS YOUR SEPTEMBER 27TH E-MAIL.


 24        YOU SEE THAT ON SEPTEMBER 27TH, YOU ALSO SENT TO HONG


 25   KONG PHYSICAL SAMPLES OF A BODY, AN OUTFIT, PIECES AND A PURSE



                                                                        Page 635
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 59 of 99 Page ID
                                 #:112676




  1   AND SHOES; CORRECT?


  2   A   CORRECT.


  3   Q   SO FOR THE BODY, YOU ACTUALLY SENT TO HONG KONG -- SO THEY


  4   COULD DETERMINE THE COST OF THIS PROJECT, YOU SENT THEM A DOLL


  5   THAT YOU COULD BUY IN A STORE.


  6   A   YES.


  7   Q   AND YOU HAD MR. BRYANT GO OUT AND BUY THAT DOLL TO SEND TO


  8   THEM.


  9   A   I DON'T REMEMBER THAT TO BE TRUE. I'M NOT SURE.


 10   Q   CERTAINLY, IF MR. BRYANT WERE TO SAY HE'S THE ONE THAT


 11   BOUGHT THAT DOLL, YOU COULD NOT DENY IT; CORRECT?


 12   A   NO.


 13   Q   WITH RESPECT TO THE DRAWINGS THAT WERE SENT, I'D LIKE YOU


 14   TO LOOK AT ONE DRAWING THAT WAS SENT, EXHIBIT 302. THIS IS THE


 15   PACKET THAT MR. BRYANT GAVE YOU ON SEPTEMBER 1ST, EXCEPT FOR


 16   THE FIRST PAGE. IF YOU WOULD LOOK IN THERE. IT HAS THESE


 17   LITTLE NUMBERS AT THE BOTTOM, THESE BATES NUMBERS, LIKE MGA


 18   006453. IF YOU WOULD LOOK IN EXHIBIT 302, BATES NUMBER 006456.


 19   IT'S 006456. AND THIS IS ALREADY IN EVIDENCE, SO IT'S PAGE 4


 20   OF THE DOCUMENT.


 21        YOUR BEST RECOLLECTION IS YOU BELIEVE YOU SENT THIS


 22   TO HONG KONG.


 23   A   MAY I REFER BACK TO THE SEPTEMBER 27TH E-MAIL AGAIN,


 24   PLEASE.


 25   Q   IT DOESN'T GIVE THE EXACT -- WHAT YOU SENT. I'M ASKING



                                                                        Page 636
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 60 of 99 Page ID
                                 #:112677




  1   FOR YOUR RECOLLECTION. IF YOU WOULD LIKE, I CAN REFER YOU TO


  2   YOUR DEPOSITION TESTIMONY. WOULD THAT HELP?


  3   A   IT'S POSSIBLE THAT I SENT THIS DRAWING. I'M NOT SURE.


  4   Q   IF YOU LOOK AT VOLUME III OF YOUR DEPOSITION; THIS IS


  5   DATED OCTOBER 9, 2007.


  6   A   WHERE SHOULD I BE REFERRING?


  7   Q   I'LL ASK YOU THIS.


  8        IS IT POSSIBLE THAT THIS PARTICULAR DRAWING 006456 IS


  9   SOMETHING THAT YOU SENT TO HONG KONG?


 10   A   IT'S POSSIBLE. IT MAY NOT HAVE BEEN. I'M NOT SURE.


 11   Q   WHY DO YOU THINK THAT'S A POSSIBILITY THAT THAT'S THE KIND


 12   OF THING YOU WOULD HAVE SENT TO HONG KONG ON SEPTEMBER 27TH?


 13   A   CAN YOU PLEASE REPEAT.


 14   Q   WHY DO YOU THINK THAT'S A POSSIBILITY THAT YOU WOULD HAVE


 15   SENT THIS PAGE TO HONG KONG ON SEPTEMBER 27TH?


 16   A   IT WAS PART OF CARTER'S PORTFOLIO DRAWINGS THAT I REMEMBER


 17   REVIEWING ON SEPTEMBER 1ST. AND GIVEN THAT I HAD PRETTY MUCH


 18   ONLY, YOU KNOW, ACCESSIBILITY OF THOSE DRAWINGS, IT MAY HAVE


 19   BEEN THIS DRAWING MIGHT HAVE BEEN ONE OF THE DRAWINGS -- OR THE


 20   DRAWING THAT I SENT TO HONG KONG.


 21   Q   IS ONE OF THE REASONS YOU WOULD HAVE SENT THIS IS BECAUSE


 22   IT SHOWED THE REMOVABLE FEET AND THE REMOVABLE HAIR, TO SHOW


 23   THE FUNCTIONALITY OF THE DOLL?


 24   A   POSSIBLE.


 25   Q   LET ME FOCUS THEN, IF I CAN, ON YOUR AND MR. BRYANT'S



                                                                        Page 637
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 61 of 99 Page ID
                                 #:112678




  1   ACTIVITIES WITH RESPECT TO SCULPTING OR USING A SCULPTOR IN


  2   SEPTEMBER AND OCTOBER OF 2000, PRIOR TO OCTOBER 19TH.


  3        IT'S CORRECT, IS IT NOT, THAT IT WAS ACTUALLY


  4   MR. BRYANT WHO FIRST CONTACTED THE SCULPTOR, MS. LEAHY?


  5   A   IT'S POSSIBLE. I DON'T REMEMBER.


  6   Q   YOU WOULD HAVE NO REASON TO DISPUTE HER TESTIMONY IF


  7   MS. LEAHY SAID IT WAS MR. BRYANT WHO FIRST CONTACTED HER.


  8   YOU'D HAVE NO REASON TO DISPUTE THAT.


  9   A   NO.


 10   Q   AND IN FACT, MS. LEAHY AND MS. BRYANT MET WITHOUT YOU


 11   PRESENT INITIALLY SO HE COULD GIVE HER THE MATERIALS SO SHE


 12   COULD BEGIN THE SCULPT.


 13   A   I REMEMBER, IN FACT, THAT I WAS PRESENT AT THE MEETING.


 14   IT'S POSSIBLE THAT I MAY NOT HAVE BEEN. HOWEVER, I REMEMBER


 15   BEING AT THE SCULPTING MEETING.


 16   Q   I'M GOING TO GET TO MEETINGS THAT YOU WERE AT TOO. BUT


 17   YOU WOULD AGREE WITH ME THAT IF MR. BRYANT AND MS. LEAHY


 18   TESTIFIED THAT IN SEPTEMBER, THEY MET AND HE GAVE HER THESE


 19   MATERIALS FOR HER TO BEGIN HER SCULPTING WITHOUT YOU, WOULD YOU


 20   AGREE THAT YOU COULDN'T DISPUTE THAT?


 21   A   IT'S POSSIBLE. I DON'T REMEMBER.


 22   Q   WITH RESPECT TO THE TYPES OF MATERIALS THAT WERE GIVEN TO


 23   MS. LEAHY, I WANT TO SHOW YOU SOME EXHIBITS AND SEE IF YOU'LL


 24   AGREE THAT THOSE WERE GIVEN TO YOU.


 25        IF YOU WOULD LOOK AT EXHIBIT 1130.



                                                                        Page 638
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 62 of 99 Page ID
                                 #:112679




  1   A   IS THIS IN VOLUME II?


  2   Q   YES. ANYTHING OVER 1,000 WILL BE IN VOLUME II, BUT I'LL


  3   TRY TO TELL YOU; AND, NO, THERE ARE NOT A THOUSAND DOCUMENTS IN


  4   THERE.


  5        DO YOU KNOW WHETHER OR NOT THOSE WERE GIVEN TO


  6   MS. LEAHY, THE SCULPTOR?


  7   A   I'M NOT SURE WHAT WAS GIVEN TO MS. LEAHY.


  8   Q   SO YOU'RE NOT SURE WHETHER THIS WAS OR NOT; IS THAT


  9   CORRECT?


 10   A   I DON'T REMEMBER WHAT MARGARET LEAHY WAS GIVEN.


 11   Q   IF YOU WOULD LOOK AT EXHIBIT 1127; IT SHOULD BE RIGHT


 12   BEFORE THAT. DO YOU KNOW WHETHER THAT WAS GIVEN TO MS. LEAHY?


 13   A   I DON'T KNOW FOR SURE. BUT I WOULD THINK THAT -- I


 14   WOULDN'T BE SURPRISED IF THIS WAS GIVEN TO MARGARET LEAHY.


 15   Q   HOW ABOUT IF YOU WOULD LOOK AT -- I APOLOGIZE, BECAUSE


 16   IT'S IN THE FIRST VOLUME -- EXHIBIT 323. IF YOU WOULD LOOK


 17   AT THAT. 323 IS A BIG DOCUMENT AND THERE ARE THESE BATES


 18   NUMBERS AT THE BOTTOM; IT SAYS SL0044.


 19        THAT'S AT PAGE 37 OF THAT EXHIBIT.


 20   A   SL0044.


 21   Q   SL0044, WHICH IS, I THINK, PAGE 32 OF THE EXHIBIT.


 22        DO YOU BELIEVE THAT WAS GIVEN TO MS. LEAHY, THE


 23   SCULPTOR?


 24   A   NO.


 25   Q   IT IS YOUR BELIEF, THOUGH, THAT THIS DOCUMENT WAS CREATED



                                                                        Page 639
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 63 of 99 Page ID
                                 #:112680




  1   AFTER OCTOBER 19TH; CORRECT?


  2   A   COULD YOU REPHRASE THAT.


  3   Q   IT'S YOUR BELIEF THIS DOCUMENT, WHICH IS SL0044 OF


  4   EXHIBIT 323, WAS CREATED PRIOR TO OCTOBER 19TH, WHEN MR. BRYANT


  5   LEFT MATTEL.


  6   A   I DON'T REMEMBER WHEN THIS DOCUMENT WAS CREATED. IT'S


  7   POSSIBLE THAT IT WAS CREATED AFTER THE 19TH. AND THE REASON I


  8   KNOW THAT IS BECAUSE THIS DRAWING WAS A SKETCH THAT WAS CREATED


  9   BY CARTER IN RESPONSE TO WHAT HE SAW AS WHAT I TERMED THE FIRST


 10   GENERATION SCULPT THAT MARGARET LEAHY CREATED; SO, IN FACT,


 11   THIS IS A COPY -- I SHOULD BE CAREFUL TO SAY COPY -- BUT IT WAS


 12   HIS VISUAL INTERPRETATION OF WHAT HE SAW AS THE FIRST


 13   GENERATION SCULPT FROM MARGARET LEAHY.


 14        THAT EXPLORATION DIDN'T HAPPEN UNTIL AT LEAST AFTER


 15   APPROXIMATELY OCTOBER 15TH, MID OF OCTOBER.


 16   Q   I'M GOING TO DIRECT YOUR ATTENTION TO YOUR DEPOSITION TO


 17   SEE IF THIS REFRESHES YOUR MEMORY. IT'S VOLUME II; IT'S


 18   MAY 25, 2007. IF YOU LOOK AT EXHIBIT 591, IF YOU WOULD LOOK AT


 19   LINES 12 THROUGH 592, LINE SEVEN, ANY PORTION OF THAT.


 20        DOES THAT REFRESH YOUR MEMORY THAT THIS DRAWING WAS


 21   CREATED SOME TIME BETWEEN OCTOBER 4TH AND OCTOBER 19TH, BEFORE


 22   CARTER BRYANT LEFT MATTEL?


 23   A   CAN YOU PLEASE REPEAT THE QUESTION.


 24   Q   DOES THIS REFRESH YOUR MEMORY THAT THIS DRAWING, THIS


 25   SL-44, WAS CREATED BETWEEN OCTOBER 4TH AND OCTOBER 19TH, BEFORE



                                                                        Page 640
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 64 of 99 Page ID
                                 #:112681




  1   THE TIME THAT CARTER BRYANT LEFT MATTEL?


  2        DOES THIS REFRESH YOUR MEMORY?


  3   A   NO. IN FACT, IF I MIGHT, I THINK, IF I'M READING THIS


  4   CORRECTLY, I ACTUALLY AGREE THAT IT WAS CREATED AFTER


  5   OCTOBER 19TH IN MY DEPOSITION.


  6   Q   IN THAT CASE, WE'LL PLAY IT.


  7        MR. PRICE: YOUR HONOR, I'LL REQUEST TO PLAY FROM


  8   PAGE 591, LINE 12, TO 592, LINE SEVEN; IT'S VOLUME II, THE


  9   MAY 25, 2007 DEPOSITION.


 10        THE COURT: ANY OBJECTION?


 11        MS. AGUIAR: NO OBJECTION.


 12        THE COURT: THE OBJECTION SET FORTH IN THE TRANSCRIPT


 13   IS OVERRULED AS WELL. YOU MAY PROCEED.


 14        MR. PRICE: THANK YOU, YOUR HONOR.


 15        (VIDEO DEPOSITION PLAYS. )


 16        MR. PRICE: YOUR HONOR, I'D MOVE INTO EVIDENCE NOW AT


 17   THIS POINT JUST EXHIBIT 323, PAGE 32, WHICH IS THAT SL-44.


 18        THE COURT: ANY OBJECTION?


 19        MS. AGUIAR: THAT'S FINE. NO OBJECTION.


 20        THE COURT: ADMITTED. YOU MAY PUBLISH.


 21        MR. PRICE: SO THAT THE JURY KNOWS WHAT WE'VE BEEN


 22   TALKING ABOUT, THIS IS THE DRAWING THAT WE'VE BEEN REFERRING TO


 23   AS SL-44 ABOUT WHICH WE JUST PLAYED YOUR DEPOSITION TESTIMONY;


 24   IS THAT CORRECT?


 25   A   RIGHT.



                                                                        Page 641
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 65 of 99 Page ID
                                 #:112682




  1   Q   AND THIS DRAWING, THE PHYSICAL ACT WAS DONE BY


  2   CARTER BRYANT.


  3   A   THAT'S RIGHT. HE CREATED THIS DRAWING IN RESPONSE TO A


  4   SCULPT HE SAW FROM MARGARET LEAHY, OUR FIRST GENERATION SCULPT.


  5   Q   LET ME ASK YOU THEN ABOUT YOUR KNOWLEDGE ABOUT MS. LEAHY


  6   AND MR. BRYANT.


  7        IT'S TRUE, IS IT NOT, THAT MS. LEAHY CREATED HER


  8   FIRST SCULPT AND MET WITH MR. BRYANT AND NOT YOU AND THAT THEN


  9   HE DISCUSSED WITH HER HOW TO REVISE IT?


 10   A   AGAIN, I ACTUALLY BELIEVE THAT I WAS PRESENT AT THE


 11   MEETING, AT ALL THE MEETINGS THAT CARTER AND MARGARET WERE


 12   PRESENT AT. THAT'S MY MEMORY.


 13        IT'S POSSIBLE THAT I MAY NOT HAVE BEEN.


 14        EITHER WAY, MARGARET WAS SCULPTING FOR ME PER MY


 15   REQUEST OF WHICH I PAID HER FOR THE WORK DONE PER MY REQUEST.


 16   Q   WHEN YOU SAY 'PER YOUR REQUEST,' YOU CAN'T DENY THAT IT


 17   MAY HAVE BEEN CARTER BRYANT WHO ACTUALLY REQUESTED HER TO DO


 18   THE SCULPTS.


 19   A   THE WAY I REMEMBER IT, IN FACT, IS THAT I WANTED TO SCULPT


 20   THAT FIRST GENERATION SCULPT BECAUSE, IN FACT, AS I MENTIONED


 21   EARLIER, I WAS CONCERNED ABOUT THE WAY THAT CARTER'S DRAWINGS


 22   AND HIS PORTFOLIO TRANSLATED ONCE IT BECAME A 3-D OBJECT. SO


 23   THE SCULPTING ACTIVITY TOOK PLACE BY MARGARET LEAHY IN EARLY


 24   SEPTEMBER WAS PER MY REQUEST BECAUSE OF MY CONCERN ABOUT


 25   CARTER'S DRAWINGS WOULDN'T TRANSLATE TO 3-D.



                                                                        Page 642
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 66 of 99 Page ID
                                 #:112683




  1   Q   PERHAPS I DIDN'T UNDERSTAND EARLIER.


  2        IS IT CORRECT THAT IF MR. BRYANT AND MS. LEAHY SAY


  3   THAT HE'S THE ONE WHO CONTACTED HER, AND HE'S THE ONE WHO


  4   LOOKED AT THE FIRST SCULPT AND HE'S THE ONE WHO GAVE COMMENTS


  5   IN THAT FIRST SCULPT WITHOUT YOU, WOULD YOU DENY THAT, OR YOU


  6   JUST DON'T RECALL ONE WAY OR THE OTHER?


  7   A   I DON'T REMEMBER ONE WAY OR ANOTHER.


  8        HOWEVER, I WILL REMIND YOU AGAIN, AS I MENTIONED, AT


  9   THIS TIME I DON'T OWN THESE DRAWINGS. THESE DRAWINGS BELONG TO


 10   CARTER BRYANT, AS I UNDERSTOOD IT. I WAS INTERESTED IN


 11   PURSUING A SCULPT AGAINST HIS DRAWINGS. SO I JUST WANT TO BE


 12   CLEAR THAT IT IS FOR THAT REASON THAT HE WOULD BE PRESENT AT A


 13   SCULPTING MEETING PRIOR TO THE CONTRACTS BEING SIGNED.


 14   Q   YOUR TELLING US IT'S A POSSIBILITY THAT YOU PAID MS. LEAHY


 15   FOR SCULPTS SHE DID THAT WERE REQUESTED NOT BY YOU, BUT BY


 16   CARTER BRYANT.


 17   A   THAT SCULPT WAS REQUESTED BY ME. I ASKED FOR THAT SCULPT


 18   TO BE CREATED.


 19   Q   NOW I HAVE TO ASK YOU WHICH SCULPT, SO LET ME BE CLEAR.


 20        THERE WAS MORE THAN ONE SCULPT; RIGHT?


 21   A   DEFINITELY.


 22   Q   AND I THINK YOU'VE TOLD US THAT YOU CAN'T DENY THE


 23   POSSIBILITY THAT MS. LEAHY CREATED THE SCULPT IN


 24   SEPTEMBER/OCTOBER OF 2000, NOT AT YOUR REQUEST BUT AT


 25   MR. BRYANT'S REQUEST. YOU CAN'T DENY THAT, CAN YOU?



                                                                        Page 643
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 67 of 99 Page ID
                                 #:112684




  1   A   I DON'T UNDERSTAND YOUR QUESTION.


  2   Q   YOU CANNOT SIT HERE AND DENY THAT MS. LEAHY CREATED A


  3   SCULPT IN LATE SEPTEMBER, EARLY OCTOBER OF 2000, AT


  4   MR. BRYANT'S REQUEST, NOT AT YOUR REQUEST.


  5   A   I KNOW THAT A SCULPT WAS PREPARED BY MARGARET LEAHY IN


  6   EARLY SEPTEMBER, WHICH WE HAVE REFERRED TO AS THE EXPLORATORY


  7   SCULPT. IT WAS PER MY REQUEST BECAUSE I WAS UNCERTAIN OF HOW


  8   CARTER BRYANT'S PORTFOLIO 2-D DRAWINGS WOULD TRANSLATE INTO


  9   3-D.


 10   Q   YOU REFERRED TO IT AS THE EXPLORATORY SCULPT. DO YOU KNOW


 11   WHAT DOCUMENT THAT IS? ARE YOU AWARE OF A DOCUMENT THAT REFERS


 12   TO THIS AS EXPLORATORY?


 13   A   NO. NOT IN PARTICULAR.


 14   Q   ISN'T IT TRUE, MA'AM, THAT THE FIRST TIME THAT YOU MET


 15   WITH MS. LEAHY TO DISCUSS A SCULPT WAS AFTER SHE HAD ALREADY


 16   DONE A SCULPT AND MADE CHANGES AT MR. CARTER BRYANT'S


 17   DIRECTION?


 18   A   AS I MENTIONED EARLIER, I REMEMBER BEING AT ALL MEETINGS


 19   THAT MARGARET PARTICIPATED WITH CARTER. IT'S POSSIBLE THAT


 20   OTHERS TOOK PLACE. I DON'T REMEMBER THEM. I BELIEVE I WAS AT


 21   ALL OF THEM.


 22   Q   THE ONE YOU REMEMBER BEING AT, YOU DO RECALL MR. BRYANT


 23   GIVING HIS OPINIONS ABOUT THE SCULPT; CORRECT?


 24   A   SURE.


 25   Q   AND IT WAS YOUR INTENTION, THROUGH ALL OF THIS, TO REMAIN



                                                                        Page 644
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 68 of 99 Page ID
                                 #:112685




  1   TRUE TO CARTER BRYANT'S VISION, HIS IDEA, ABOUT BRATZ; THAT WAS


  2   YOUR INTENTION AS YOU WERE MEETING WITH THE SCULPTOR; CORRECT?


  3   A   I'M NOT SURE I UNDERSTAND YOUR QUESTION.


  4        I CAN TELL YOU MY INTENTION WAS TO CREATE A SCULPT IN


  5   -- I ASKED MARGARET TO CREATE A SCULPT TO MATCH WHAT SHE


  6   UNDERSTOOD TO BE THE DRAWINGS IN CARTER'S PORTFOLIO. I WANTED


  7   TO SEE WHAT THAT DOLL WOULD LOOK LIKE WHEN IT WAS IN 3-D TO


  8   MAKE SURE THAT THE SEXY, THE CURVATION, THE VAVAVOOM WAS


  9   INAPPROPRIATE OR NOT TO BE TRANSLATED INTO A 3-D FORM AS A


 10   DOLL.


 11   Q   WHAT YOU TOLD HER WAS SHE WAS TO STAY TRUE TO MR. BRYANT'S


 12   CONCEPTION, THE ONE HE GAVE YOU IN EARLY SEPTEMBER, IN GOING


 13   FROM THAT 2-D DRAWING TO A 3-D DRAWING; IS THAT CORRECT?


 14   A   THE WHOLE PROCESS OF THIS SCULPT WAS FLUID. ONCE SHE PUT


 15   IT INTO A 3-D FORM, THERE WAS DEFINITELY SOME REVISIONS MADE BY


 16   BOTH CARTER AND I. CARTER WAS MAKING REVISIONS TO TRY AND GET


 17   IT CLOSER TO HIS DRAWINGS. I MYSELF SAW IT THE FIRST TIME, SAW


 18   THAT IT WAS VERY, VERY, IF I MIGHT USE THE WORD SEXY, AND I WAS


 19   ACTUALLY TRYING TO CARVE MATERIAL AWAY OFF THE THIGHS AND HIPS


 20   TO SEE WHAT THAT WOULD LOOK LIKE, TRYING TO MAKE IT A LITTLE


 21   MORE MODEST; SO THERE WAS CHANGES AND EXCHANGES BEING MADE BY


 22   BOTH OF US IN REVIEWING THIS SCULPT.


 23   Q   CERTAINLY, YOU'LL AGREE THAT IT WAS BY BOTH OF YOU. SO


 24   LET'S GO TO THE ONE SIDE. MR. CARTER BRYANT WAS MAKING CHANGES


 25   TO THE SCULPT THAT YOU SAW; CORRECT?



                                                                        Page 645
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 69 of 99 Page ID
                                 #:112686




  1   A   HE WAS GIVING RECOMMENDATION, YES, SO IT WOULD REPRESENT


  2   CLOSEST TO HIS PORTFOLIO DRAWINGS.


  3   Q   AND THIS WAS AT A TIME IN OCTOBER, IN FACT, AFTER HE HAD


  4   SIGNED A CONTRACT WITH MGA BUT WHILE STILL EMPLOYED WITH


  5   MATTEL.


  6   A   UH-HUH. YES.


  7            AND I WILL ALSO SAY THAT THIS SCULPT WAS TOTALLY --


  8   THIS SCULPT THAT WE EXPLORED WITH DID NOT GO TO PRODUCTION, BY


  9   THE WAY. IT'S NOT A BODY THAT REPRESENTS BRATZ AND WHAT'S IN


 10   THE MARKET TODAY. BUT, YES.


 11            MR. PRICE: YOUR HONOR, MOVE TO STRIKE THE TESTIMONY


 12   AFTER THE YES, THIS TOOK PLACE BETWEEN A CERTAIN TIME PERIOD AS


 13   BEING IRRELEVANT.


 14            THE COURT: IT'S NONRESPONSIVE. IT'S STRICKEN.


 15            THE JURY IS TO DISREGARD EVERYTHING AFTER THE ANSWER


 16   'YES.'


 17   BY MR. PRICE:


 18   Q   NOW, AFTER YOU HAD A MEETING WITH MR. BRYANT AND WITH


 19   MS. LEAHY, THERE WAS A CLAY SCULPT DONE AND GIVEN TO A COMPANY


 20   CALLED GENTLE GIANT.


 21   A   YES.


 22   Q   AND FROM THAT, MOLDS WERE DONE; CORRECT?


 23   A   YES.


 24   Q   IN FACT, IF YOU WOULD LOOK AT -- AND THEN THERE WERE WHAT


 25   ARE CALLED CASTINGS MADE FROM THESE MOLDS.



                                                                        Page 646
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 70 of 99 Page ID
                                 #:112687




  1   A   YES.


  2   Q   AND THE MOLD WAS DONE PRIOR TO OCTOBER 19TH.


  3   A   I CAN'T REMEMBER.


  4   Q   LET'S LOOK AT EXHIBIT 1136, WHICH WOULD BE IN YOUR SECOND


  5   VOLUME. DO YOU RECOGNIZE EXHIBIT 1136?


  6        WHAT IS EXHIBIT 1136?


  7   A   I BELIEVE THIS IS A CAST OF THE EXPLORATORY SCULPT.


  8   Q   AND CAN YOU TELL US WHEN THIS WAS DONE?


  9   A   I DON'T KNOW THE EXACT DATE.


 10   Q   IT WAS BEFORE MR. BRYANT LEFT MATTEL, WASN'T IT?


 11   A   VERY CLOSE; AROUND MID OCTOBER, AROUND THAT TIME.


 12        MR. PRICE: BY THE WAY, YOUR HONOR I'D MOVE


 13   EXHIBIT 1136, THIS PHOTOGRAPH, INTO EVIDENCE.


 14        MS. AGUIAR: NO OBJECTION.


 15        MR. PRICE: MAY WE DISPLAY IT?


 16        THE COURT: IT'S ADMITTED. YOU MAY PUBLISH.


 17   BY MR. PRICE:


 18   Q   IF WE COULD LOOK AT EXHIBIT 1135.


 19        PERHAPS YOU CAN TELL US WHAT EXHIBIT 1135 IS.


 20   A   I BELIEVE IT IS ALSO A PHOTO OF AN EXPLORATORY CAST.


 21        MR. PRICE: I'D MOVE EXHIBIT 1135 INTO EVIDENCE.


 22        THE COURT: ANY OBJECTION?


 23        MS. AGUIAR: NO OBJECTION.


 24        THE COURT: YOU MAY PUBLISH.


 25   BY MR. PRICE:



                                                                        Page 647
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 71 of 99 Page ID
                                 #:112688




  1   Q   THERE ARE SEVERAL PAGES HERE.


  2   A   YES.


  3   Q   IT SHOWS THE BODY, AND THE THIRD PAGE SHOWS THE ARM BY


  4   ITSELF.


  5   A   YES.


  6   Q   AND TO TRY AND GET YOU INTO THE TIME FRAME, THEN, IF YOU


  7   WOULD LOOK AT EXHIBIT 1105, DO YOU SEE, THAT'S AN E-MAIL STRING


  8   THAT STARTS AT THE BOTTOM WITH AN E-MAIL TO YOU FROM


  9   CECILIA KWOK.


 10   A   YES.


 11   Q   AND THAT'S AN E-MAIL THAT YOU RECEIVED ON OR ABOUT


 12   OCTOBER 15TH; CORRECT?


 13   A   YES.


 14        MR. PRICE: YOUR HONOR, MOVE EXHIBIT 1105 INTO


 15   EVIDENCE.


 16        MS. AGUIAR: NO OBJECTION.


 17        THE COURT: 1105 IS IN EVIDENCE. YOU MAY PUBLISH.


 18   BY MR. PRICE:


 19   Q   IT STARTS AT THE BOTTOM HERE. PERHAPS YOU CAN TELL US WHO


 20   CECELIA KWOK IS?


 21   A   SHE'S MY COUNTERPART IN HONG KONG, MGA HONG KONG.


 22   Q   AND SHE IS SENDING YOU THIS E-MAIL CONCERNING HAVING


 23   RECEIVED THE ROUGH CLAY BODY FOR THE CAPTIONED ITEM.


 24        DO YOU SEE THAT?


 25   A   YES.



                                                                        Page 648
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 72 of 99 Page ID
                                 #:112689




  1   Q   AND THE ITEM THERE IS BRATZ?


  2   A   YES.


  3   Q   AT LEAST AS OF OCTOBER 15TH, YOU HAD A ROUGH CLAY BODY


  4   THAT YOU HAD SENT TO HONG KONG FOR THEIR USE; CORRECT?


  5   A   NO, THAT'S NOT CORRECT. CECELIA WAS INCORRECT BY MAKING A


  6   REFERENCE TO A ROUGH CLAY BODY FOR BRATZ. AND I'LL LEAVE IT AT


  7   THAT.


  8   Q   WHAT IS A ROUGH CLAY BODY? PERHAPS YOU CAN TELL US WHAT


  9   THAT PHRASE WOULD NORMALLY REFER TO TO SOMEONE IN THE TOY


 10   INDUSTRY.


 11   A   FIRST OF ALL, ROUGH CLAY IS A FORM OF SCULPT. SCULPTORS


 12   START -- THEY MAY WORK IN EITHER TWO MATERIAL TYPES; CLAY OR


 13   WAX. CLAY IS GENERALLY, AS I UNDERSTAND IT, LIKE A VERY


 14   PRELIMINARY MATERIAL THAT THEY START WITH.


 15        I KNOW THAT THIS INFORMATION IS INCORRECT BECAUSE WE


 16   NEVER, EVER, EVER AND SO MUCH IN MY EXPERIENCE HAVE EVER


 17   SHIPPED A CLAY TO HONG KONG. BECAUSE CLAY, AS MOST WOULD KNOW,


 18   IS A SOFT MATERIAL. BY THE TIME IT TRANSPORTS TO HONG KONG, IT


 19   GETS BEAT IN THE PACKAGE OR IT GETS HOT IN THE PARCELS, AND


 20   THEY WILL ACTUALLY MELT.


 21        SO THIS REFERENCE OF ROUGH CLAY IS ONE EXAMPLE OF WHY


 22   SHE WAS INCORRECT.


 23   Q   AND SCULPTORS WILL START WITH A ROUGH CLAY SOMETIMES;


 24   CORRECT?


 25   A   SURE.



                                                                        Page 649
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 73 of 99 Page ID
                                 #:112690




  1   Q   AND THEN YOU TAKE THAT AND TURN IT INTO A MORE DURABLE


  2   MATERIAL; CORRECT?


  3   A   YEAH. I GUESS YOU COULD SAY THAT.


  4   Q   HOW DO YOU DO THAT?


  5   A   IN THE PROCESS, IT WOULD BE THAT YOU CREATE A CLAY AND


  6   THEN THE PROCESS WOULD BE THAT YOU WOULD ACTUALLY MOLD THE


  7   CLAY, AND THEN FROM THE MOLD YOU COULD ACTUALLY POUR CASTS.


  8   BUT YOU CAN ALSO POUR WAX SO YOU CAN THEN START TO WORK IN A


  9   WAX MATERIAL WHICH IS A STRONGER, DURABLE MATERIAL, STIFFER


 10   MATERIAL, THAT ALLOWS YOU TO REFINE THE SCULPT EVEN MORE


 11   FURTHER.


 12   Q   SO FOR THERE TO BE A MORE DURABLE MATERIAL, YOU NEED TO GO


 13   FROM THE CLAY TO A MOLD, AND THEN YOU USE THE MOLD TO CREATE


 14   SOMETHING THAT MIGHT STAND UP TO INTERNATIONAL SHIPPING.


 15   A   RIGHT.


 16   Q   IF YOU LOOK AT THE SECOND PAGE OF EXHIBIT 1105, THIS IS A


 17   PHOTOCOPY; IT LOOKS LIKE IT'S OVER ELEVEN INCHES.


 18        IS THIS WHAT WAS SENT TO HONG KONG PRIOR TO


 19   OCTOBER 15TH?


 20   A   THIS WAS SENT TO HONG KONG, YES.


 21   Q   WHAT WOULD YOU CHARACTERIZE THIS AS BEING? IT'S NOT A


 22   ROUGH CLAY SCULPT, BUT WHAT WOULD YOU CHARACTERIZE THIS AS


 23   BEING?


 24   A   I RECOGNIZE THIS TO BE A CAST OF THAT EXPLORATORY SCULPT.


 25   AND I'D LIKE TO EXPLAIN THAT I SENT THAT SCULPT TO HONG KONG TO



                                                                        Page 650
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 74 of 99 Page ID
                                 #:112691




  1   GIVE THEM A GENERAL IDEA OF WHAT BRATZ IS. I MEAN, THEY ARE


  2   ALL OVER ON THE OTHER SIDE OF THE WORLD, AND I GAVE THIS TO


  3   THEM JUST TO GIVE THEM A GENERAL IDEA. THIS WAS NOT IN ANY WAY


  4   THE FINAL WAX OR THE FINAL SCULPT, BUT IT GAVE THEM JUST A


  5   GENERAL IDEA OF PROPORTION AND WHATNOT.


  6        CECILIA, I BELIEVE, SUGGESTED THAT IT WAS BRATZ AND


  7   THAT IT WAS ACTUALLY A ROUGH WAX. FIRST, IT IS NOT WAX BUT IT


  8   ALSO DOES NOT REPRESENT WHAT I INTENDED TO ACTUALLY GO TO


  9   PRODUCTION WITH. THIS WAS TOO SEXY FOR ME.


 10   Q   DO YOU RECALL WHAT MY QUESTION WAS?


 11   A   I THOUGHT I ANSWERED IT.


 12   Q   IT WAS, SIMPLY -- THIS IS WHAT YOU SENT; YES?


 13   A   YES.


 14   Q   AND MR. BRYANT, BETWEEN OCTOBER 4TH AND PRIOR TO


 15   OCTOBER 15TH, WHILE STILL WORKING AT MATTEL, WAS ASSISTING YOU


 16   IN CONNECTION WITH THIS PARTICULAR SCULPT; CORRECT?


 17   A   CARTER BRYANT PARTICIPATED IN THE MEETINGS OF THIS SCULPT


 18   SINCE THIS WAS -- AS OF THIS TIME, THESE WERE HIS DRAWINGS AND


 19   THEY WERE HIS CONCEPTS, AND SO HE PARTICIPATED WITH ME IN


 20   PROVING THIS THING OUT INTO 3-D FORM.


 21   Q   AND HE ALSO ASSISTED YOU DURING THIS TIME FRAME WHEN,


 22   BOTH, HE WAS STILL WORKING AT MATTEL AND HE HAD SIGNED A


 23   CONTRACT WITH MGA; CORRECT?


 24   A   CAN YOU PLEASE CONFIRM WHEN THE LAST DAY WAS THAT CARTER


 25   BRYANT WORKED AT MATTEL.



                                                                        Page 651
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 75 of 99 Page ID
                                 #:112692




  1   Q   OCTOBER 19TH.


  2   A   OKAY.


  3        CAN YOU PLEASE ASK THE QUESTION AGAIN.


  4   Q   SO HE'S ASSISTING YOU IN DOING THESE SCULPTS IN THE TIME


  5   FRAME WHERE HE HAS SIGNED A CONTRACT TO WORK WITH MGA AND HE'S


  6   STILL EMPLOYED AT MATTEL; CORRECT?


  7   A   YES.


  8   Q   BY THE WAY, THAT, YOU THOUGHT, WOULD BE WRONG; THAT IS TO


  9   HAVE ACTUALLY SIGNED A CONTRACT WITH A COMPETITOR AND BE


 10   WORKING FOR THAT COMPETITOR WHILE STILL BEING EMPLOYED AT


 11   MATTEL; THAT, YOU'LL AGREE, WAS WRONG.


 12   A   IN THIS CASE I DO NOT FIND IT TO BE WRONG.


 13   Q   LET MY TALK TO YOU, THEN, ABOUT SCULPTS. WE'VE TALKED


 14   ABOUT SCULPTS AND HAIR. NOW LET'S TALK ABOUT PACKAGING.


 15        DO YOU RECALL YESTERDAY, I ASKED YOU SOME QUESTIONS


 16   ABOUT STEVE LINKER.


 17   A   YES.


 18   Q   AND I BELIEVE I SHOWED YOU EXHIBIT 320, WHICH IS IN


 19   EVIDENCE. IF WE COULD DISPLAY THAT.


 20        DO YOU HAVE THAT?


 21   A   YES.


 22   Q   NOW, THIS TIME FRAME, OCTOBER 1ST, AT THAT TIME, DID YOU


 23   KNOW THAT MR. BRYANT WAS STILL WORKING AT MATTEL?


 24   A   NO.


 25   Q   HE HAD SIGNED A CONTRACT WITH MGA BY THEN; CORRECT?



                                                                        Page 652
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 76 of 99 Page ID
                                 #:112693




  1   A   YES.


  2   Q   AND I THINK YOUR TESTIMONY YESTERDAY IS YOU HAVE NO


  3   RECOLLECTION OF THIS E-MAIL AT ALL FROM LIZ HOGAN CONCERNING


  4   THE BRATZ PACKAGING; IS THAT RIGHT?


  5   A   THAT'S RIGHT. I DON'T REMEMBER IT.


  6   Q   WELL, YOU KNOW THAT THERE'S A STARBUCKS BETWEEN EL SEGUNDO


  7   AND MANHATTAN BEACH BOULEVARD ON ROSECRANS AVENUE.


  8   A   YES.


  9   Q   IS THERE ONLY ONE IN THAT BLOCK, OR FIVE?


 10   A   I BELIEVE THERE'S ONE.


 11   Q   AND YOU HAVE MET FOLKS IN THAT STARBUCKS FOR MEETINGS WITH


 12   VENDORS; CORRECT?


 13   A   I DON'T REMEMBER ANY. IT'S POSSIBLE. I DON'T REMEMBER


 14   ANY IN PARTICULAR.


 15   Q   I'M TRYING TO HELP YOU.


 16        DOES THAT HELP YOU RECALL THAT SOME TIME AROUND


 17   OCTOBER 10TH OR 11TH THAT YOU AND MR. BRYANT MET WITH


 18   MR. LINKER CONCERNING THE BRATZ PROJECT?


 19   A   I DON'T REMEMBER. IT'S POSSIBLE THAT MEETING TOOK PLACE.


 20   I JUST SIMPLY DON'T REMEMBER. IT WAS, LIKE, WHAT, NINE OR


 21   EIGHT YEARS AGO.


 22   Q   LET'S SEE IF THIS WILL HELP.


 23        LOOK AT EXHIBIT 321, THEN. CAN YOU SEE THAT 321 ON


 24   ITS FACE APPEARS TO BE AN E-MAIL SENT FROM MS. HOGAN TO YOU,


 25   DATED OCTOBER 15, 2000, REGARDING A PACKAGING ESTIMATE FOR



                                                                        Page 653
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 77 of 99 Page ID
                                 #:112694




  1   BRATZ?


  2   A     YES.


  3   Q     AND YOU RECEIVED THIS E-MAIL.


  4   A     I DON'T REMEMBER.


  5   Q     DO YOU HAVE ANY REASON TO BELIEVE THAT YOU DID NOT RECEIVE


  6   THIS E-MAIL?


  7   A     NO.


  8          MR. PRICE: YOUR HONOR, MOVE EXHIBIT 321 INTO


  9   EVIDENCE.


 10          MS. AGUIAR: NO OBJECTION.


 11          THE COURT: ADMITTED. YOU MAY PUBLISH.


 12   BY MR. PRICE:


 13   Q     IT'S DATED OCTOBER 14, 2000.


 14          IS IT CORRECT, EVEN IF YOU DON'T RECALL THIS


 15   PARTICULAR MEETING OR THESE DISCUSSIONS, THAT BY AUGUST 14TH,


 16   YOU WERE RECEIVING ESTIMATES FROM SOMEONE?


 17   A     AUGUST 14TH --


 18   Q     I'M SORRY. OCTOBER 14TH, YOU WERE RECEIVING ESTIMATES FOR


 19   THE PACKAGING DESIGN FOR BRATZ?


 20   A     I DON'T REMEMBER. IT'S POSSIBLE. I JUST DON'T REMEMBER


 21   IT.


 22   Q     LET'S GO TO THE SECOND PAGE.


 23          DO YOU RECALL SEEING SOME DETAILED ESTIMATES IN THIS


 24   TIME FRAME FOR THE PACKAGING, INCLUDING ESTIMATES FOR LOGO


 25   DEVELOPMENT, FOR ALL THESE THINGS IT SAYS HERE ON THE SECOND



                                                                         Page 654
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 78 of 99 Page ID
                                 #:112695




  1   PAGE?


  2        DOES HELP REFRESH YOUR MEMORY?


  3   A   NO.


  4   Q   IF YOU WOULD LOOK AT EXHIBIT 323. I FOCUSED ON JUST ONE


  5   PAGE OF THAT EARLIER, BUT IF YOU WOULD LOOK AT THAT.


  6        DO YOU RECOGNIZE THAT OR DOES IT REFRESH YOUR MEMORY


  7   THAT, IN FACT, YOU GAVE TO MR. LINKER, OR YOU AND MR. BRYANT


  8   GAVE TO MR. LINKER, A PACKET WHICH CONTAINED A NUMBER OF --


  9   ACTUALLY, IT BASICALLY CONTAINED MR. BRYANT'S PRESENTATION THAT


 10   HE HAD MADE SEPTEMBER 1ST?


 11   A   I NEED THE CHANCE TO LOOK AT THIS.


 12   Q   YES. THAT'S WHAT I'M ASKING YOU TO DO.


 13   A   CAN I ASK YOU, WHEN IT'S BELIEVED THAT THIS DOCUMENT WAS


 14   GIVEN TO ME?


 15   Q   LET ME BE CLEAR.


 16        FIRST, LET ME REPRESENT TO YOU THAT THE SECOND PAGE


 17   AND THE PAGES AFTER PAGE 35, I'LL REPRESENT TO YOU, THAT'S NOT


 18   SOMETHING THAT WAS GIVEN TO MR. LINKER IN OCTOBER.


 19        MY QUESTION IS WHETHER OR NOT YOU RECALL GETTING THE


 20   REST OF THIS. THE FIRST PAGE IS A MANILA ENVELOPE AND THEN


 21   THERE ARE PAGES AFTER THAT BETWEEN THE THIRD PAGE THROUGH


 22   PAGE 35, AND I'M ASKING WHETHER OR NOT YOU RECALL GIVING THAT


 23   INFORMATION TO EITHER MR. LINKER OR SOME OTHER PACKAGING VENDOR


 24   IN OCTOBER?


 25   A   I DON'T REMEMBER GIVING ANY PARTICULAR MATERIAL TO



                                                                        Page 655
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 79 of 99 Page ID
                                 #:112696




  1   STEVE LINKER, BECAUSE PERSONALLY I DON'T NECESSARILY REMEMBER


  2   THAT MEETING. IT'S POSSIBLE THAT I HAD THAT MEETING.


  3        THE REASON WHY IT'S POSSIBLE IS THAT WE DID ACTUALLY


  4   REACH OUT TO A FEW -- I REMEMBER REACHING OUT TO A FEW


  5   PACKAGING VENDORS FOR THE CHANCE THAT THEY MAY TAKE A SHOT AT


  6   DESIGNING BRATZ PACKAGING. BY THE WAY, BRATZ PACKAGING WAS


  7   CREATED IN-HOUSE. WE NEVER USED FREELANCE VENDORS. BUT WE


  8   EXPLORED THAT.


  9   Q   AND YOU CERTAINLY CANNOT DENY THAT MR. BRYANT ASSISTED YOU


 10   IN OCTOBER IN EXPLORING BRATZ PACKAGING TO VENDORS.


 11   A   WELL, I HAVE TO SAY THAT I DON'T REMEMBER ANY EXPLORATION


 12   THAT WAS CONDUCTED BY A FREELANCE VENDOR TO MGA. IF ANY


 13   CONVERSATIONS THAT I REMEMBER, IT WAS JUST INTRODUCING IDEAS OR


 14   WHATNOT OR JUST, YOU KNOW, THEIR WORK ETHIC, WHO THE GROUPS


 15   WERE, WHAT THEIR QUOTES MIGHT BE, WHAT THEIR PAY STRUCTURE WAS;


 16   THAT TYPE OF THING.


 17   Q   LOOK AT EXHIBIT 324. YOU RECOGNIZE THAT AS BEING AN


 18   E-MAIL SENT TO YOU FROM MS. HOGAN WITH THE PACKAGING ESTIMATE


 19   FOR BRATZ, REVISED AS OF OCTOBER 19, 2000.


 20   A   THAT'S WHAT I READ IT TO BE, YEAH.


 21   Q   YOU HAVE NO REASON TO BELIEVE THAT YOU DID NOT RECEIVE


 22   THIS; CORRECT?


 23   A   NO.


 24   Q   DOUBLE NEGATIVE.


 25        DO YOU HAVE ANY REASON TO BELIEVE THAT YOU DIDN'T



                                                                        Page 656
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 80 of 99 Page ID
                                 #:112697




  1   RECEIVE THIS?


  2   A   NO.


  3        MR. PRICE: I'D MOVE EXHIBIT 324 INTO EVIDENCE.


  4        MS. AGUIAR: NO OBJECTION.


  5        THE COURT: IT'S ADMITTED. YOU MAY PUBLISH.


  6   BY MR. PRICE:


  7   Q   JUST TO COMPLETE THESE DOCUMENTS, COULD YOU TELL US WHAT


  8   KERRI LEGG'S POSITION WAS IN OCTOBER OF 2000?


  9   A   I BELIEVE KERRI LEGG'S RESPONSIBILITY WAS TO PROCESS PO'S


 10   AND INVOICES FOR VENDOR SUBMISSIONS.


 11   Q   WOULD SHE HAVE BEEN WORKING WITH YOU IF YOU WERE GETTING


 12   BIDS FROM VENDORS?


 13   A   YEAH. IT'S POSSIBLE. IT'S LIKELY.


 14   Q   IF YOU WOULD LOOK AT EXHIBIT 325, DO YOU RECOGNIZE THAT AS


 15   AN E-MAIL FROM MS. LEGG TO MR. LINKER AND MS. HOGAN, COPYING


 16   YOU, FOR THE PACKAGING ESTIMATE FOR BRATZ?


 17   A   YES.


 18        MR. PRICE: MOVE EXHIBIT 325 INTO EVIDENCE, YOUR


 19   HONOR.


 20        MS. AGUIAR: NO OBJECTION.


 21        THE COURT: ADMITTED. YOU MAY PUBLISH.


 22   BY MR. PRICE:


 23   Q   I'D LIKE YOU TO LOOK NOW -- YOU RECALL THAT YOU SPOKE TO


 24   THE JURY EARLIER ABOUT THESE PDF'S, PRODUCT DEVELOPMENT FORMS.


 25   IF YOU COULD, I'D LIKE YOU TO LOOK AT EXHIBIT 924; THAT'S STILL



                                                                        Page 657
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 81 of 99 Page ID
                                 #:112698




  1   IN THAT FIRST VOLUME.


  2        DO YOU RECOGNIZE THAT AS AN E-MAIL SENT TO


  3   CECELIA KOCH, SAMUEL WONG, FRANKIE TSANG, AROUND OCTOBER 16,


  4   2000, CONCERNING SOME PDF'S?


  5   A   YES.


  6        MR. PRICE: YOUR HONOR, MOVE EXHIBIT 924 INTO


  7   EVIDENCE.


  8        MS. AGUIAR: NO OBJECTION.


  9        THE COURT: ADMITTED. YOU MAY DISPLAY IT.


 10   BY MR. PRICE:


 11   Q   NOW, THESE FOLKS, ARE THESE THEIR HONG KONG FOLKS?


 12   A   YEAH.


 13   Q   AND ON OCTOBER 16TH, YOU SENT THEM AT THAT POINT SOME


 14   PDF'S FOR THE BRATZ; CORRECT?


 15   A   RIGHT.


 16   Q   AND I THINK YOU DESCRIBED THEM -- I DON'T WANT TO PUT


 17   WORDS IN YOUR MOUTH. COULD YOU TELL US EXACTLY WHAT THAT


 18   MEANS.


 19   A   A PDF IS A DOCUMENT THAT OFFICIATES TO HONG KONG AND TO


 20   PEOPLE WITHIN OUR ORGANIZATION THAT MGA IS PURSUING A PRODUCT


 21   FOR DEVELOPMENT.


 22   Q   AND IF WE CAN SHOW THE FULL DOCUMENT, IT SAYS HERE,


 23   "PLEASE NOTE, I RELEASED THE ROUGH CAST AND BODY TO YOU LAST


 24   FRIDAY, AND THE DOLL IS EXPECTED TO BE BETWEEN NINE AND


 25   9.5 INCHES TALL."



                                                                        Page 658
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 82 of 99 Page ID
                                 #:112699




  1        IS THAT BODY THE ONE WE LOOKED AT EARLIER THAT WAS


  2   MORE LIKE ELEVEN INCHES TALL?


  3   A   I BELIEVE SO, YES.


  4   Q   AND HERE YOU SAY, "HOWEVER, I PLAN TO SEND YOU A SOFT


  5   GOODS SWATCH PACKAGE WITH ALL THE PROPER FABRIC CONSTRUCTIONS,


  6   COLOR AND FABRIC ART BY OCTOBER 30TH."


  7        DO YOU SEE THAT?


  8   A   YES.


  9   Q   THAT WAS WELL ON ITS WAY AS OF THE DATE OF THIS, WHICH IS


 10   OCTOBER 16, 2000; CORRECT?


 11   A   YOU KNOW, I DON'T KNOW WHAT I MEANT BY THAT. BUT I DO NOT


 12   BELIEVE THAT SWATCHES WERE RELEASED ON OCTOBER 30TH. IN FACT,


 13   I KNOW THAT SWATCHES WERE NOT RELEASED ON OCTOBER 30TH.


 14   Q   WHAT WORK HAD BEEN DONE ON THE SOFT GOODS AND THE PACKAGES


 15   AS OF OCTOBER 16TH?


 16   A   I'M NOT SURE THAT ANY, FRANKLY. I DON'T REMEMBER ANY.


 17   AND THE REASON I KNOW THAT IS BECAUSE I DON'T BELIEVE THAT


 18   CARTER BEGAN EVEN SHOPPING FOR FABRICS UNTIL MID OCTOBER. I


 19   SHOULDN'T EVEN SAY FABRICS; HE WAS JUST INSPIRING IN THE OPEN


 20   MARKET; LIKE DELIA'S AND FOREVER 21.


 21   Q   SO WHAT MR. BRYANT WAS DOING IN MID OCTOBER, YOU SAID, WAS


 22   INSPIRING SWATCH FABRICS. WHAT WAS HE DOING FOR MGA IN MID


 23   OCTOBER IN CONNECTION WITH THAT?


 24   A   ALL I REMEMBER IS THAT CARTER BRYANT HAD A PRETTY


 25   EXTENSIVE SHOPPING EXPERIENCE THAT I THINK HAPPENED AROUND THE



                                                                        Page 659
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 83 of 99 Page ID
                                 #:112700




  1   20TH OF OCTOBER.


  2   Q   THE REASON I ASK YOU IS YOU HAD SAID MID OCTOBER, WHICH


  3   WOULD PLACE IT BEFORE OCTOBER 19TH.


  4        WHY DO YOU NOW SAY THAT DATE IS OCTOBER 20TH?


  5   A   I JUST REMEMBER -- I BELIEVE AND I REMEMBER THAT IT


  6   HAPPENED AFTER, YOU KNOW, AROUND THE MID OF OCTOBER, AFTER THE


  7   SCULPTING WAS -- THE FIRST CAST HAD BEEN GENERATED AND THE


  8   EXPLORATORY SCULPT HAD BEEN CAST AND HAD PASSED ON AND STARTED


  9   OVER.


 10   Q   IT'S JUST THAT YOU DON'T REMEMBER MANY SPECIFIC DATES IN


 11   OCTOBER WITHOUT LOOKING AT AN E-MAIL; IS THAT CORRECT?


 12   A   I DON'T KNOW WHAT YOU MEAN.


 13   Q   YOU CAN'T REMEMBER SPECIFIC DATES IN OCTOBER THAT YOU DID


 14   THINGS WITHOUT LOOKING AT AN E-MAIL TO REFRESH YOUR


 15   RECOLLECTION; IS THAT FAIR?


 16   A   NOT IN ALL CASES, BUT IF YOU COULD GIVE ME A PARTICULAR


 17   EXAMPLE. I DON'T UNDERSTAND.


 18   Q   YOU'VE LEARNED, AT LEAST IN THIS EXAMINATION, THAT


 19   MR. BRYANT WORKED AT MATTEL UNTIL OCTOBER 19TH; CORRECT?


 20   A   YES.


 21   Q   AND THEN YOU JUST SAID HE WAS DOING THIS SHOPPING IN MID


 22   OCTOBER; CORRECT?


 23   A   YES.


 24   Q   AND THEN YOU TOLD US YOU BELIEVE THAT WAS OCTOBER 20TH,


 25   THE DAY AFTER HE LEFT MATTEL; CORRECT?



                                                                        Page 660
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 84 of 99 Page ID
                                 #:112701




  1   A   AND I SAID I BELIEVE. I'M NOT SURE.


  2   Q   SO WHAT LED YOU TO THAT OCTOBER 20TH DATE, IF YOUR


  3   ORIGINAL BELIEF WAS SIMPLY SOMETIME IN THE MIDDLE OF OCTOBER?


  4   WHAT LEAD YOU TO THAT DATE, THE DAY AFTER HE LEFT MATTEL?


  5   A   TO ME, I RELATE HIS SHOPPING TO AFTER THE FIRST


  6   EXPLORATORY SCULPT WAS CASTED AND DONE AND SENT OFF TO HONG


  7   KONG AND WE STARTED OVER. THAT'S HOW I MARK MY DATES.


  8   Q   WHO WAS WORKING ON THESE FASHIONS? WHAT VENDOR?


  9   A   WHAT FASHIONS DO YOU MEAN?


 10   Q   FOR BRATZ.


 11   A   THAT WE WENT TO MANUFACTURING WITH?


 12   Q   IN OCTOBER.


 13   A   AS I SAID, I DON'T BELIEVE THERE WERE FASHIONS BEING


 14   CONCEPTED OR CREATED.


 15        I REMEMBER THE SHOPPING EXPERIENCE.


 16   Q   IF YOU WOULD LOOK AT EXHIBIT 606.


 17        THESE ARE INVOICES FROM VERONICA MARLOW; IS THAT


 18   CORRECT?


 19   A   RIGHT.


 20   Q   THOSE ARE INVOICES YOU APPROVED TO BE PAID.


 21   A   YEP.


 22        MR. PRICE: MOVE TO ADMIT EXHIBIT 606 INTO EVIDENCE.


 23        MS. AGUIAR: NO OBJECTION.


 24        THE COURT: ADMITTED. YOU MAY PUBLISH.


 25   BY MR. PRICE:



                                                                        Page 661
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 85 of 99 Page ID
                                 #:112702




  1   Q   WOULD YOU LOOK AT THE SECOND PAGE HERE, IF YOU LOOK AT


  2   THIS, THIS WAS SENT TO YOU; CORRECT?


  3   A   YEP.


  4   Q   AND IT'S REGARDING BRATZ DOLLS RESEARCH DEVELOPMENT AND


  5   SUPPORT SERVICES; CORRECT?


  6   A   YES.


  7   Q   THIS TOOK PLACE SEPTEMBER 29TH THROUGH OCTOBER 20TH;


  8   CORRECT?


  9   A   YEP.


 10   Q   THAT'S THE LAST DAY ON THIS INVOICE; CORRECT?


 11   A   THAT'S RIGHT.


 12   Q   AND WE'VE GOT A TOTAL HERE OF ABOUT 88 HOURS.


 13   A   YEP.


 14   Q   AND THIS WAS CONCERNING, AMONG OTHER THINGS, FASHION


 15   RESEARCH, PATTERN AND SAMPLE DEVELOPMENT; CORRECT?


 16   A   YES.


 17   Q   AND FOR EXAMPLE, PATTERN AND SAMPLE DEVELOPMENT, THAT WAS


 18   FOR THE FASHIONS ON THE DOLLS.


 19   A   DO YOU MEAN THE FASHIONS THAT WE WENT TO MANUFACTURING


 20   WITH?


 21   Q   THAT YOU WERE CONSIDERING USING ON THE BRATZ DOLLS.


 22   A   I DON'T BELIEVE, AGAIN, THAT WE ACTUALLY WERE CREATING


 23   FASHIONS AT THIS TIME. IN FACT, WE DIDN'T RELEASE ANY SWATCH


 24   PACKAGES OR ZONE PATTERNS UNTIL MID TO LATE DECEMBER OF 2000.


 25   Q   YOU PAID FOR 21 HOURS OF PATTERN AND SAMPLE DEVELOPMENT



                                                                        Page 662
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 86 of 99 Page ID
                                 #:112703




  1   THAT TOOK PLACE BETWEEN SEPTEMBER 29TH AND OCTOBER 20TH;


  2   CORRECT?


  3   A   YES.


  4   Q   WHAT WERE YOU PAYING FOR?


  5   A   I WAS PROBABLY -- I'M NOT SURE, TO BE HONEST, BUT IT'S


  6   POSSIBLE THAT SHE WAS SEWING AND SAMPLING ON THAT CAST BODY,


  7   THE EXPLORATORY CAST BODY.


  8   Q   AND SHE WAS DOING THAT AT YOUR DIRECTION.


  9   A   I DON'T REMEMBER, BUT IT'S PROBABLE. I PAID FOR IT, SO...


 10   Q   AND TO BRING HER INTO CONTEXT, MS. MARLOW IS THE WOMAN WHO


 11   YOU HAVE TESTIFIED BROUGHT MR. BRYANT TO YOU; CORRECT?


 12   A   RIGHT.


 13   Q   AND SHE WAS WORKING WITH HIM AS WELL DURING THIS TIME


 14   FRAME; YOU KNEW THAT.


 15   A   I REMEMBER DURING THIS TIME PERIOD -- IF I CAN TELL YOU


 16   WHAT I REMEMBER -- I REMEMBER THAT SHE AND CARTER HAD -- SHE


 17   HAD PARTICIPATED IN ONE OF THE SCULPT MEETINGS, WHICH HAPPENED


 18   AT MGA'S OFFICES, AND SHE ALSO DID SOME -- I BELIEVE WHEN SHE


 19   WRITES FASHION RESEARCH, SHE MEANT TO PROBABLY SAY FASHION


 20   SHOPPING.


 21   Q   AND YOU UNDERSTOOD THAT SHE AND MR. BRYANT WERE WORKING


 22   TOGETHER IN THE TIME FRAME BETWEEN OCTOBER 4TH AND


 23   OCTOBER 19TH; CORRECT?


 24   A   WORKING TOGETHER? SHE WAS WORKING WITH ME. I KNOW SHE


 25   WORKED WITH ME. AND AS I MENTIONED, I REMEMBER SOME OF THESE



                                                                        Page 663
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 87 of 99 Page ID
                                 #:112704




  1   SITUATIONS.


  2        I DON'T THINK THIS INVOICE REPRESENTS SHE WAS


  3   NECESSARILY AND PARTICULARLY WORKING WITH CARTER BRYANT.


  4   Q   IT'S YES OR NO. DO YOU RECALL SHE WAS WORKING WITH


  5   CARTER BRYANT DURING THIS TIME FRAME?


  6   A   I RECALL THAT SHE WAS WORKING WITH ME DURING THIS TIME


  7   FRAME.


  8   Q   SO THE ANSWER IS NO, YOU DON'T RECALL HER WORKING WITH


  9   CARTER BRYANT.


 10   A   IT'S POSSIBLE SHE WAS WORKING WITH CARTER. I'M NOT SURE.


 11   Q   THIS IS ANOTHER INVOICE FOR BETWEEN OCTOBER 13TH AND


 12   OCTOBER 20TH. DO YOU SEE THAT?


 13   A   YES.


 14   Q   SO THE PRIOR INVOICE WAS FOR 80 HOURS, AND THEN YOU ALSO


 15   PAID AN INVOICE FOR WORK DONE BETWEEN OCTOBER 13TH AND


 16   OCTOBER 20TH OF ANOTHER 81 HOURS; CORRECT?


 17   A   YEP.


 18   Q   SO THAT'S 161 HOURS OF WORK THAT YOU PAID VERONICA MARLOW


 19   FOR WORK ON BRATZ BETWEEN SEPTEMBER 29TH AND OCTOBER 20TH;


 20   CORRECT?


 21   A   YEP.


 22   Q   AND THE FOCUS OF HER WORK FOR THOSE 161 HOURS, YOUR


 23   UNDERSTANDING, WAS THIS PATTERN MAKING AND ACTUAL SEWING;


 24   RIGHT?


 25   A   THAT'S WHAT IT SAYS, YEAH.



                                                                        Page 664
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 88 of 99 Page ID
                                 #:112705




  1   Q   AND MR. BRYANT, WHO UNTIL OCTOBER 19TH WAS AN EMPLOYEE OF


  2   MATTEL, WAS WORKING WITH HER ON THAT; CORRECT?


  3   A   I DON'T KNOW IF CARTER WAS WORKING WITH HER ON THAT. I


  4   DON'T EVEN KNOW NECESSARILY WHAT SHE WAS WORKING ON BECAUSE,


  5   AGAIN, I KNOW WHEN THE FINAL FASHIONS WERE DONE, AND WHEN THEY


  6   WERE RELEASED, AND THAT DID NOT HAPPEN UNTIL DECEMBER.


  7        AND, I DON'T REMEMBER THEM EVEN BEGINNING TO DESIGN


  8   FASHIONS UNTIL, AGAIN, WHAT I CALLED MID OCTOBER.


  9        SORRY. THEY DIDN'T EVEN BEGIN TO DESIGN FASHIONS


 10   UNTIL AFTER THEY WENT SHOPPING, AND I REMEMBER THAT THEIR


 11   SHOPPING EXPERIENCE HAPPENED AROUND MID OF OCTOBER.


 12   Q   WELL, MS. MARLOW DIDN'T DO THIS WORK WITHOUT BEING


 13   REQUESTED TO DO SO BY SOMEBODY AT MGA; RIGHT?


 14   A   RIGHT.


 15   Q   AND IT'S YOUR BELIEF THAT YOU'RE THE ONE WHO ASKED HER TO


 16   DO THIS; THAT IS, TO ACTUALLY LOOK AT PATTERNS AND BEGIN THE


 17   SEWING OF THE FASHIONS.


 18   A   I PAID FOR IT, SO... IT'S POSSIBLE.


 19   Q   WELL, NOT ONLY IS THIS POSSIBLE, THAT'S WHAT YOU THINK


 20   HAPPENED; RIGHT?


 21   A   YES.


 22   Q   AND SO YOU KNEW AT THE TIME THAT MS. MARLOW WAS SPENDING A


 23   SIGNIFICANT AMOUNT OF TIME ACTUALLY SEWING AND CREATING


 24   FASHIONS TO BE USED FOR BRATZ; FAIR TO SAY?


 25   A   LIKE EVERYTHING ELSE THAT WAS HAPPENING AROUND THIS TIME,



                                                                        Page 665
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 89 of 99 Page ID
                                 #:112706




  1   WE WERE PART OF THIS EXPLORATORY STAGE. IF VERONICA MARLOW WAS


  2   SEWING DURING THIS PERIOD, I BELIEVE SHE WAS PROBABLY DOING


  3   SOME EXPLORATORY SEWING ON AN EXPLORATORY SCULPT WHICH WAS


  4   CASTED ON OCTOBER 15TH.


  5        BUT I DO NOT BELIEVE THE FASHIONS SHE WAS WORKING ON


  6   -- IN FACT, I KNOW THE FASHIONS SHE WAS WORKING ON AT THIS TIME


  7   WERE NOT THE FASHIONS WE WENT TO MANUFACTURE WITH.


  8   Q   WELL, I'M NOT ASKING ABOUT WHETHER THEY WERE THE FINAL


  9   ONES, BUT YOU DID ASK HER TO MAKE FASHIONS AND YOU PAID HER


 10   SEVERAL THOUSAND DOLLARS FOR WORKING THE EQUIVALENT OF A


 11   FOUR-WEEK, 40-HOUR WORK WORKWEEK ON THOSE FASHIONS; CORRECT?


 12   A   I DON'T KNOW WHAT SHE WAS NECESSARILY AND PARTICULARLY


 13   SEWING IN THE WAY OF FASHIONS. IT'S POSSIBLE SHE WAS SEWING


 14   THESE FASHIONS ON TO THE VERY, VERY SEXY VAVAVOOM BODY TO SEE


 15   HOW THE FASHIONS WOULD LAY ONTO THAT BODY. I CAN'T BE SURE.


 16   Q   WE WERE TALKING ABOUT THIS OCTOBER 16TH TIME FRAME WHEN


 17   YOU SENT THE PDF TO KOREA. IF I COULD ASK YOU TO LOOK AT THAT.


 18   A   TO HONG KONG.


 19   Q   HONG KONG. SOMEWHERE OVER THERE IF I COULD HAVE YOU LOOK


 20   AT 923. MY QUESTION IS, THAT'S ONE OF THE PDF FORMS THAT YOU


 21   SENT; CORRECT?


 22   A   YES.


 23        MR. PRICE: YOUR HONOR, MOVE EXHIBIT 923 INTO


 24   EVIDENCE.


 25        THE COURT: ANY OBJECTIONS?



                                                                        Page 666
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 90 of 99 Page ID
                                 #:112707




  1        MS. AGUIAR: NO OBJECTION.


  2        THE COURT: YOU MAY PUBLISH. IT'S ADMITTED.


  3   BY MR. PRICE:


  4   Q   THIS IS CONCERNING THE BRATZ DOLL PACKS; CORRECT?


  5   A   RIGHT.


  6   Q   AGAIN, OCTOBER 16TH DATE; CORRECT?


  7   A   YES.


  8   Q   AND BY THAT TIME, YOU HAD DISCUSSED THAT THERE WERE GOING


  9   TO BE FOUR DIFFERENT DOLLS; CORRECT?


 10   A   YES.


 11   Q   AND IN MR. BRYANT'S PRESENTATION TO YOU IN SEPTEMBER,


 12   THERE WERE FOUR CHARACTERS THAT YOU PRESENTED, THE FOUR BRATZ;


 13   CORRECT?


 14   A   YES. THOUGH, I WILL SAY THE FOUR CHARACTERS IN HIS


 15   PORTFOLIO WERE NOT THE FOUR THAT I INTENDED HERE IN THIS PDF.


 16   Q   AND YOU GOT THE DIMENSIONS HERE ALSO, YOU'RE TELLING


 17   KOREA; CORRECT?


 18   A   UH-HUH.


 19   Q   WHAT'S THIS DIMENSION OF OCTOBER 16TH? WHAT DIMENSIONS


 20   ARE YOU REFERRING TO?


 21   A   I BELIEVE I WAS REFERRING TO A PACKAGE DIMENSION. THE


 22   HEIGHT, WIDTH, AND DEPTH OF THE PACKAGE.


 23   Q   LOOK IN YOUR SAME BINDER THERE -- ACTUALLY IT'S


 24   DIFFERENT -- IT'S THE SECOND BINDER, EXHIBIT 1103.


 25        COULD YOU TELL US WHAT EXHIBIT 1103 IS?



                                                                        Page 667
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 91 of 99 Page ID
                                 #:112708




  1   A   IT SEEMS TO BE A DEVELOPMENT SCHEDULE.


  2   Q   AND WHEN WAS THE DEVELOPMENT SCHEDULE CREATED?


  3   A   I DON'T REMEMBER.


  4   Q   SOMETIME IN OCTOBER?


  5   A   I DON'T REMEMBER.


  6   Q   WELL, WOULD YOU HAVE CREATED THE DEVELOPMENT SCHEDULE IN


  7   SEPTEMBER?


  8   A   NO.


  9   Q   WHEN IS THE EARLIEST YOU WOULD HAVE CREATED THE


 10   DEVELOPMENT SCHEDULE?


 11   A   PROBABLY AROUND THE RELEASE OF MY PDF, OCTOBER 16TH.


 12   Q   BECAUSE WE ALREADY HAVE THIS UP HERE, 923, AS OF


 13   OCTOBER 16TH, YOU'RE INFORMING KOREA THAT THERE'S A ROYALTY


 14   RATE OF THREE PERCENT.


 15   A   HONG KONG.


 16   Q   I APOLOGIZE.


 17        YOU'RE INFORMING HONG KONG THAT THERE'S A ROYALTY


 18   RATE OF THREE PERCENT CORRECT?


 19   A   YES.


 20   Q   AND COULD YOU TELL THE JURY WHAT THAT'S REFERRING TO?


 21   WHO'S GETTING THAT THREE PERCENT?


 22   A   I BELIEVE THAT WAS CARTER'S ROYALTY.


 23   Q   WERE YOU EMPLOYED ON A ROYALTY BASIS OR ON A SALARY BASIS?


 24   A   SALARY BASIS.


 25   Q   IT'S YOUR UNDERSTANDING THAT MR. BRYANT WAS GETTING A



                                                                        Page 668
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 92 of 99 Page ID
                                 #:112709




  1   THREE PERCENT ROYALTY, BECAUSE ROYALTY -- THAT IS THREE PERCENT


  2   OF EACH DOLL SOLD?


  3   A   THAT WAS MY UNDERSTANDING, YES.


  4   Q   AND ACCESSORIES.


  5   A   ANYTHING THAT CARTER WORKED ON, HE WAS ATTRIBUTED


  6   THREE PERCENT.


  7   Q   AND THAT'S BECAUSE HE WAS THE CREATOR OF THIS.


  8   A   SORRY. CAN YOU REPHRASE YOUR QUESTION.


  9   Q   HE WAS GETTING A ROYALTY, AS OPPOSED TO JUST A SALARY OR


 10   GETTING PAID BY THE HOUR, HE WAS GETTING A ROYALTY ON ANYTHING


 11   ASSOCIATED WITH BRATZ BECAUSE HE WAS THE CREATOR OF BRATZ.


 12   A   I'M SORRY, I DON'T FEEL COMFORTABLE ANSWERING THESE KINDS


 13   OF QUESTIONS AS I'M NOT REALLY FAMILIAR WITH LAW OR ANY OF THE


 14   LEGAL TERMS OR ANY OF THE, YOU KNOW, CONTRACT OR UNDERSTANDING


 15   BETWEEN -- I'M A CREATIVE PERSON.


 16   Q   IF YOU DON'T KNOW WHAT THE BASIS WAS, THEN JUST SAY YOU


 17   DON'T KNOW. I DON'T WANT TO FORCE YOU TO SAY SOMETHING YOU


 18   DON'T KNOW.


 19        I'LL WITHDRAW THAT QUESTION, BECAUSE APPARENTLY YOU


 20   DON'T KNOW THE ANSWER.


 21        THE ONLY THING YOU DO KNOW IS THAT MR. BRYANT WAS


 22   GOING TO GET A ROYALTY RATE OF THREE PERCENT ON BRATZ PRODUCTS.


 23   A   I UNDERSTOOD THAT CARTER BRYANT WAS TO GET THREE PERCENT


 24   ROYALTY ON ANY OF THE DOLLS THAT HE PERSONALLY DESIGNED.


 25   Q   DO YOU HAVE ANY UNDERSTANDING AS TO HOW MUCH THAT HAS COME



                                                                        Page 669
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 93 of 99 Page ID
                                 #:112710




  1   TO TO THE PRESENT?


  2   A   I HAVE NO IDEA.


  3   Q   WE WERE TALKING ABOUT 1103 WHICH YOU IDENTIFIED AS A


  4   PRODUCTION SCHEDULE YOU CREATED.


  5        MR. PRICE: YOUR HONOR, IF WE COULD MOVE 1103 INTO


  6   EVIDENCE?


  7        MS. AGUIAR: NO PROPER FOUNDATION FOR IT, YOUR HONOR.


  8        THE COURT: 1103, YOU SAID?


  9        I'LL SUSTAIN THE OBJECTION. LAY FURTHER FOUNDATION.


 10   BY MR. PRICE:


 11   Q   YOU SAID THIS WAS A PRODUCTION SCHEDULE; YES?


 12   A   YES.


 13   Q   YOU SAID YOU CREATED THIS SCHEDULE; CORRECT?


 14   A   I DIDN'T SAY THAT. BUT I DO BELIEVE I DID CREATE THIS


 15   SCHEDULE.


 16   Q   WELL, THANK YOU. YOU MAY HAVE FILLED IN AN IMPORTANT


 17   ELEMENT.


 18        YOU SAID YOU THOUGHT YOU COULD SCHEDULE IT ABOUT THE


 19   SAME TIME YOU WERE SENDING THESE PDF'S TO HONG KONG.


 20   A   I'M NOT SURE, BUT I BELIEVE IT'S POSSIBLE.


 21   Q   IT CERTAINLY WOULD NOT HAVE BEEN IN SEPTEMBER; CORRECT?


 22        IT WOULD HAVE BEEN MID OCTOBER OR LATER; CORRECT?


 23   A   CORRECT.


 24        MR. PRICE: WE MOVE EXHIBIT 1103 INTO EVIDENCE.


 25        MS. AGUIAR: NO OBJECTION.



                                                                        Page 670
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 94 of 99 Page ID
                                 #:112711




  1           THE COURT: ADMITTED. YOU MAY PUBLISH.


  2   BY MR. PRICE:


  3   Q   THIS SAYS "PDF, OCTOBER 16, 2000."


  4   A   YES.


  5   Q   SO THAT'S REFERRING TO THE PDF'S YOU SENT ON OCTOBER 16,


  6   2000.


  7   A   THAT'S RIGHT.


  8   Q   SO DOES THAT INDICATE TO YOU THIS WAS DONE ABOUT THE TIME


  9   YOU SENT THOSE; THAT IS, YOU WERE TALKING ABOUT SOMETHING WHICH


 10   WAS HAPPENING RIGHT THEN OR HAD JUST HAPPENED?


 11   A   I DON'T UNDERSTAND YOUR QUESTION.


 12   Q   THIS OCTOBER 16TH DATE FOR PDF'S, THAT'S NOT A PREDICTION;


 13   THAT'S SOMETHING HAPPENING RIGHT AT THE TIME OR THAT HAD


 14   ALREADY HAPPENED.


 15   A   YES.


 16   Q   SOME OF THESE DATES ARE PREDICTIONS, RIGHT, WHERE YOU'RE


 17   THINKING CERTAIN THINGS ARE GOING TO HAPPEN; CORRECT?


 18           FOR EXAMPLE, YOU HAVE MARCH 19, 2001, OR


 19   DECEMBER 2000; CORRECT?


 20   A   I CAN SAY THAT ANYTHING THAT ACTUALLY HAPPENED WAS DENOTED


 21   IN GRAY OVER THE DATE.


 22   Q   OKAY.


 23           SO IT LOOKS LIKE THEN THE PDF ALREADY HAPPENED AND


 24   THE CONTROL DRAWINGS TO L.A. DESIGNER ALREADY HAPPENED, BECAUSE


 25   THOSE ARE THINGS THAT HAPPENED BEFORE YOU CREATED THIS



                                                                        Page 671
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 95 of 99 Page ID
                                 #:112712




  1   DOCUMENT.


  2   A   RIGHT.


  3   Q   SO IT'S ACCURATE TO SAY, THEN, THAT FOR THE SCULPTING, THE


  4   CONTROL DRAWINGS, WHEN YOU SAY L.A. DESIGNER, YOU'RE REFERRING


  5   TO THE SCULPTOR IN THIS DOCUMENT; CORRECT?


  6   A   I BELIEVE SO.


  7   Q   AND BY OCTOBER 2ND, THE DRAWS TO BE USED BY THAT SCULPTOR,


  8   CONTROL DRAWINGS, HAD ALREADY BEEN SENT TO HER, ACCORDING TO


  9   YOUR SCHEDULE OF WHAT HAD ALREADY HAPPENED.


 10   A   I HAVE A FEW THINGS I'D LIKE TO SAY ON THAT.


 11   Q   FIRST, IS MY STATEMENT CORRECT? BECAUSE THE WAY IT WORKS


 12   IS I ASK A QUESTION AND YOU GIVE AN ANSWER.


 13        IT'S TRUE, AS YOU WROTE DOWN HERE, THAT PREVIOUSLY,


 14   ON OCTOBER 2ND, DRAWINGS HAD BEEN SENT TO THE SCULPTOR TO


 15   CREATE THE SCULPTORS TO BE USED FOR THE BRATZ?


 16   A   THAT IS THE DATE AS IT'S REPRESENTED IN THIS DOCUMENT.


 17   Q   JUST TO BE CLEAR, YOU DID WRITE THIS DOCUMENT.


 18   A   YOU KNOW, I FEEL THAT I KEEP WANTING TO COMPLETE MY


 19   SENTENCES, BUT I FEEL YOU KEEP INTERRUPTING ME.


 20        IF IT WOULD BE OKAY, I'D LIKE TO FINISH MY SENTENCE.


 21   Q   SURE. TELL ME WHAT YOU WANT TO SAY


 22   A   I BELIEVE THIS DATE, OCTOBER 2ND OF 2000, IS INCORRECT.


 23   THAT DATE REPRESENTS POSSIBLY THE RELEASE OF CARTER'S PORTFOLIO


 24   DRAWINGS TO MARGARET WHICH WE TALKED ABOUT TO BE THE


 25   EXPLORATORY SCULPT TO PROVE THAT CARTER'S DRAWINGS WERE TOO



                                                                        Page 672
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 96 of 99 Page ID
                                 #:112713




  1   SEXY, IN MY VIEW. WE DIDN'T ACTUALLY BEGIN SCULPT, WHICH I


  2   CALL THE FIRST GENERATION SCULPT, UNDER AFTER MID OF OCTOBER;


  3   SO I KNOW THIS DATE TO BE WRONG.


  4        AND I'D LIKE TO SPEAK ON THE SCHEDULE, SINCE WE'RE ON


  5   IT, IF I MAY, YOUR HONOR?


  6        THE COURT: COUNSEL, ASK YOUR QUESTION.


  7   BY MR. PRICE:


  8   Q   SO WHO WOULD SEE THIS SCHEDULE?


  9   A   IT WOULD BE POSSIBLY HONG KONG OR SOME OF THE DEVELOPMENT


 10   PEOPLE IN OUR GROUP.


 11   Q   IS IT SOMETHING THAT WAS TO BE USED IN MGA'S BUSINESS?


 12   A   YES.


 13   Q   SO THERE'S A BUSINESS REASON TO CREATE THIS DOCUMENT.


 14   A   YES. IT WAS VERY, VERY PRELIMINARY AND VERY INCORRECT.


 15   Q   AND YOUR TESTIMONY, WHAT YOU TOLD THE JURY, IS THAT THIS


 16   OCTOBER 2ND DATE IS ANOTHER TYPOGRAPHICAL ERROR.


 17   A   IT'S NOT A -- IT'S NOT NECESSARILY A TYPOGRAPHICAL ERROR.


 18   I JUST WANT TO BE CLEAR THAT THE SCULPTING DEVELOPMENT PROCESS


 19   THAT REPRESENTED THE SCULPT THAT WE WENT INTO MANUFACTURING,


 20   THAT DRAWING WAS NOT HANDED OFF ON OCTOBER 2ND.


 21   Q   WELL, THEN, IF IT WASN'T, WHY DID YOU TYPE OCTOBER 2, 2000


 22   IN THIS DOCUMENT IF THAT WASN'T THE DATE WHEN THE CONTROL


 23   DRAWINGS WERE HANDED OVER TO THE SCULPTOR?


 24   A   I'M NOT SURE. SITTING HERE TODAY, I'M NOT SURE.


 25   Q   IS IT YOUR TESTIMONY THAT THE OCTOBER 2ND DATE IS THERE



                                                                        Page 673
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 97 of 99 Page ID
                                 #:112714




  1   BECAUSE YOU WERE TYPING OR WORKING CARELESSLY AND TOO QUICKLY?


  2   A   I DIDN'T UNDERSTAND.


  3   Q   IS IT YOUR TESTIMONY THAT THE REASON IT SAYS OCTOBER 2ND


  4   THERE, HAS THAT DATE, IS BECAUSE YOU WERE JUST TYPING OR


  5   WORKING CARELESSLY OR TOO QUICKLY?


  6   A   NO.


  7        MR. PRICE: YOUR HONOR, IN THAT CASE, I'D LIKE TO


  8   PLAY FROM VOLUME III, PAGE 824 -- AND IF WE CAN'T PLAY IT, WE ,


  9   MIGHT READ IT -- PAGE 824, LINE 16 TO LINE 25.


 10        THE WITNESS: YES.


 11        MS. AGUIAR: WHAT DATE WAS THAT OF THE DOCUMENT?


 12        MR. PRICE: OCTOBER 9TH, 2007.


 13        MS. AGUIAR: NO OBJECTION.


 14        THE COURT: VERY WELL. I'LL OVERRULE THE OBJECTION


 15   SET FORTH IN THE RECORD.


 16        (VIDEO DEPOSITION PLAYED. )


 17   BY MR. PRICE:


 18   Q   SO LOOKING IN THE DOCUMENT AND LOOKING AT THE OCTOBER 2ND


 19   DATE, WHAT DID YOU INTEND YOUR FINGERS TO TYPE, INSTEAD OF TWO?


 20   IN EXHIBIT 1103, WE'VE GOT CONTROLLED DRAWINGS THAT GUIDE THE


 21   SCULPTOR BEING DONE ON OCTOBER 2, 2000. WHAT DID YOU INTEND TO


 22   DO WITH YOUR FINGER? WHAT DID YOU INTEND TO PUSH?


 23   A   THE DEPOSITION MATERIAL THAT YOU JUST SHOWED AND THE


 24   ANSWERS THAT I GAVE WERE NOT IN REGARDS TO THE OCTOBER 2ND DATE


 25   THAT WAS ON THE SCHEDULE.



                                                                        Page 674
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 98 of 99 Page ID
                                 #:112715




  1   Q   THE QUESTION WAS DO YOU HAVE AN UNDERSTANDING AS TO WHY


  2   YOU PUT AN INCORRECT DATE OF OCTOBER 2, 2000, ON THIS FORM, FOR


  3   AN EVENT THAT HAD ALREADY PASSED. THE QUESTION WAS ABOUT THIS


  4   DATE SPECIFICALLY, WAS IT NOT?


  5   A   I APOLOGIZE.


  6        YES. THIS SEEMS TO BE REFERRING TO THAT DATE.


  7   Q   OKAY. AND WHAT YOU SAID UNDER OATH WAS THAT THIS WAS


  8   TYPING TOO QUICKLY; YOU DIDN'T MEAN TO PUSH THE TWO HERE, TO


  9   SAY THAT'S THE DATE THAT THE GUIDING CONTROLLED DRAWINGS WERE


 10   GIVEN TO THE DESIGNER. SO MY QUESTION IS, WHAT DID YOU INTEND


 11   TO PUSH?


 12   A   I APOLOGIZE. AND I WOULD LIKE TO BE CLEAR THAT I WILL


 13   TELL YOU THAT I WAS WORKING CARELESSLY ON THIS DOCUMENT AND I


 14   WORKED QUICKLY, AND I BELIEVE THERE ARE SOME INCORRECT DATES ON


 15   THIS DOCUMENT.


 16        ON THE OCTOBER 2ND DATE, AS I MENTIONED, IT'S


 17   POSSIBLE THAT DATE COULD HAVE BEEN THE DATE THAT WE PASSED THE


 18   PORTFOLIO DRAWINGS TO MARGARET LEAHY FOR THE EXPLORATORY


 19   SCULPT. I CAN'T BE SURE.


 20        THE COURT: COUNSEL, I'M GOING TO STOP YOU HERE AND


 21   WE'RE GOING TO TAKE OUR LUNCH BREAK.


 22        WE'LL BE BACK AT 1:30, AND I WANT TO SEE COUNSEL BACK


 23   AT 1:15.


 24        (WHEREUPON JURORS DEPART COURTROOM.)


 25        (CONCLUSION OF MORNING SESSION.)



                                                                        Page 675
Case 2:04-cv-09049-DOC-RNB Document 4371-6 Filed 10/20/08 Page 99 of 99 Page ID
                                 #:112716




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  6                CERTIFICATE

  7

  8   I HEREBY CERTIFY THAT PURSUANT TO SECTION 753, TITLE 28, UNITED

      STATES CODE, THE FOREGOING IS A TRUE AND CORRECT TRANSCRIPT OF

  9   THE STENOGRAPHICALLY RECORDED PROCEEDINGS HELD IN THE

      ABOVE-ENTITLED MATTER AND THAT THE TRANSCRIPT PAGE FORMAT IS IN

 10   CONFORMANCE WITH THE REGULATIONS OF THE JUDICIAL CONFERENCE OF

      THE UNITED STATES.

 11

 12

      _____________________________    _________________

 13   THERESA A. LANZA, RPR, CSR          DATE

      OFFICIAL COURT REPORTER

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                                                                        Page 676
